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                              CONFIDENTIAL INFORMATION MEMORANDUM

                    COLORADO REGIONAL CENTER PROJECT SOLARIS, LLLP
                         a Colorado Limited Liability Limited Partnership
                             ___________________________________
                                          Minimum of $500,000
                                        Maximum of $80,000,000
                              Limited Liability Limited Partnership Interests
                                 ___________________________________
This Confidential Information Memorandum (the “Memorandum”) of Colorado Regional Center Project
Solaris, LLLP (the “Company”) relates to the issuance of limited liability limited partnership interests in a
minimum amount of $500,000. The minimum total offering amount will be $500,000 and the maximum total
offering amount will be $80,000,000 (See: SUMMARY OF PRINCIPAL TERMS - Maximum Gross Total
Offering below as to a possible increase in the maximum total offering amount).

THESE SECURITIES ARE HIGHLY SPECULATIVE AND INVOLVE A HIGH DEGREE OF RISK;
INVESTORS SHOULD NOT INVEST ANY FUNDS IN THIS OFFERING UNLESS THEY CAN
AFFORD TO LOSE THEIR ENTIRE INVESTMENT. SEE “STATEMENT OF RISKS” ON PAGE 20.
THESE SECURITIES HAVE NOT BEEN REGISTERED WITH THE U.S. SECURITIES AND
EXCHANGE COMMISSION OR ANY STATE SECURITIES COMMISSION AND ARE BEING
OFFERED PRIVATELY TO A LIMITED NUMBER OF ACCREDITED INVESTORS THROUGH THIS
CONFIDENTIAL INFORMATION MEMORANDUM. NEITHER THE SECURITIES AND EXCHANGE
COMMISSION NOR ANY STATE SECURITIES COMMISSION HAS APPROVED OR DISAPPROVED
OF THE SECURITIES OR PASSED UPON THE ADEQUACY OR ACCURACY OF THE DISCLOSURES
IN THIS MEMORANDUM. ANY REPRESENTATION OF THE CONTRARY IS A CRIMINAL
OFFENSE. THESE SECURITIES ARE NOT LISTED ON ANY NATIONAL SECURITIES EXCHANGE
OR THE NASDAQ STOCK MARKET.

                           Colorado Regional Center Project Solaris, LLLP
                                        4643 S. Ulster Street
                                             Suite 950
                                         Denver, CO 80237
                                          (720) 554-9704

                                             March 31, 2011
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                CONFIDENTIALITY AND SECURITIES REQUIREMENTS

THE SECURITIES OFFERED HEREIN ARE TO BE ACQUIRED FOR INVESTMENT ONLY AND NOT
WITH A VIEW TO SUBSEQUENT TRANSFER OR RESALE. THE SECURITIES HAVE NOT BEEN
REGISTERED UNDER THE SECURITIES ACT OF 1933, AS AMENDED (THE “SECURITIES ACT”), OR
THE SECURITIES LAWS OF CERTAIN STATES AND ARE OFFERED PURSUANT TO AN
EXEMPTION FROM REGISTRATION UNDER THE SECURITIES ACT, THE REGULATIONS
PROMULGATED THEREUNDER AND PURSUANT TO EXEMPTIONS FROM REGISTRATION OR
QUALIFICATION UNDER CERTAIN STATE SECURITIES LAWS. THESE SECURITIES HAVE NOT
BEEN APPROVED OR DISAPPROVED BY THE U.S. SECURITIES AND EXCHANGE COMMISSION
(THE “COMMISSION”), THE SECURITIES COMMISSIONER OF ANY STATE OR OTHER
REGULATORY AUTHORITY. FURTHER, NO FEDERAL OR STATE SECURITIES COMMISSIONER
HAS PASSED ON THE MERITS OF THIS OFFERING, THE ACCURACY OR ADEQUACY OF THIS
OFFERING OR ANY LITERATURE PROVIDED HEREWITH AND ANY REPRESENTATION OF THE
CONTRARY IS A CRIMINAL OFFENSE.

IF YOU ARE GIVEN ANY INFORMATION OR REPRESENTATIONS NOT INCLUDED IN THIS
MEMORANDUM, YOU MUST NOT RELY UPON THEM AS HAVING BEEN AUTHORIZED BY
COLORADO REGIONAL CENTER PROJECT SOLARIS, LLLP (THE “COMPANY”) OR ITS OFFICERS.
NO PERSON IS AUTHORIZED TO GIVE ANY INFORMATION OR TO MAKE ANY
REPRESENTATIONS OTHER THAN THOSE CONTAINED IN THIS MEMORANDUM, AND IF GIVEN
OR MADE, SUCH INFORMATION OR REPRESENTATIONS MUST NOT BE RELIED UPON AS
HAVING BEEN AUTHORIZED BY THE COMPANY.        NEITHER THE DELIVERY OF THIS
MEMORANDUM NOR ANY SALE MADE HEREUNDER SHALL IN ANY CIRCUMSTANCE CREATE
ANY IMPLICATION THAT THERE HAS BEEN NO CHANGE IN THE AFFAIRS OF THE COMPANY
SINCE THE DATE HEREOF OR THAT THE INFORMATION HEREIN IS CORRECT AS OF ANY TIME
SUBSEQUENT TO THE DATE OF THIS MEMORANDUM OR ANY SUPPLEMENT OR AMENDMENT
HERETO.

THIS MEMORANDUM HAS BEEN PREPARED FOR DISTRIBUTION TO A LIMITED NUMBER OF
INVESTORS MEETING CERTAIN SUITABILITY STANDARDS TO ASSIST THEM IN EVALUATING A
PROPOSED INVESTMENT IN THE COMPANY. INVESTORS GENERALLY MUST QUALIFY AS
BEING "ACCREDITED INVESTORS" AS DEFINED BY REGULATION D UNDER THE SECURITIES
ACT OF 1933 ("REGULATION D"), AS AMENDED.

THIS MEMORANDUM CONSTITUTES AN INVITATION ONLY TO THE PERSON WHO WAS
DELIVERED THIS MEMORANDUM BY THE COMPANY. NO OFFERS WILL BE ACCEPTED FROM
ANY OTHER PERSON.

THERE IS NO PUBLIC OR OTHER MARKET FOR THE LIMITED LIABILITY LIMITED PARTNERSHIP
INTERESTS (THE “LP INTERESTS”), NOR IS SUCH MARKET EXPECTED TO DEVELOP.
THEREFORE, AN INVESTMENT IN THE LP INTERESTS SHOULD BE CONSIDERED ONLY BY
PERSONS WHO CAN AFFORD THE ILLIQUIDITY AND TOTAL LOSS OF THEIR INVESTMENT.

THE LP INTERESTS OFFERED HEREBY ARE "RESTRICTED SECURITIES" AS THAT TERM IS
DEFINED BY RULE OF THE COMMISSION AND THEY MAY NOT BE TRANSFERRED,
HYPOTHECATED OR SOLD WITHOUT REGISTRATION UNDER THE SECURITIES ACT AND
APPLICABLE STATE SECURITIES LAWS, UNLESS EXEMPTIONS FROM SUCH REGISTRATIONS
ARE AVAILABLE AND ESTABLISHED TO THE SATISFACTION OF THE COMPANY. SEE
“STATEMENT OF RISKS.”
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THIS MEMORANDUM DOES NOT CONSTITUTE AN OFFER TO SELL OR A SOLICITATION OF AN
OFFER TO BUY ANY SECURITY OTHER THAN THE LP INTERESTS OFFERED OR AN OFFER TO
SELL OR SOLICITATION OF AN OFFER TO BUY THE LP INTERESTS IN ANY JURISDICTION OR TO
ANY PERSON TO WHOM IT IS UNLAWFUL TO MAKE ANY SUCH OFFER OR SOLICITATION IN
SUCH JURISDICTION.

PROSPECTIVE INVESTORS ARE URGED TO READ THIS MEMORANDUM CAREFULLY. THEY
WILL HAVE AN OPPORTUNITY TO TALK WITH REPRESENTATIVES OF THE COMPANY TO
VERIFY ANY OF THE INFORMATION INCLUDED HEREIN AND TO OBTAIN ADDITIONAL
INFORMATION REGARDING THE COMPANY. THIS MEMORANDUM CONTAINS SUMMARIES OF
CERTAIN DOCUMENTS. COPIES OF ALL MATERIAL DOCUMENTS RELATING TO THE COMPANY
WILL BE MADE AVAILABLE TO THE PROSPECTIVE INVESTORS FOR INSPECTION DURING
NORMAL BUSINESS HOURS UPON REQUEST TO THE COMPANY.

IN MAKING AN INVESTMENT DECISION INVESTORS MUST RELY ON THEIR OWN
EXAMINATION OF THE COMPANY AND THE TERMS OF THE OFFERING, INCLUDING THE
MERITS AND RISKS INVOLVED.

ANY ESTIMATES OR PROJECTIONS AS TO EVENTS THAT MAY OCCUR IN THE FUTURE
(INCLUDING THE COMPANY’S PROPOSED BUSINESS OPERATIONS AND PROJECTIONS OF ALL
TYPES) ARE BASED UPON THE BEST JUDGMENT OF THE COMPANY AS OF THE DATE OF THIS
MEMORANDUM.     WHETHER SUCH PROPOSED BUSINESS OPERATIONS, ESTIMATES OR
PROJECTIONS MAY BE ACHIEVED WILL DEPEND UPON THE COMPANY ACHIEVING ITS
OVERALL BUSINESS OBJECTIVES AND THE AVAILABILITY OF FUNDS. THERE IS NO
GUARANTEE THAT ANY OF THESE PROJECTIONS ARE CORRECT OR WILL BE ATTAINED.
ACTUAL RESULTS WILL VARY FROM THE PROJECTIONS AND SUCH VARIATIONS MAY BE
MATERIAL.

NO REPRESENTATIONS OR WARRANTIES OF ANY KIND ARE INTENDED OR SHOULD BE
INFERRED WITH RESPECT TO THE ECONOMIC RETURN, WHICH MAY ACCRUE AS A RESULT OF
AN INVESTMENT IN THE COMPANY. NEITHER THE INFORMATION CONTAINED HEREIN, NOR
ANY PRIOR, CONTEMPORANEOUS OR SUBSEQUENT COMMUNICATION SHOULD BE
CONSTRUED BY THE PROSPECTIVE INVESTOR AS LEGAL OR TAX ADVICE.           EACH
PROSPECTIVE INVESTOR SHOULD CONSULT HIS OR HER OWN INVESTMENT, LEGAL AND TAX
ADVISOR TO ASCERTAIN THE MERITS AND RISKS OF THE TRANSACTIONS DESCRIBED
HEREIN.

THESE SECURITIES HAVE NOT BEEN REGISTERED WITH ANY FEDERAL OR STATE
AUTHORITIES.

THE COMPANY IS EXEMPT FROM THE PROVISIONS OF THE INVESTMENT COMPANY ACT OF
1940 PURSUANT TO SECTION 3(C)(1) THEREOF.
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                                       EXECUTIVE SUMMARY

         This offering relates to development of a luxury residential and commercial project known as
 Solaris Residences (“Solaris”) located in Vail, Colorado, USA.

         Investors will purchase limited partnership interests in Colorado Regional Center Project Solaris,
 LLLP (the “Company”), a Colorado limited liability limited partnership. The Company’s general partner
 is Colorado Regional Center I, LLC, a Colorado limited liability company, a wholly-owned subsidiary of
 Colorado Regional Center, LLC, a Colorado limited liability company. The limited partners of the
 Company will be the investors who invest pursuant to this offering. The Company intends to lend the
 proceeds of this offering to Solaris Property Owner, LLC, a Delaware limited liability company or its
 permitted assignee (“SPO”). SPO is the developer of a residential and commercial development in Vail,
 Colorado, consisting of 79 high-end residential Condominium Units and 70,000 square feet of
 commercial space (the “Project”). SPO will issue a promissory note (the “Solaris Note”) to the Company.
 A copy of the form of the Solaris Note is attached hereto as Exhibit A. Additionally, SPO and the
 Company will enter into an Operating Payment Agreement (the “Operating Payment Agreement”) in the
 form as attached hereto as Exhibit B. The Solaris Note has the following basic terms and conditions:

     •   The principal amount will be for $80,000,000 and will provide that advances of principal will be
         made in minimum amounts of $ 500,000. The amount of each advance of principal (each a
         “Loan Advance”) will be noted on the Solaris Note and interest will accrue only on the amount of
         principal outstanding.

     •   The interest rate is 5.0% per annum.

     •   Interest will be payable monthly and the principal balance will be due and payable on the fifth
         anniversary of each Loan Advance.

     •   SPO will have no right to prepay the Solaris Note for the first three years from the date of
         issuance.

     •   The principal balance together with all accrued and unpaid interest of each Loan Advance shall
         be due and payable five years after the date of each such Loan Advance.

     •   After three years following a Loan Advance, upon 60 days prior written notice to the Company
         (the “Prepayment Notice Period”), SPO shall have the right to prepay all or certain minimum
         amounts of the outstanding principal balance on the Solaris Note by tendering to the Company
         either (i) a special warranty deed to a Condominium Unit (as defined below) and a bill of sale for
         the Furnishings (as defined below), which deed and bill of sale will transfer title to the
         Condominium Units and the Furnishings free and clear of all liens and encumbrances except for
         matters of record approved by the Company, or (ii) cash in the amount of the principal amount of
         the prepayment plus all accrued interest. Any such prepayment shall be in a minimum amount of
         the purchase price of a Condominium Unit (which purchase prices will be attached to the Solaris
         Note at the time of execution). If SPO tenders a prepayment in the form of a transfer of
         ownership of a Condominium Unit, the amount of the principal balance of the Solaris Note that
         will be deemed prepaid shall be equal to the purchase price of the Condominium Unit tendered as
         set forth in the attachment to the Solaris Note. During the Prepayment Notice Period, the
         Company will have the right to exercise its right to purchase a Condominium Unit and to reject
         the cash prepayment offered by SPO. In such event, the purchase price of the Condominium Unit
         shall be credited against the outstanding balance of the Solaris Note.


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     •   The Solaris Note is executed by SPO and the interest on the Solaris Note is personally guaranteed
         by the principal of SPO, Peter Knobel, until the principal balance is paid or prepaid.

 The Operating Payment Agreement contains the following basic terms and conditions:

     •   SPO will have no right to prepay all or any portion of a Loan Advance under the Solaris Note for
         the three-year period following such Loan Advance and the Company will have no right to
         exercise its option to purchase a Condominium Unit for three years following the execution of the
         Condominium Lease (as defined below). If, after such applicable time periods, either SPO
         prepays all or some portion of the Solaris Note by the transfer of one or more Condominium
         Units, or if the Company exercises its option to purchase a Condominium Unit and such
         Condominium Unit is conveyed to the Company, then commencing on the first day of the month
         following such prepayment or conveyance, and continuing on the first day of each month
         thereafter until terminated as provided below, SPO will pay to the Company an amount equal to
         the periodic interest actually owed from the Company to each Investor from time to time
         (whether the same is accruing or paid current), but in no event more than an effective annual rate
         of three percent (3%) per Investor (the “Operating Payments”). The Operating Payments will
         continue until the earlier to occur of (i) the Maturity Date of the specific Loan Advance that is
         being prepaid by the conveyance of the Condominium Unit(s), or (ii) with respect to each
         individual Limited Partner, the date on which the Company is no longer required to pay the
         Preferred Return to such Limited Partner.

         SPO’s obligations to make interest payments during the term of the Solaris Note and to make
         Operating Payments will be personally guaranteed by Peter Knobel, the principal of SPO. The
         Company has reviewed certain financial information about Mr. Knobel and believes that his
         personal guaranty is a significant credit enhancement to the transaction.

         If the Company acquires one or more Condominium Units prior to a Maturity Date, it is the
         Company’s current intent to hold the Condominium Units and rent them out to third parties and to
         own the Condominium Units until the fifth anniversary of each Loan Advance. However, the
         Company has the right to sell a Condominium Unit at any time after it acquires title to the
         Condominium Unit.

      Ownership of the LP Interests will entitle Limited Partners to free use of a two-bedroom
 Condominium Unit at Solaris for up to seven consecutive days during the months of November through
 March, and 14 days during the rest of the year. Additionally, the Investors will be entitled to use the
 Condominium Units for longer periods of time at a discount of 30% off of the stated rental rates for the
 dates utilized. Such usage rights are subject to the Company’s continued ownership of or leasehold
 interests in the Condominium Units and such usage and notice restrictions as may be applicable from time
 to time.

      SPO will retain ownership of the Condominium Units that are pledged to the Company as Collateral
 for the SPO Note. Therefore, SPO will be responsible for ongoing payments of Homeowners Association
 Dues, property taxes, insurance, and other obligations relating to the pledged Condominium Units.
 Subject to the Company’s rights to designate a rental management company, SPO will further be
 responsible for leasing the Condominium Units to third parties for the purpose of generating revenues.
 As set forth in the Yield Enhancement Agreement entered into between the Company and SPO, a copy of
 which is attached hereto as Exhibit K (the “Yield Enhancement Agreement”), the Company will be
 granted the right to use the Condominium Units for its Limited Partners for their use as granted under the



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 Limited Partnership Agreement. The Company will receive any net income derived from the rentals of
 such units and shall be responsible for any shortfalls if expenses exceed revenue. The Company and SPO
 shall adjust such expenses on a quarterly basis. The specific terms and conditions of the rental and usage
 arrangements between the Company and SPO are set forth in the Yield Enhancement Agreement. The
 Yield Enhancement Agreement gives the Company the right to purchase the Condominium Units for the
 purchase prices that will be set forth in an exhibit to the Loan Agreement executed at the time of each
 Loan Advance. Such right may be exercised at any time after the expiration of three years following each
 Loan Advance and prior to acceptance of payment of the principal balance from SPO to the Company.

      The Company will be a special purpose entity and at the time of this Offering will own no other assets
 other than the Solaris Note. Under the terms of the Limited Partnership Agreement, a copy of which is
 attached as Exhibit J, each Limited Partner will be entitled to receive cash flow distributions from the
 Company in an amount as set forth in the Limited Partnership Agreement (the “Preferred Return”) and
 further be entitled to personal use of the Condominium Units as described above. The Company reserves
 the absolute right (in its sole discretion) to pay additional amounts to particular investors and/or classes of
 investors, whether such amounts are characterized as additional interest, commissions, fees, rebates or
 otherwise (the “Additional Compensation”), as necessary to adjust for variations between different EB-5
 markets, whether such differences result from geographical separation, local custom, governmental and or
 regulatory matters, business concerns or otherwise. The source of the cash flow for such payments to the
 Limited Partners is expected to be derived from a portion of the interest payable to the Company as well
 as from a portion of the net revenues, if any, derived from the rental of the individual Condominium Units
 tendered in exchange for the payment or prepayment of the Solaris Note. Additionally, in the event that
 some or all of the principal of the Solaris Note is paid or prepaid, then the sources of funds for the
 payment of the returns to the Limited Partners will come from one or more of either (i) a portion of the
 Operating Payments from SPO, (ii) proceeds from the sale of the Condominium Units conveyed to the
 Company as a payment of the Solaris Note, and (iii) a portion of the net revenues, if any, derived from the
 rental of the individual Condominium Units tendered in exchange for the payment or prepayment of the
 Solaris Note. In no event will payments of the Preferred Returns to the Limited Partners come from any
 portion of any principal prepayment of the Solaris Note. On the five-year anniversary date of each
 respective Loan Advance (the “Maturity Date”), provided that the specific Loan Advance has not
 previously been paid, SPO will be obligated to pay the entire remaining unpaid principal balance together
 with any accrued and unpaid interest in full. Under the terms of the Yield Enhancement Agreement, the
 Company will have the option to purchase individual Condominium Units securing the obligations under
 the Solaris Note rather than being required to accept a cash payment for the Solaris Note. The Company
 expects that it would only exercise that option if the value of the Condominium Unit exceeded the amount
 of the Loan secured by that Condominium Unit. The Company would advise the Limited Partners of
 these considerations prior to making that decision. If the Company exercises its option to purchase, the
 purchase price shall be paid by a credit of the purchase price against the Solaris Note. If SPO does not
 have the funds available to pay the Solaris Note when such payment is due, SPO will be required to
 transfer to the Company certain of the Condominium Units located at the Project that are being pledged to
 secure the obligation to pay the Solaris Note. At the time of the Maturity Date, the Company will make
 reasonable efforts to sell the Condominium Units and will use the proceeds of such sales to redeem from
 the Limited Partners the LP Interests. The Company intends to pay the Limited Partners for their
 respective interests in the Company either by utilizing the proceeds derived from the receipt from SPO of
 the payment of the Solaris Note, or, alternatively, if there has already been a prepayment of all or any
 portion of the Solaris Note, then by selling the Condominium Units that were previously transferred to the
 Company as consideration for the payment of the Solaris Note. The sources of funds for repayment of the
 Limited Partners’ Capital Contributions will come solely from the sources described above.

 The Project



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          The Project is located in the heart of Vail, Colorado in one of the premier locations in the Vail
 Village, only a short walk from the Vista Bahn ski gondola. The principal of SPO, the developer of the
 project, is Vail resident Peter Knobel. Mr. Knobel has developed high-rise buildings in New York City,
 built high-end residential homes in New York and other locations, and has also served as an executive at
 several successful telecommunications companies.

          Vail, Colorado, has a resident population of approximately 4,500 people and is a world-renowned
 ski and resort community that has been recognized by numerous industry publications as one of the top
 five ski destinations in the world. Ski Magazine has awarded Vail as the “No. 1 Ski Resort in North
 America.” Vail is the largest single ski mountain in North America and has hosted numerous worldwide
 skiing competitions (including two World Alpine Ski Championships) and its resort facilities have been
 in high demand for many years. The ski area hosts almost two million skiers/snowboarders per year. The
 town is not just dependent on skiing to attract tourists. During the summer, Vail is host to music festivals
 and served as a venue for the New York Philharmonic summer residency, the only residency for the
 orchestra outside of New York. Visitors come to Vail for a variety of reasons including world-class
 skiing, snowboarding, and other winter sports, golf, tennis, hiking, camping, music, and other summer
 activities, as well as very high-end shopping, and dining experiences.

          The Project, known as “Solaris,” consists of 79 residential condominium units (the
 “Condominium Units” and individually, a “Condominium Unit”) and approximately 70,000 square feet of
 commercial space. There are 304 heated underground parking spaces under the building. The
 Condominium Units are constructed and finished at the very highest end of the luxury scale. The unit
 owners will have access to a facility located at the gondola where they can store ski equipment and other
 personal belongings, thereby making the short walk from the Project to the ski slopes even less
 burdensome. Also, there are numerous shopping facilities, restaurants, and other recreational activities at
 or near the new complex. All of these activities can also be accessed by the free shuttle buses that carry
 visitors throughout the Vail Village on streets where automobile traffic is not allowed.

         In an economic environment that is not currently conducive to sales of expensive mountain
 condominiums, the developers of Solaris have fashioned a business plan that addresses the desires of the
 luxury condominium owner in the form of a large-scale mixed-use facility that will have features and
 amenities designed to differentiate Solaris from the more typical ski resort development.

 Business Objectives/Advantages

         Among other features, Solaris will emphasize:

             Location. The Project is centrally located in Vail Village, a short walk to the ski gondolas
             and to the numerous shopping and commercial activities in the area. There is no automobile
             traffic permitted in the Vail Village. Rather, visitors move around the town by walking or by
             riding the free shuttle buses that circulate on a regular basis throughout the Village. The
             Project’s premier location will be a significant selling point for the Condominium Units.

             Retail and other Facilities on Site. The main floor of the Project has approximately 70,000
             square feet of commercial space. Current tenants planned for the Project include a three-
             screen movie theater, a bowling alley, numerous restaurants, including one exclusive high-
             end restaurant and a wide range of retail outlets. Additionally, during the winter months,
             there will be a large ice-skating rink in the front of the complex with skate rentals and
             instruction available.




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             Parking. Parking in the Vail Village is always at a premium. Solaris will have 304 heated
             underground parking spaces available to condominium owners and visitors to the retail
             center. The developers of Solaris understand that buyers of high-end condominium units may
             well conclude that convenient and adequate parking will be a significant inducement in
             making their investment decision.

             Property Management. The developers will have an on-site property management company
             that will assist owners in all aspects of the maintenance of their units, including a full-scale
             rental agency. If an owner desires to rent out his or her unit to visitors, all rental operations
             will be facilitated through the property management company. Fees for this service will be
             comparable to other property management companies in the Vail area and will approximate
             25-50% of the gross rental fees. Likewise, the property management company will be
             responsible for all day-to-day maintenance matters including arrangements for owner
             occupancy of the unit.

             Quality Finishes. All of the units in the Project will be finished to the same high-end
             standard of quality. Individual purchasers are given very little latitude in choosing the level
             of finish and all of the units are completed to an extremely high level, including luxury brand
             name appliances, marble and granite slab countertops, fixtures, carpeting, flooring, and other
             similar matters. Insulation, sound-proofing, heating and air-conditioning systems are all built
             to the highest standards and are designed to appeal to discriminating buyers.

 Marketing of the Project

          Residential. The developers have allocated substantial sums of money for marketing the units to
 high-end buyers. The units are being marketed through certain specific real estate brokers in the Vail area
 who are experienced and successful in marketing to potential buyers of these types of units. Real estate
 records in the Vail area show that a very high percentage of buyers of residential units already own
 property in the area and are either likely buyers of a second residence or, alternatively, are likely to
 upgrade to another unit after selling their first property. The real estate brokers are focusing a portion of
 their efforts on these existing owners of Vail real estate. Additionally, marketing efforts will be directed
 at another large group of buyers of Vail property, foreign nationals. Many purchasers of Vail real estate
 have been residents of Mexico, China, Japan, and a variety of European countries. The developers intend
 to work with the Company to utilize the EB-5 program to help combine an EB-5 investment with a
 possible sale of a condominium unit. This presents a unique opportunity for the developer and the
 regional center to work together for the mutual benefits of the investor, the developer, and the operator of
 the Regional Center.

          The Condominium Units at Solaris are priced at the higher end of the market. Prices will range
 from $1,500 - $2,500 per square foot, depending on location in the building. The market for purchasers
 of high-end residential Condominium Units in the Colorado mountains is very competitive due to general
 economic conditions. However, the developer believes that the unique characteristics of the Solaris
 project will be sufficient to differentiate the residential units from other high-end residential units for sale
 in the area.

          Commercial. The commercial portion of the Project is closely tied to the residential
 development. As described above, the first two levels of the development consists of a commercial
 complex of approximately 70,000 square feet plus a large outdoor skating rink. The commercial area will
 include several high-end retail shops including a sporting goods store, a ski, snowboard, and ice skating
 rental shop (including a large maintenance and repair shop for each of these types of equipment), clothing



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  stores, restaurants (including a gourmet facility, a sports bar, and a more casual restaurant), a bowling
  alley, a three-screen movie theater, and several other shops of similar characteristics.

           The developers believe that the guests who will be occupying the residential units (both owners
  and rental guests) will seek new and very high-quality facilities on site. They believe that they can attract
  new retailers to this location because of the types of guests who will be residing in the units. The Project
  is expected to be the new center of the Town of Vail because of its centralized location and the many
  goods and services that will be located at the Project. The new, state-of-the-art, three-screen movie
  theater facility will be the only movie theater in the Vail Village area and promises to be a major draw for
  both residents of Solaris and other residents and visitors to Vail. Likewise, the bowling alley will be the
  only facility of its kind in the area. The skating rink (again, the only one of its kind in the Vail Village)
  will be open during the winter months and will provide an excellent recreational facility for residents and
  guests alike. The skate rental shop will likely increase usage of this amenity by making the rental process
  easy and convenient.

           While the ultimate tenants of the retail space are different from the ultimate buyers of the
  residential units, the developers are utilizing an integrated marketing plan. The convenience and variety
  of the retail amenities are significant selling points for the residential units. Likewise, the developer
  believes that the tenants of the retail space will be more likely to rent space in this location, not only
  because it is centrally located in the heart of Vail, but also because there will be a large number of
  relatively affluent guests staying directly above the retail outlets. Agents of the developer are seeking both
  new tenants for the retail and existing retailers in Vail who are being encouraged to open a second
  location at Solaris. In addition to the attraction of a large number of potential customers in the floors
  above the shops, the developer believes that the availability of underground, on-site parking will be a very
  attractive selling point for potential tenants. Contiguous parking simply does not exist in the main
  shopping district in Vail as the streets are closed to vehicular traffic except for the City-operated bus
  shuttle bus system.

          For all of the above reasons, projected rental rates for the tenants at the retail center will be at the
  high end of rates for retail commercial space in the Town of Vail. Rates are expected to range from $50
  to $75 per square foot (annual). With projected sales of $350 - $500 per square foot, the Developer
  believes that there will be excellent demand for the space. Lease terms will be competitive with other
  area leases with most leases having three- to five-year terms. As with the Condominium Units, the
  developer believes that the retail space will attract tenants even at the high end of the rate schedule due to
  the superior location and amenities discussed above.

  Job Creation

          Residential. The Company has commissioned the firm of Evans, Carroll & Associates to perform
  an econometric study to determine the number of jobs that will be created by the Project. The
  econometric study was updated in February, 2011 to reflect current data and to utilize the RIMS II
  economic analysis methodology. The study concludes that the 79 residential Condominium Units will
  generate a total of 76 new full-time jobs. For purposes of job creation, the econometric study breaks
  down the condominiums into 39 units that will be owner-occupied and 40 units that will be rented out in a
  rental pool. The study assumes that some of the “owner-occupied” units will be rented some of the time
  and some of the rental units will be occupied by the owners some of the time. The jobs will be generated
  over a wide range of disciplines. A number of the direct jobs will come from the service sector and will
  include jobs in insurance, real estate sales and management, security and maid service, services to
  building grounds, and local governmental jobs. Indirect and induced jobs will be created in various
  sectors including retail trade, transportation, professional and business services (including architectural



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  and engineering), social services, repair services, and other related areas. Specific jobs relating to rental
  units include employees to advertise and handle reservations, check-in and check-out personnel, security
  personnel, and maintenance and groundskeeping services. Specific jobs relating to the owner-occupied
  units include insurance agents, real estate sales associates, security personnel, housekeepers, professional
  designers, and other professional service personnel.

          Commercial and Parking. The parking structure and the commercial portion of the Solaris
  project will create a total of 534 direct jobs from all of the retail and parking structure activities carried
  out at the facility. These jobs will include retail store clerks, store managers, security personnel, and
  other similar employees necessary to operate a large-scale retail and parking complex.

           Construction. USCIS does not accept or credit creation of direct temporary “construction jobs”
  within a business plan or economic job creation forecasts activities which involve a limited direction
  construction phase of less than two years unless the scope, complexity, and the ongoing construction
  phase must be fully sustained for all the construction phase jobs for two years or more with respect to the
  size, scope, nature, engineering/technology challenges and breadth of the project. Since this project does
  represent a massive project that will actually take more than three years to complete, all the construction
  jobs are included to the extent that they represent hard construction costs. The total construction jobs
  created by the project are 1,500 jobs. The annual increase in output will be about $184 million, with the
  annual increase in household earnings about $57.1 million. The average output per new construction
  worker will be about $123,700, with average earnings of about $41,200. For all new workers, average
  output will be about $122,600, with average earnings of about $38,100.

          Total Jobs. The Residential portion of the Project will generate 76 direct jobs, the construction
  will create 1,500 jobs, and the Commercial and parking portions of the Project will generate 534 direct
  and indirect full-time jobs for a total job creation of 2,110 new, full-time jobs created at the Project.

  Financing

           The Solaris project is currently being financed by a combination of institutional construction
  loans and developer equity. The current debt will be reduced as Condominium Units are sold and closed.
  Developer equity will remain in the project as a long-term investment. The development cost of the
  Project is approximately $375 million. Proceeds from the loan represented by the Solaris Note will be
  used by SPO for development of the Project as part of its developer’s equity and may include funding for
  such items as marketing, construction costs, and other development expenses typically incurred in
  connection with a development of this magnitude. All of the expense funded by the proceeds from the
  Solaris Note are essential to the completion of the Project and will contribute directly to the creation of
  the projected jobs at both the Residences and the Commercial facilities. The parties expect to close the
  loans in traunches of approximately $5.0 million each, but may close loans in individual amounts of
  $500,000 each. The amount of each traunche may vary by the prices of the individual Condominium
  Units that are pledged as collateral for each loan. For example, if an individual Condominium Unit has a
  purchase price of $4.5 million, the parties may choose to close an individual loan in that amount. A copy
  of the sources and uses of the various forms of financing for the Project is attached hereto as Exhibit I.



  The EB-5 Program

  Congress created the employment-based fifth preference (“EB-5”) immigrant visa category in 1990 for
  immigrants seeking to enter the United States to engage in a commercial enterprise that will benefit the



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  US economy and create at least 10 full-time American jobs. To date, over $2 billion of foreign capital
  has been invested under the EB-5 program resulting in the creation of over 50,000 full-time American
  jobs. There are currently approximately 100 Regional Centers located throughout the United States with
  approximately 90 more applications pending. Investments have been made in a wide range of projects
  ranging from dairy farms in South Dakota to movie production in Southern California, to hotels and
  condominiums in Vermont.

  The basic amount required to be invested is $1.0 million, although there are circumstances under which
  the minimum investment may be reduced to $500,000 (as discussed below). In exchange for this
  investment, an investor receives a green card for himself or herself, his or her spouse, and his or her
  dependent children. The immigrant family (the investor, spouse, and dependent children under age 21)
  are subject to conditional permanent residence for a two-year period. If the investment has met the
  minimum EB-5 requirements within that two-year period, the conditions are removed and the investor
  and his or her spouse and dependents will be granted full permanent residence in the United States. Each
  applicant is subject to a rigorous background check, including verification of the legitimacy of the sources
  of the funds used to make the initial investment.

  The statutory minimum investment is $1.0 million. The minimum investment may be reduced to
  $500,000 if the business is established in a “targeted employment area.” Targeted employment areas”
  include:
      • Rural areas, defined as any area other than one within a metropolitan statistical area or within the
           boundary of a city or town with a population of 20,000 or more; and
      • Areas having an unemployment rate that is at least 150% of the national average.

  The Project qualifies for the minimum $500,000 investment level in that it is located in Vail, Colorado, a
  city outside of a recognized Metropolitan Statistical Area and having a total population of 4,500
  permanent residents based on the 2000 Census.

  Investments may be pooled with the funds of other investors seeking permanent investor visas. However,
  each investor is required to invest the applicable statutory amount and all of the jobs created directly
  and/or indirectly by the new commercial enterprise will be allocated among those within the pool seeking
  investor visas. The investors may be limited partners in a limited partnership and the limited partnership
  may make the investments to the job-creating entity or entities. The foreign investor may live anywhere
  in the US and does not have to live in the area in which the funds are invested. The applicant may expect
  to receive his temporary green card within approximately 10-12 months after completing the subscription
  process, depending in part on the country in which he is currently located and depending on USCIS and
  National Visa Center processing times.

  Under section 203(b)(5) of the Immigration and Nationality Act (INA), 8 U.S.C. § 1153(b)(5), 10,000
  immigrant visas per year are available to qualified individuals seeking permanent resident status on the
  basis of their engagement in a new commercial enterprise. Of the 10,000 investor visas (i.e., EB-5 visas)
  available annually, 3,000 are set aside for those who apply under the Regional Center program (as
  described below).



  Regional Center

  A Regional Center is an entity, organization or agency that has been approved as such by the USCIS and
  is established to focus on a specific geographic area within the United States. The geographic area can be


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  as small as a few blocks in a city or as large as an entire state. The Regional Center seeks to promote
  economic growth through improved regional productivity, creation of new jobs, and increased domestic
  capital investment.

  The Colorado Regional Center was approved as a Regional Center by USCIS on May 17, 2010, and is
  authorized to engage in projects anywhere within the State of Colorado. A copy of the approval letter is
  attached as Exhibit C.

  An alien investor must demonstrate that a "qualified investment" (see below) is being made in a new
  commercial enterprise located within an approved Regional Center and show, using reasonable
  methodologies, that 10 or more jobs will be created either directly or indirectly by the new commercial
  enterprise through revenues generated from improved regional productivity, job creation, or increased
  domestic capital investment. The Company has retained the services of Evans, Carroll & Associates to
  perform the econometric study that is being used to make the job creation estimates set forth in this
  Memorandum.

  Colorado Regional Center, LLC, the parent of the general partner of the Company, has established an
  approved Regional Center for the State of Colorado. The Project will be the first project developed under
  the EB-5 program within the Colorado Regional Center.

  EB-5 Eligibility

          Permanent resident status based on EB-5 eligibility is available to investors, either alone or
  coming with their spouse and unmarried dependent children under the age of 21. Eligible aliens are those
  who have invested -- or are actively in the process of investing -- the required amount of capital (either
  $500,000 or $1,000,000, as described above) into a new commercial enterprise. As described above, they
  must further demonstrate that this investment will create the requisite number of full-time jobs for
  qualified persons within the United States.

                                  SUMMARY OF PRINCIPAL TERMS

  The following summarizes the principal terms of the proposed offering of the limited partnership interests
  (the “LP Interests”) of Colorado Regional Center Project Solaris, LLLP, a Colorado limited liability
  limited partnership (the "Company"). The following is only a summary and is subject to the terms of the
  Limited Liability Limited Partnership Agreement (the “Partnership Agreement”) and the Subscription
  Agreement. Investors should carefully read the Partnership Agreement and the Subscription Agreement
  before subscribing to purchase the LP Interests.

  Summary of the Offering

  Issuer:                          Colorado Regional Center Project Solaris, LLLP, a Colorado limited
                                   liability limited partnership (the “Company”).

  Securities Offered:              Limited Liability Limited Partnership Interests (the “LP Interests”).




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  Business:                 The Company will lend the proceeds of this Offering to Solaris
                            Property Owner, LLC, a Delaware limited liability company (“SPO”).
                            The Company will receive a promissory note (the “Solaris Note)
                            executed by SPO. SPO is the owner/developer of the Solaris
                            residential and retail complex located in Vail, Colorado.

  Principals; Management:   The Company will enter into a management contract (the
                            “Management Contract”) with Waveland EB-5 Management, LLC, a
                            Colorado limited liability company (“Waveland Management”).
                            Waveland Management is a wholly-owned subsidiary of Waveland
                            Ventures, LLC, the sole member of the limited liability company
                            which is the parent of the General Partner. Under the terms of the
                            Management Contract, in consideration of the performance by
                            Waveland Management of certain management and servicing duties,
                            Waveland Management will be entitled to receive an annual
                            management fee equal to 2% of the total Capital Contributions to the
                            Company (the “Management Fee”), payable quarterly. If there is
                            insufficient cash flow available to pay the Management Fee, then the
                            amount payable shall accrue and bear interest at the rate of 6% per
                            annum and shall be payable from the cash flow of the Company as set
                            forth in the Limited Liability Limited Partnership Agreement of the
                            Company. In no event will the Management Fee be payable from any
                            Capital Contributions or from any prepaid amounts under the Solaris
                            Note.

                            The principals of Waveland Management who will be primarily
                            involved in the management of the Company are D. Rick Hayes,
                            Chester P. Schwartz, and Paul Deslongchamps (the “Principals”). The
                            Company will leverage the resources of its affiliates, for certain
                            operational activities. Chester Schwartz will be the primary principal
                            of the Company who will be responsible for management of the
                            Company. Rick Hayes and Paul Deslongchamps will also devote
                            significant amounts of their time to the activities of the Company.

  Maximum Gross Total       $80,000,000 (US). The Company will have the right to lend proceeds
  Offering:                 of this Offering to SPO in multiples of $500,000 or such other
                            amounts as may be agreed upon between the Company and SPO.

  Minimum Individual        Each limited partnership interest (the “LP Interest) will require a
  Subscription:             capital contribution of $500,000 plus $50,000 as an Administrative
                            Expense, as defined below). The Administrative Expense fees will be
                            used to pay expenses such as legal, accounting, commissions,
                            background checks, and other similar types of fees and expenses
                            (which expenses will be collectively referred to as “Administrative
                            Expenses”). The General Partner, in its sole and absolute discretion,
                            may allow an individual purchaser of an LP Interest to pay his or her
                            own legal fees in which case the Administrative Expense shall be
                            $35,000. Each purchaser of an LP Interest shall be referred to as a
                            “Limited Partner” or an “Investor” and shall be collectively referred to
                            as “Limited Partners” or “Investors.”



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  Closing Dates:               The initial closing (the “Initial Closing”) of the offering contemplated
                               hereby will occur at such time as the Company receives subscriptions
                               for LP Interests with an aggregate Capital Contribution of $500,000.
                               For a period of up to 12 months after the Initial Closing (or such
                               longer period s the parties may agree), the Managers may accept
                               additional Limited Partners and subscriptions until the Company’s
                               aggregate subscriptions for Capital Contributions hereunder equal
                               $80,000,000 or such higher number if permitted under the applicable
                               EB-5 rules and regulations.

  Terms of the LP Interests:   The Company intends to pay to each Investor the Preferred Return.
                               The actual annual return will be determined at the discretion of the
                               General Partner and will be set forth in each potential investor’s
                               Subscription Agreement and in the Limited Partnership Agreement.
                               The funds necessary to pay the Preferred Returns are expected to come
                               from (i) a portion of the interest payments made to the Company by
                               SPO under the terms of the Solaris Note, and (ii) a portion of the net
                               revenues, if any, derived from the rental of the individual
                               Condominium Units pursuant to the Yield Enhancement Agreement.
                               In no event will payment of the Preferred Returns come from any
                               portion of any prepayment of the Solaris Note. Additionally, in the
                               event that SPO pays or prepays some or all of the Solaris Note, then
                               the sources of funds for the payment of the Preferred Returns to the
                               Investors are expected to come from one or more of either (i) a portion
                               of the Operating Payments from SPO, (ii) proceeds from the sale of
                               the Condominium Units conveyed to the Company as a payment of the
                               Solaris Note, and (iii) a portion of the net revenues, if any, derived
                               from the rental of the individual Condominium Units tendered in
                               exchange for the payment of the Solaris Note. On the five-year
                               anniversary date of each respective Loan Advance (the “Maturity
                               Date”), provided that the Solaris Note has not previously been paid,
                               SPO will be obligated to pay the entire remaining unpaid principal
                               balance together with any accrued and unpaid interest in full. The
                               Company will have the right to require SPO to pay such balance by
                               tendering the deeds to Condominium Units securing the obligations
                               under the Yield Enhancement Agreement rather than by the payment
                               of cash for the Solaris Note. If SPO is unable to make a cash payment
                               on the Maturity Date, SPO will be required to transfer to the Company
                               certain of the Condominium Units located at the Project that are being
                               pledged to secure the obligation to pay the Solaris Note. At the time
                               of the Maturity Date, the Company will begin the process of
                               redeeming from the Investors the Investors’ Limited Liability Limited
                               Partnership Interests in the Company. The Company intends to pay
                               the Investors for their respective interests in the Company either by
                               utilizing the proceeds derived from the receipt from SPO of the
                               payment of the Solaris Note, or, alternatively, if there has already been
                               a payment of all or any portion of the Solaris Note, then by selling the
                               Condominium Units that were previously transferred to the Company
                               as consideration for the payment of the Solaris Note. The Company



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                            intends to begin marketing efforts directed at selling the Condominium
                            Units sometime prior to each Maturity Date. The sources of funds for
                            repayment of the Investors’ Capital Contributions are expected to
                            come from the sources described above. Thus, the date for actual
                            payment to the Investors for their LP Interests may be delayed until
                            such time as the individual Condominium Units can be sold and
                            closed. Beginning on a date three years following the date of the first
                            Capital Contribution, the General Partner will engage one or more
                            third parties to determine a fair market value for the Partnership
                            Property. The General Partner will notify all investors who have held
                            their Partnership Interests for more than three years of the results of
                            the fair market value analysis. If an investor desires to sell at that
                            price, he/she will give notice to the General Partner of this decision.
                            The General Partner shall then make reasonable business efforts to
                            liquidate Partnership Property sufficient to redeem the electing
                            investors’ interests within 180 days following the election to sell.
                            Each electing investor shall be required to sell his/her Partnership
                            Interest unless the actual sales price of the Partnership Property results
                            in proceeds equal to less than 70% of the fair market value previously
                            determined. Prior to the consummation of any sale pursuant to this
                            provision, the independent party or parties who made the initial
                            determination of Fair Market Value, shall make a second
                            determination that the actual sales price represents a fair valuation
                            under all facts and circumstances. Such fair market analyses shall be
                            made available for review by any Limited Partner. (Reference is made
                            to the Limited Partnership Agreement for a more complete description
                            of this provision) Available cash will be distributed to the Investors
                            from the Company in the following order: First to Waveland
                            Management to pay for all Management Fees, then to the Investors to
                            pay for all Preferred Returns, then to the Investors until they have been
                            paid back the full amount of their Capital Contributions, and, finally,
                            the excess, if any, shall be divided 70% to the General Partner and
                            30% to the Investors. Additionally, for such time as the Company
                            either owns or has use rights to Condominium Units, each Investor
                            will be entitled to have the use of a Condominium Unit at the Solaris
                            project for a period of not less than seven consecutive days during the
                            months of November through March and 14 days for the rest of the
                            year. The terms and conditions of such usage are as set forth in the
                            Partnership Agreement and reference is made to such Agreement for a
                            more complete description of such usage rights.

  Use of Proceeds:          The proceeds of this Offering will be used by the Company to make a
                            loan to SPO. The loan will be evidenced by the Solaris Note. SPO
                            intends to use the proceeds for general working capital in developing
                            the Project.

  Terms and Conditions of   The Solaris Note provides that each Loan Advance has a term of five
  the Solaris Note:         years. Interest will accrue at the rate of 5% per annum and will be
                            payable interest only in monthly installments. There will be no right
                            to prepay principal for the first three years of any Loan Advance. At



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                                the Maturity Date, the unpaid principal balance together with any
                                accrued but unpaid interest shall be due and payable either in cash or
                                by transfer of certain Condominium Units in lieu of cash. The
                                Company has the right to require payment in the form of
                                Condominium Units rather than accepting payment in cash but has no
                                right to require payment in cash.

  Restrictions on Transfer of   The securities offered are restricted and may not be sold, transferred,
  Securities Acquired:          or otherwise disposed of in the absence of an effective registration
                                statement or an exemption from registration. Additionally, the
                                transferability of the LP Interests is further restricted by the terms and
                                conditions of the Partnership Agreement.

  No Market for LP              There is no market for the LP Interests being offered and none is
  Interests:                    expected to develop. Investors may not be able to sell the LP Interests
                                at any price.

  Certain Risk Factors:         Investment in the LP Interests involves significant risks.            See
                                “CERTAIN RISK FACTORS.”

  Investor Qualifications:      Each investor must be an accredited investor as such term is defined in
                                Regulation D issued pursuant to the Securities Act of 1933.

  Sale and Private
  Placement:                    Sales of the LP Interests will be made in reliance upon one or more
                                exemptions from the registration requirements of federal and state
                                securities laws or upon qualification under those laws.


  Management Fees:              As stated above, the Company will enter into the Management
                                Contract with Waveland Management. Under the terms of the
                                Management Contract, Waveland Management will be entitled to
                                receive an annual management fee equal to 2% of the total Capital
                                Contributions to the Company (the “Management Fee”), payable
                                quarterly. If there is not Available Cash Flow sufficient to pay the
                                Management Fee, then the amount payable shall accrue and bear
                                interest at the rate of 6% per annum and shall be payable from the cash
                                flow of the Company (but in no event from any prepayment of the
                                Solaris Note). Additionally, the General Partner will participate in the
                                distribution of the cash available for distribution, if any, after the
                                Limited Partners have received the Preferred Return and 100% of their
                                original Capital Contributions (excluding Administrative Expenses).
                                The Company may take certain fees out of Administrative Expenses
                                collected from Limited Partners if there are funds available after
                                payment of all required out-of-pocket expenses relating to the offering
                                of the LP Interests and the related EB-5 expenses. Additionally, the
                                General Partner will have a 1% general partnership interest in the
                                Limited Partnership in consideration of its capital and services
                                rendered in the formation of the Limited Partnership.




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  Management Expenses:               The Company will be responsible for its operating expenses as well as
                                     auditing, examination fees, accounting and legal fees, and annual
                                     meeting costs and other charges. All operating expenses will be paid
                                     from Administrative Expenses or from the cash flow of the Company,
                                     but will not be paid from Capital Contributions.

  Indemnification by the
  Company:                           The General Partner and its affiliates will be indemnified by the
                                     Company against all liability, including legal expense, arising out of
                                     its involvement with the Company. No one, however, shall be so
                                     indemnified for acts or omissions in material breach of the Partnership
                                     Agreement which would constitute fraud, willful misconduct or breach
                                     of fiduciary duty to the Company or to the Members.

  Voting Rights; Protective          The Limited Partners will not be entitled to vote except for matters
  Provisions:                        specifically identified in the Partnership Agreement, as summarized
                                     below. Consent by a majority of the Limited Partners will be required
                                     for: (i) any action which alters or changes the rights, preferences or
                                     privileges of, or otherwise materially adversely affects, the Limited
                                     Partners, (ii) any amendment of the Company’s Partnership
                                     Agreement in a manner materially adverse to the Limited Partners, (iii)
                                     the declaration or payment of any distribution on or the purchase,
                                     redemption or other acquisition of any security junior or pari passu to
                                     the LP Interests except for certain distributions defined in the
                                     Partnership Agreement, or (iv) the authorization or issuance of any
                                     equity senior to or on parity with the LP Interests.

  Withdrawals and Transfers          No Limited Partner may withdraw from the Company, except as
  of Limited Partners’ Interests:    provided in the Partnership Agreement. Partnership Interests will not
                                     be transferable without the approval of the General Partner, whose
                                     approval may be withheld for any reason or no reason at all, and may
                                     only be transferred if in compliance with applicable securities laws.

  Reporting:                         The Company will operate on a calendar year (December 31) basis for
                                     record keeping and for tax purposes. The general partner will furnish
                                     to each Investor, within 90 days of the end of each fiscal year, annual
                                     tax information necessary for each Investor’s returns and unaudited
                                     financial statements of the Company. Additionally, the Company will
                                     provide to the Limited Partners quarterly reports summarizing the
                                     status of the Company’s business for the previous quarter. The books
                                     and records of the Company will be kept on the accrual basis in
                                     accordance with generally accepted accounting principles. There will
                                     be at least one meeting of the Limited Partners per year.



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  The foregoing summary of certain portions of this Memorandum is intended for quick reference only
  and is not intended to be complete. This Memorandum and other accompanying documents describe
  in greater detail aspects of the investment that are material to prospective investors in the Company.
  They should be read in their entirety by prospective investors.

   Statements contained in this Memorandum as to the contents of any other agreements or documents
  are not necessarily complete and each such statement is deemed to be qualified in all respects by the
  provisions of those agreements and documents, copies of which are available for examination by
  prospective investors upon request.

                   COLORADO REGIONAL CENTER PROJECT SOLARIS, LLLP

  Structure of the Investment

           An investment in the Company will entitle each Limited Partner to an LP Interest in the
  Company. The minimum investment from each Limited Partner will be a $500,000 Capital Contribution
  and a separate payment of a fee for Administrative Expenses. The Administrative Expense payments may
  be used by Colorado Regional Center, LLC (“CRC”) or its affiliated companies to pay certain expenses
  relating to this Offering including but not limited to legal and accounting fees, agency fees, referral fees,
  marketing and travel expenses, and costs and expenses incurred relating to background checks and other
  similar expenses related to the EB-5 program. The Company may, with the agreement of the Limited
  Partner, further pay out of the Administrative Expenses up to $15,000 of the legal expenses of the
  Investors for the I-526 application process (provided that the Company retains the right to reasonably
  approve each Investor’s choice of legal counsel). Alternatively, if the Limited Partner elects to pay his or
  her own legal expenses, then the amount of the Administrative Expense shall be reduced by $15,000. If
  CRC incurs expenses that exceed the amount received for Administrative Expenses, then the excess
  amounts will be paid by CRC. If CRC incurs expenses that are less than the amount received for
  Administrative Expenses, then it shall be entitled to retain such excess amounts.

          Each Investor will own a pro rata share of the Company depending on the total number of
  Investors in the Company. For example, if there are 20 Investors, each Investor will own a 4.95%
  membership interest in the Company (and the general partner will have a 1% interest in the Limited
  Partnership in consideration of its contribution of capital and services rendered to the Limited Partnership
  as discussed above). No member will be admitted to the Company for a Capital Contribution that is less
  than $500,000 plus the then applicable charge for Administrative Expenses. Initially, the Company’s sole
  asset will be the Solaris Note. If the Solaris Note is paid or prepaid, then the Company will likely own
  various Condominium Units in the Project, including the personal property located within each such unit.

          The Company will lend to SPO 100% of the Capital Contributions. The loan to Solaris will be
  represented by the Solaris Note will not represent any ownership interest in SPO. SPO will develop, own,
  and operate the Project. To the extent that there is cash available for distribution from SPO, such cash
  will be distributed to the Company in the manner as described in this Memorandum and as more
  particularly set forth in the Solaris Note. A schematic of the flow of funds is attached hereto as Exhibit D.

  Under the terms of the Partnership Agreement, to the extent that the Company has available cash flow
  after payment of the Management Fee, the Limited Partners shall be entitled to the Preferred Return
  payable at the discretion of the General Partner no less than annually. After payment to the Investors of
  the Preferred Return, 100% of all additional cash available for distribution shall be paid to the Investors
  until such time as they have received cash distributions equal to 100% of their initial Capital
  Contributions (excluding contributions for Administrative Expenses). After the Investors have received



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  payments equal to their entire Capital Contributions in the Company (excluding contributions for
  Administrative Expenses), available cash flow shall be distributed 70% to the General Partner and 30% to
  the holders of the LP Interests. Until such time as the Company distributes to the Limited Partners an
  amount equal to 100% of their Capital Contributions (excluding contributions for Administrative
  Expenses), the Company will be prohibited from making any distributions to Partners on behalf of their
  Partnership Interests except for payment of the Management Fees and reimbursements of permitted
  expenses, and Permitted Distributions. “Permitted Distributions” shall mean distributions to Partners in
  an amount equal to their tax liability derived from such Partner’s allocable share of the Company’s
  taxable income as more fully described in the Partnership Agreement.

  Monetization/Exit Strategy

            A significant metric in any investment will be the ability to monetize the investment within a
  targeted time horizon. The Company intends to monetize the investment in the Project within
  approximately five years. While there can be no assurance that this will be accomplished in that time
  frame, SPO is required to pay the Solaris Note on the fifth anniversary date of each Loan Advance under
  the Solaris Note. If, however, SPO exercises its rights to prepay all or some portion of the principal
  balance due under the Solaris Note by transfer to the Company of one or more Condominium Units
  located in the Project, or if SPO pays the Solaris Note at the Maturity Date by the transfer of one or more
  Condominium Units, then the ability to monetize the investment will be dependent in part on the ability
  of the Company to sell or otherwise dispose of such Condominium Units. Likewise, the amount realized
  from the sale or other disposition of the Condominium Units will be dependent on the market conditions
  existing at the time of the sales or attempted sales of such units. It is the Company’s intent to make every
  effort to monetize the investments on or about the fifth anniversary date of the original Capital
  Contributions, so that if the Company is the owner of one or more Condominium Units prior to such date,
  the Company will begin marketing efforts directed at closing such sales prior to the fifth anniversary date
  of the contributions. Because one or more investors may desire to liquidate his investment within five
  years without concern for maximizing the timing of the exit, the Company has established a procedure to
  account for this eventuality. Beginning on a date three years following the date of the first Capital
  Contribution, the General Partner will engage one or more third parties to determine a fair market value
  for the Partnership Property. The General Partner will notify all investors who have held their Partnership
  Interests for more than three years of the results of the fair market value analysis. If an investor desires to
  sell at that price, he/she will give notice to the General Partner of this decision. The General Partner shall
  then make reasonable business efforts to liquidate Partnership Property sufficient to redeem the electing
  investors’ interests within 180 days following the election to sell. Each electing investor shall be required
  to sell his/her Partnership Interest unless the actual sales price of the Partnership Property results in
  proceeds equal to less than 70% of the fair market value previously determined. Prior to the
  consummation of any sale pursuant to this provision, the independent party or parties who made the initial
  determination of Fair Market Value, shall make a second determination that the actual sales price
  represents a fair valuation under all facts and circumstances. Such fair market analyses shall be made
  available to any Limited Partner. (Reference is made to the Limited Partnership Agreement for a more
  complete description of this provision) Of course, market conditions (including such factors as credit
  conditions, interest rates, income tax laws then in effect, and the state of the economy in the Vail
  Colorado, area, the United States as a whole, and the global economy) will all have a material effect on
  the ability of the Company to successfully sell the Condominium Units and the price at which such units
  might be sold.

  Due Diligence




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          The Company has conducted extensive due diligence on the Project and its developers, architects,
  contractors, and management company. In connection with the Company’s due diligence, it has reviewed
  copies of the business plan of the Project, credit and background information on the principals of SPO,
  financial statements, bank references, budgets, organizational documents, marketing materials
  competitive assessment and industry review, and has obtained third-party information on the industry, and
  analyzed market conditions, the competitive environment, and economic, technological and other trends
  within the industry. Additionally, the Company has utilized various third parties to assist in its due
  diligence. The Company believes that the information provided by such third parties is reasonable and
  may be relied upon for accuracy, but the Company is not able to fully verify each of these third-party
  sources of information.

  Monitoring

           After the Company has funded the loan to SPO, it will stay in regular contact (monthly at a
  minimum) with SPO and, pursuant to the Loan Agreement executed by the Company and SPO, will have
  informational rights with respect to all material financial and operational aspects of the Project.
  Additionally, under the terms of the Loan Agreement and related documents the Company has required
  SPO to provide a series of reports including job creation and employment metrics, monthly "flash
  reports," annual budgets, monthly financial statements, and year-end financial statements. The Company
  will review at least quarterly compliance with financial and structural covenants and compliance. Files
  will be maintained that will include all correspondence, resolutions and entity documents, investment due
  diligence, and credit information.

                                         STATEMENT OF RISKS

          Investment in the Company involves significant risks. There can be no assurance that the
  Company will achieve its investment objectives, including the return of capital invested by the Limited
  Partners. An investor in the Company should be able to hold the investment for an indefinite period of
  time and be financially able to bear the total loss of the investment. The following contains a summary of
  principal risks of an investment in the Company:

  Dependence on                   The Company will have very little active management responsibility or
  Management of SPO:              authority with respect to the management of the Project. The Company
                                  will have a note receivable from SPO, but the management of SPO will
                                  be controlled solely by Peter Knobel. Additionally, the day-to-day
                                  management of the business operations of the Project will rest
                                  exclusively in the control of SPO. While the Company is confident in
                                  the abilities of SPO to manage the Project in a profitable manner based
                                  on the success of its principal, Peter Knobel, in previous commercial
                                  real estate projects, there can be no assurance that it will be successful
                                  in the management of the Project.

  The Project may not be          This is a development project and, therefore, there can be no assurance
  Completed as Scheduled:         that the Project will be constructed on the projected schedule. If there is
                                  a substantial delay, the costs of completion may be increased and there
                                  will be a delay in the generation of revenues from the operation of the
                                  Project. Additionally, any material delay may postpone the starting
                                  date for the jobs related to the Project, thereby delaying the job creation
                                  requirements of the EB-5 program. The development team has a great
                                  deal of experience in this type of development and the Project is in an



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                                 advanced stage of construction at this time. Therefore, the Company
                                 believes that absent significant unforeseen events, the Project will be
                                 constructed on time, within budget, and the related businesses
                                 operational within approximately 12 months.

  The Project may be Subject     There are a number of variables in any new construction project and
  to Cost Overruns; Failure to   there is a risk that the costs of building the Project will be greater than
  Sell Condominium Units in      the projected costs. The reasons for overruns include such matters as
  a Timely Fashion:              governmental issues, unforeseen construction problems, increases in the
                                 costs of construction materials and labor, weather, and other similar
                                 types of construction problems. If there are significant cost increases,
                                 the developers will have to provide additional funds to complete the
                                 project. The Company believes that these risks are mitigated by the
                                 inclusion of a contingency fund in the construction budget and also by
                                 the fact that the developers, architects, and general contractor have all
                                 built many similar types of projects from the ground up and have a
                                 great deal of experience in planning for the construction of similar
                                 projects, and, importantly, the Project is already in an advanced stage of
                                 construction at this time. Likewise, if SPO is unable to sell
                                 Condominium Units in a timely fashion, the holding costs related to
                                 such unsold units (such as HOA dues, property taxes, insurance, and
                                 maintenance) may be substantial and may create a financial hardship for
                                 SPO. The risks are mitigated by SPO’s financial strength and its ability
                                 to fund any likely cash shortfalls.

  Job Creation; Potential Risk   Under the terms of the EB-5 program, the project must create a
  of Loss of Visa:               minimum of 10 full-time jobs within 2.5 years following the approval
                                 of the Limited Partners’ Form I-526 Petition. These jobs may be
                                 indirect jobs, but must be filled with U.S. workers. The Company
                                 projects that there will be 2,110 new jobs created from the operation of
                                 the Project and this number was derived from the econometric study
                                 prepared by Evans, Carroll & Associates as a necessary requirement of
                                 the Colorado Regional Center application and designation. The Evans,
                                 Carroll & Associates econometric report was updated in February,
                                 2011, to reflect current conditions and the use of the RIMS II
                                 methodology for determination of job creation. The projected job totals
                                 would be satisfactory to support 210 investors at $500,000 per investor.
                                 If there are fewer than 10 jobs created for each $500,000 investor
                                 during the 2.5-year period following the approval of the Limited
                                 Partners’ Form I-526 Petition, each of the investors risks the loss of his
                                 or her visa and may be required to return to the investor’s country of
                                 origin. The Company intends to mitigate this risk by seeking a
                                 maximum of $80,000,000 in Capital Contributions which would be
                                 supported by a total of 1,600 jobs. However, that amount may be
                                 increased given the cushion in the number of jobs expected to be
                                 created allowing the Company to increase the number of LP Interests
                                 that may be sold under applicable EB-5 rules and regulations. Further,
                                 if the econometric study is found to have significantly undercounted the
                                 number of associated jobs, the Company may increase the number of
                                 LP Interests that may be sold.



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  SPO may not be Profitable    There is a risk that the Project may never become profitable and that,
  and may not Generate         therefore, SPO will not be profitable and will not have positive cash
  Positive Cash Flow:          flow. If SPO does not experience adequate cash flow, it may not be
                               able to make the payments on the Solaris Note. The Project is a
                               development project and initially may have limited revenues. Because
                               development projects, even if successful, typically generate losses
                               during the initial investment process, it will take some time to generate
                               profits. The Company will enter into a Management Agreement with a
                               company affiliated with the General Partner. The management fees
                               payable under the Management Agreement will be payable prior to the
                               distribution of available cash flow to the Limited Partners.
                               Additionally, the Project may not show positive cash flow so that SPO
                               would not have sufficient cash flow to repay the Capital Contributions
                               of the Limited Partners or any profits on the Capital Contributions.

  No Guarantee of any          The investment by the Limited Partners is an equity investment. There
  Returns to Investors; Risk   is no obligation of any kind by either the Company nor any other person
  of Foreclosure:              or entity to pay back the amount of the Limited Partners’ Capital
                               Contributions.      The return of each Limited Partner’s Capital
                               Contribution as well as any additional cash flow is dependent on the
                               ability of the Project to generate positive cash flow to SPO and SPO’s
                               ability to make payments to the Company, the ability of SPO to make
                               Operating Payments, and the ability to monetize the investment by
                               selling the Condominium Units that are the collateral for the Solaris
                               Note. If these various sources of cash prove to be insufficient to pay the
                               expenses of the Project, then SPO may not have cash flow and may not
                               be able to make payments to the Company of interest under the Solaris
                               Note or Operating Payments. In such event, the Limited Partners will
                               receive neither a return of their investment nor any return on their
                               investment. SPO will be required to pay HOA dues and real estate
                               property taxes on one or more Condominium Units during the term of
                               the Solaris Note. If SPO is unable to make such payments, there is a
                               risk that the amount of any such deficiency would be set off against
                               interest payments due to the Company and that this would impair the
                               Company’s ability to make distributions of the Preferred Returns.
                               Likewise, under the terms of the Yield Enhancement Agreement, the
                               Company is required to reimburse SPO for any cash flow deficits from
                               the leasing of the Condominium Units. If the Company is unable to pay
                               any such cash flow deficits, there is a risk that the interest payments to
                               the Company under the Solaris Note would be reduced to cover any
                               such deficits.

  Risk of Ownership of         The market for luxury Condominium Units in the Colorado resort
  Condominium Units            communities has experienced severe pressure, especially over the past
                               two years. The reasons for this pressure are varied, but include the
                               world-wide recession, over-supply of units, and a lack of available
                               credit for potential buyers. The Condominium Units at the Project are
                               at the very high end of the luxury scale and are priced at levels that are
                               at the highest levels of almost any other units in the Vail, Colorado,



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                         area. There is a risk that SPO may not be able to sell enough
                         Condominium Units to generate sufficient revenues to pay the interest
                         due to the Company under the Solaris Note and that as a result, the
                         Company would not in turn be able to pay the Preferred Returns to the
                         Investors. Additionally, there is a risk that the prices of the units will
                         decline over the next several years resulting in an inability of the
                         Investors to sell the units for an amount sufficient to repay the amount
                         of their initial Capital Contributions.

  Pro Formas may not     The Company has reviewed carefully the pro forma financial statements
  Prove Accurate:        for the Project. These financial pro formas were prepared primarily by
                         the principals of SPO. Pro formas are projections only and should not
                         be relied upon as an accurate forecast of the financial performance of
                         the Project. There are many factors that will impact the financial
                         performance of the Project and many of these will have a material effect
                         on the ability of the Project to generate profits and positive cash flow.
                         The pro formas represent management’s good faith attempt to project
                         the financial performance of the Project and, therefore, the Company,
                         but should not be relied upon as any form of guaranty of actual results.

  Lack of Liquidity:     The Company will not be able to make cash distributions to its Limited
                         Partners unless SPO makes its payments to the Company of interest
                         under the Solaris Note or Operating Payments. The Company believes
                         that SPO has sufficient cash reserves to enable it to make its required
                         payments to the Company in a timely fashion for the foreseeable future.
                         However, there can be no assurance that SPO will be able to sustain the
                         required payments. Additionally, if SPO elects to redeem the Solaris
                         Note by transferring ownership of one or more Condominium Units,
                         then the Company will own the units and will be required to pay
                         Homeowners Association dues, property taxes, insurance, and other
                         expenses relating to ownership of the units. As a requirement of paying
                         or prepaying principal under the Solaris Note, SPO will enter into an
                         agreement whereby it will pay to the Company payments equal to the
                         amounts of the Preferred Returns payable by the Company.
                         Additionally, the Company intends to receive additional income from
                         the renting of the Condominium Units by SPO to third parties. The
                         Company will receive the benefit of any rental income under the terms
                         set forth in the Loan Agreement. The Company believes that these
                         payments will adequately cover the expenses associated with ownership
                         of the Condominium Units. If SPO fails to make its payments,
                         however, there is a risk that the Company would not be able to pay the
                         expenses and the Company could lose ownership of the units. The
                         Company believes that SPO will be able to make such payments and
                         has further received the personal guaranty of Peter Knobel with respect
                         to the Operating Payments and the interest payments that are payable
                         during the period that any principal balance of the Solaris Note is
                         outstanding. Therefore, the Company does not believe that there is a
                         substantial risk of default in these payments. There is no market for the
                         LP Interests and there are significant restrictions on the transferability
                         of the LP Interests. Therefore, until there is a liquidity event (such as a



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                              sale of the Condominium Units), the Limited Partners will not be able
                              to monetize their investment in the Company.

  Inability to Refinance or   At the time that the Company desires to sell the Condominium Units,
  Sell:                       there is a risk that the market may not be conducive to such sale. If the
                              credit markets are illiquid, or if general economic conditions are
                              unfavorable, the market for the sales of Condominium Units may be
                              limited or depressed. In such event, the investment will have to be held
                              for a longer period of time or, if there is a liquidity event, it may yield a
                              smaller return.

  Conflicts of Interest:      The General Partner of the Company and certain Principals and
                              affiliates of the General Partner currently have interests and
                              responsibilities in other companies requiring a portion of their time.
                              The General Partner and its affiliates may have interests in other
                              projects in Colorado and other locations that may seek investors for
                              other EB-5 projects. Neither the Company nor the General Partner
                              believes that except for the time required to attend to other business
                              matters, these other EB-5 activities will create any conflicts of interest
                              due to the fact that once that all of the Capital Contributions for the
                              Company have been received, the General Partner does not intend to
                              seek any new EB-5 investors for the Company.

  Limited Transferability:    There will not be a public market for the LP Interests. There will be
                              substantial restrictions on transferring interests in the Company,
                              including federal and state securities laws. Accordingly, purchasers of
                              the LP Interests may need to bear the economic risk of their investment
                              in the Company until such time as the Company is liquidated. All
                              persons acquiring the interests will be required to represent, among
                              other things, that they are purchasing such interests for their own
                              account for investment only and not with a view to the resale or
                              distribution thereof.

  Not Registered Under        The Company is not registered under, and does not intend to register
  Investment Advisers Act:    under, the Investment Adviser's Act of 1940 in reliance upon
                              exemptions from registration thereunder.

  Not Registered under        The Company is not registered under, and does not intend to register
  Investment Company Act:     under, the Investment Company Act of 1940 in reliance upon an
                              exemption from registration, available under Section 3(c)(1) thereof.
                              There is a risk that the Securities and Exchange Commission or a court
                              might conclude that we fall within the definition of investment
                              company, and unless an exclusion were available, we would be required
                              to register under the Investment Company Act of 1940. Compliance
                              with the Investment Company Act, as a registered investment company,
                              would cause us to alter significantly our business strategy, impair our
                              ability to operate as planned and seriously harm our business. If we fail
                              to comply with the requirements of this Act, we would be prohibited
                              from engaging in business or selling securities, and could be subject to
                              civil and criminal actions for doing so. In addition, our contracts would



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                              be voidable and a court could appoint a receiver to take control of and
                              liquidate our business.

  Repayment of Debt; Return   The Company’s ability to make cash distributions is dependent in part
  of Capital Contributions:   upon the success of the Project and the availability of distributions from
                              the Project to SPO and the ability of SPO to make payments to the
                              Company of interest under the Solaris Note or Operating Payments. No
                              Limited Partner shall be entitled to withdraw or to the return of his or
                              her Capital Contributions except as provided in the Partnership
                              Agreement, or to demand and receive property other than in cash in
                              return for his or her Capital Contributions except upon dissolution of
                              the Company per the further terms of the Partnership Agreement. Each
                              Limited Partner must rely upon payments made by SPO to the
                              Company or by sales of the Condominium Units by the Company and
                              then upon distributions by the Company to the Limited Partners, at the
                              discretion of the General Partner, to the extent there are liquid assets
                              available, for return of his or her Capital Contributions. There can be
                              no assurance, irrespective of the success of the investments, that any
                              Limited Partner will receive cash or property equal to his or her
                              investment in the Company.


  Federal Income Tax Risks:   BECAUSE THE FEDERAL INCOME TAX LAWS ARE
                              COMPLEX AND THE IMPACT ON EACH MEMBER MAY
                              VARY CONSIDERABLY DEPENDING ON THE INVESTOR’S
                              INDIVIDUAL TAX   ATTRIBUTES,  INVESTORS ARE
                              STRONGLY URGED TO CONSULT THEIR OWN TAX
                              ADVISORS BEFORE ACQUIRING THE LP INTERESTS IN
                              THE COMPANY HEREUNDER.

  Indemnification:            The Partnership Agreement provides limitations on the liability of the
                              General Partner, its affiliates and its members, officers, directors and
                              employees, and provides for indemnification of the General Partner and
                              its affiliates, members, officers, directors and employees, under certain
                              circumstances. Limited Partners may have more limited rights than
                              they would absent such limitations.

  Control:                    The Company is managed by the General Partner. The General Partner
                              will make all decisions with respect to the control and management of
                              the Company except as specifically provided in the Partnership
                              Agreement.

  Immigration Issues:         Congress and or USCIS may change the law, regulations, or
                              interpretations of the law without notice and in a manner that may be
                              detrimental to an Investor or the Company.

                              It is impossible to predict visa-processing times. Investors should not
                              physically move to the United States until their visa has been issued.

                              Investors who obtain conditional or permanent residence status must



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                               intend to make the United States their primary residence. Conditional or
                               permanent residents who continue to live abroad risk revocation of their
                               conditional or permanent residence status.

                               USCIS requires proof of direct and indirect employment creation as part
                               of the removal of conditions process. There is no assurance that the
                               actual number of direct employees and indirect job creation will be the
                               same as the number predicted in the economist’s report. Depending
                               upon the disparity there may be insufficient employment to remove
                               conditional visa status.

                               The process of obtaining conditional and permanent resident status
                               involves several factors and circumstances which are not within the
                               control of the Company. These include the Investor's past history and
                               quotas established by the United States government limiting the number
                               of immigrant visas available to qualified individuals seeking permanent
                               resident status under the EB-5 “Regional Center” program. Although
                               the Company has been structured so that each Limited Partner may
                               maximize eligibility for permanent residency under the EB-5 “Regional
                               Center” provisions of the U.S. immigration laws, no assurance can be
                               given that each Investor will obtain approval of his or her particular
                               immigrant petition. Purchase of a Unit does not guarantee conditional
                               or permanent residency in the United States. Furthermore, no advice
                               can be given that conditions to permanent residency will be removed.
                               Each prospective investor should consult competent immigration
                               counsel to review the likelihood that the Investor's Immigrant Petition
                               will be granted.

  Risks Relating to the U.S.   Investors in this Offering who have subscribed for LP Interests with the
  EB-5 Immigration Investor    intention of applying for approval of a Petition through the EB-5
  Pilot Program                program should be aware of certain risk factors involving the EB-5
                               program and its administration. A description of the risks below are
                               based on information obtained by the Company from third parties who
                               the Company believes are reliable. However, there can be no assurance
                               that such information is accurate or current or that it includes all of the
                               risks relating to the EB-5 program for such investors.

                               The Company was designated as a regional center to participate in the
                               EB-5 program on May 17, 2010. Accordingly, the personnel within the
                               Company do not have experience in administering the EB-5 program,
                               which could lead to delays for investors in the process of obtaining a
                               conditional or permanent green card. In addition, investors will be
                               charged an Administrative Expense of $50,000 (or in some cases in
                               which the investor pays for his or her own immigration attorney’s fees,
                               $35,000) by the Company in connection with review of the investors’
                               applications. If an EB-5 I-526 Petition is denied by the USCIS the
                               investor will receive a refund of only that portion of the Administrative
                               Expense that has not been expended by the General Partner for legal
                               fees incurred on behalf of the investor. In the event that an I-526
                               Petition is denied on behalf of an investor who has paid his or her own



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                         immigration attorney’s fees, the entire $35,000 Administrative Expense
                         will be refunded.

                         There are a number of areas within the State of Colorado which the
                         Company believes will be designated a “Targeted Employment Area”
                         (“TEA”) as defined in 8 CFR Section 204.6(e). Additionally, all towns
                         and cities with a population of under 20,000 will be designated as
                         TEAs. Whether or not a particular location qualifies as a TEA may
                         change from time to time depending on unemployment and census data.

                         The investment must be at risk-to qualify for the EB-5 program. As
                         part of the EB-5 I-526 Petition, an immigrant investor must show
                         evidence that he or she has placed the required amount of capital at risk
                         for the purpose of generating a return on the capital placed at risk.

                         Each investor who purchases LP Interests with the intention of
                         obtaining permanent or conditional residence from the USCIS is
                         encouraged, along with his or her advisors, to make his or her own
                         independent review of the EB-5 program and the various risk factors
                         relating to the process in obtaining an EB-5 permanent or conditional
                         residence to determine if an investment in the Units is a suitable
                         approach for such investor.

                         As part of the I-526 Petition, an investor must present to the USCIS
                         clear documentary evidence of the source of funds invested and that the
                         funds belong to the investor. Generally, the investor can satisfy the
                         source of funds requirements by submitting documents showing that he
                         or she has a level of income from legal sources that would yield
                         sufficient funds for the investment. The USCIS generally requires
                         copies of income tax returns to satisfy the source of funds requirement.
                         For investors who do not have such records, there may be other records
                         that can be provided to the USCIS by an investor to demonstrate that
                         the investment funds came from legal sources. All such matters
                         regarding the investor’s petition should be discussed with his or her
                         immigration counsel.

                         The Pilot Program requires an investor to hold a policymaking or
                         management position within the Company. The Company believes that
                         each Limited Partner is provided with the powers and duties under the
                         Limited Partnership Agreement sufficient to meet the USCIS
                         requirement that an investor is actively participating in policymaking or
                         management of a new commercial enterprise. However, either USCIS
                         or the consulate abroad issuing the immigrant visa based on an
                         approved EB-5 Petition may challenge the sufficiency of the Limited
                         Partner’s engagement.

                         As a “pilot,” the Regional Center Pilot Program is not yet permanent, and
                         consequently requires periodic renewal by Congress. The Regional
                         Center Pilot Program has been renewed several times by Congress and is
                         currently due to expire on 30 September 2012. Because this program



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                         creates U.S. jobs and utilizes a very small quota, there has been no
                         controversy surrounding its renewal. Congress is expected to renew this
                         program prior to its expiration, or make the program permanent by
                         removing its “pilot” designation. However, there is a risk that Congress
                         may not renew, or not renew before the current expiration date.


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                                       TERMS OF THE OFFERING

  General

           The LP Interests will be offered to a limited number of investors who qualify as “accredited
  investors” pursuant to the securities laws of the United States and who are eligible to invest under the EB-
  5 program. An investment in the LP Interests involves certain risks, specifically those associated with
  the Company’s ability to generate revenues and profits to allow for repayment of the Capital
  Contributions and any return on the investment. There is no assurance that the Limited Partners will
  receive a return of their Capital Contributions. This investment may not be appropriate for all investors.
  The appropriateness of this investment depends on the investor’s income and net worth and the need for
  investment liquidity as well as the investor’s immigration status and desires. If an investor desires to sell
  the LP Interests for any reason and at any time, the investor may be unable to do so at any price. The
  transfer of LP Interests is subject to substantial restrictions, which may prohibit the investor from selling
  the LP Interests. In addition, the investor may be unable to find any person who meets the requirements
  set forth in the Partnership Agreement and who is willing to purchase the LP Interests.

  Suitability Standards

           Prospective purchasers of the LP Interests should give careful consideration to the entire contents
  of this Memorandum and its exhibits and the documents referred to herein, including, in particular, the
  risk factors described under “STATEMENT OF RISKS,” the fact that an investor’s entire investment may
  be lost, and the limitations described under “STATEMENT OF RISKS” with respect to the non-
  transferability of the LP Interests, the lack of a readily available market for the LP Interests, the
  possibility that sufficient jobs may not be created and that, therefore, the Investor may not be able to
  retain his or her resident visa in the United States, and the long-term nature of any investment in the
  Company.

          The Company has established certain minimum suitability standards for investors. To purchase
  any of the LP Interests, investors will be required to represent in writing that they are capable of bearing
  the economic risks of an investment in the LP Interests, that they have no present or contemplated future
  need to dispose of LP Interests, that they have no present or contemplated future need for the funds that
  the investors will be using to purchase the LP Interests, that they are purchasing the LP Interests for
  investment purposes only and not with a view toward resale, and that they are capable of evaluating the
  merits and risks of an investment in the LP Interests.

          The Company reserves the right to impose other suitability standards in its own discretion and to
  refuse acceptance of any subscription for any or no reason.

  Procedure for Subscription

          An investor who meets the suitability standards may subscribe for the LP Interests by properly
  completing the subscription materials, which may be obtained from the Company upon request. Please
  carefully read the instructions in the subscription materials. Investors should deliver the executed
  subscription materials to Colorado Regional Center Project Solaris, LLLP.

           As soon as reasonably possible, and no later than promptly after the termination of the
  subscription period for the Offering (the “Subscription Period”) as described below, all subscribers will
  be notified by the Company whether their subscriptions have been accepted. The Company reserves the
  right in its sole discretion to reject all or part of any subscription.



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           The Subscription Period will terminate on December 31, 2011. The Company may elect, in its
  sole discretion, to either terminate this Offering earlier or extend this Offering beyond such date.

  Sales; Review of Subscriptions

          The LP Interests are being sold by the Company through its officers and certain designated
  selling agents. The Company may pay a sales commission or other sales compensation to certain
  approved selling agents with respect to the sale of the LP Interests.

         The minimum subscription amount is $500,000 for the Capital Contribution plus the
  Administrative Expense.

          The Company has the right to reject any subscription. In no event will a subscription be accepted
  unless the subscriber has submitted a completed Investor’s Questionnaire (and where necessary, a
  Questionnaire for Purchaser Representative) and a Subscription Agreement, with an executed signature
  page as well as all necessary documentation relating to the requirements of the EB-5 program.

  Escrow Arrangements

           The Company has entered into an agreement with Citibank (the “Bank”) with respect to certain
  escrow services (the “Citi Escrow Agreement”) relating to the Subscriptions. The escrow established at
  the Bank will include deposits for the Capital Contributions of $500,000 each and for the Administrative
  Expenses of $50,000 each. A copy of the Citi Escrow Agreement is attached to this Confidential
  Information Memorandum as Exhibit E. Under the terms of the Citi Escrow Agreement, each Investor’s
  investment will be deposited into a non-interest bearing escrow account at the Bank. The Escrow Agent
  shall be permitted to disburse to the general partner an amount not to exceed $15,000 from the
  Administrative Fee at the request of the General Partner to be used solely for the payment of Investor’s
  legal fees. The General Partner shall be entitled to pay any such legal fees directly to counsel for the
  Investor out of such $15,000 disbursement upon receipt of an invoice from counsel which invoice shall be
  approved in writing by the Investor prior to such payment. The General Partner shall further be
  authorized to disburse a portion of the $15,000 fee to the selected immigration counsel as required as a
  retainer by such counsel. At such time as an Investor’s I-526 petition is accepted by USCIS, the Bank will
  be notified and the amount of the Subscription will be released to the Company. If the I-526 petition is
  not accepted by USCIS for any reason, then the Bank will return to the Investor the entire amount of the
  Subscription without interest. The investor’s contribution of $50,000 for Administrative Expenses, less
  any amounts disbursed to the Investor’s immigration counsel by the Company, will be returned to the
  investor along with the Capital Contribution.

          In addition to the Citi Escrow Agreement, the Company has entered into an escrow agreement
  with Standard Chartered Bank (Hong Kong) Limited (“Chartered”) with respect to certain escrow
  services (the “Chartered Escrow Agreement”) relating to the Subscriptions. The escrow established at
  Chartered will include deposits for the Capital Contributions of $500,000 each and for the Administrative
  Expenses of $35,000 each. A copy of the Chartered Escrow Agreement is attached to this Confidential
  Information Memorandum as Exhibit F. Under the terms of the Chartered Escrow Agreement, each
  Investor’s investment will be deposited into a non-interest bearing escrow account at the Bank. At such
  time as an Investor’s I-526 petition is accepted by USCIS, the Bank will be notified and the amount of the
  Subscription will be released to the Company. If the I-526 petition is not accepted by USCIS for any
  reason, then the Bank will return to the Investor the entire amount of the Subscription without interest.
  The investor’s contribution of $35,000 for Administrative Expenses will be returned to the investor along
  with the Capital Contribution.



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  Use of Proceeds

           The Capital Contributions received pursuant to this Offering will be used for capitalizing the
  Company for the purpose of making a loan to SPO. The Administrative Expenses received pursuant to
  this Offering will be used for the payment of the certain fees and expenses including without limitation,
  legal, accounting, commissions, background checks, in certain circumstances, the legal fees relating to an
  Investor’s I-526 application (provided that the Partnership shall have the right to reasonably approve
  immigration counsel) and other similar types of fees and expenses.

  Legal Proceedings

          Currently, the Company is not a party to any legal proceedings.



                                [Remainder of page intentionally left blank.]




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  Investor Qualifications

         This private placement offering (the “Offering”) is being made to a limited number of investors
  who acknowledge and agree that they are acquiring the LP Interests for their own account, for investment
  purposes and without a view toward resale or other distribution.

          The LP Interests have not been registered under the Securities Act of 1933, as amended (the
  “Securities Act”), or under any state securities laws because they will be issued in reliance upon
  exemptions therefrom. These exemptions are available only if certain restrictive conditions, including
  those described in this section, are met.

        EACH INVESTOR MUST ACQUIRE THE LP INTERESTS FOR INVESTMENT PURPOSES
  ONLY. ANY LP INTERESTS THAT THE INVESTOR IS ACQUIRING MUST BE HELD WITHOUT
  SALE, TRANSFER, OR OTHER DISTRIBUTION FOR AN INDEFINITE PERIOD OF TIME
  UNLESS THE LP INTERESTS ARE SUBSEQUENTLY REGISTERED UNDER THE APPLICABLE
  FEDERAL AND STATE SECURITIES LAWS, OR UNLESS EXEMPTIONS FROM SUCH
  REGISTRATION ARE AVAILABLE. IN ADDITION, INVESTORS WILL BE RESTRICTED FROM
  TRANSFERRING THE LP INTERESTS EXCEPT IN ACCORDANCE WITH THE PROVISIONS OF
  THE AMENDED AND RESTATED PARTNERSHIP AGREEMENT ADOPTED BY THE COMPANY
  EFFECTIVE AS OF THE DATE OF THIS MEMORANDUM.

          In the Subscription Agreement, each prospective investor will be required to confirm in writing
  that he or she understands these restrictions and the other requirements necessary to become a purchaser
  of the LP Interests.

          In order to establish that exemptions from federal and state registration requirements will be
  available, each investor must complete and execute a Subscription Agreement, an Investor Questionnaire,
  and such further documents as may be required pursuant to the EB-5 program. In addition, the Company
  may require prospective investors to supply additional information to further assure the suitability of this
  investment for them.

                                     SUBSCRIPTION PROCEDURES

          In order to subscribe to purchase the interests offered hereby, a prospective investor must
  complete, execute and deliver the following documents to the Company at 4643 S. Ulster Street, Suite
  950, Denver, CO 80237, Attention: Chester P. Schwartz: (a) the Prospective Investor Questionnaire (a
  copy of which is attached hereto as Exhibit G); and (b) the Subscription Agreement (a copy of which is
  attached hereto as Exhibit H.

          The Company reserves the right in its sole discretion to reject, in whole or in part, the
  subscription of any potential investor for any or no reason. The Company normally will inform potential
  investors whether their subscriptions have been accepted within 60 days after receipt of their subscription
  documents, properly executed. However, the parties understand that the Company is required to perform
  substantial due diligence on each potential investor in order to comply with the requirements of the EB-5
  program. Accordingly, the Company may require longer than 60 days to inform potential investors
  whether their subscriptions have been accepted.

          A prospective investor who has any questions regarding the terms and provisions of this offering
  or regarding the subscription procedure should call Chester P. Schwartz at 720 554-0704.




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                                 ENGLISH LANGUAGE PROFICIENCY

           By execution below, the undersigned hereby acknowledges that he or she has read this
  Confidential Information Memorandum and is proficient in the English language and, therefore,
  understands the contents of the matters set forth above. Alternatively, the undersigned acknowledges that
  he is acting in a fiduciary capacity and is proficient in the English language and understands the contents
  of the matters set forth above and has explained such matters to the Investor.

          Dated this __ day of                     , 2011.




                                                   As agent for:




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                                   EXHIBIT A
                           SOLARIS PROMISSORY NOTE


                          [Promissory Note on following page.]




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                                          PROMISSORY NOTE

  Original Principal Amount: $______________                               Date: __________, 2011

  PROMISE TO PAY: Solaris Property Owner, LLC, a Delaware limited liability company
  ("Borrower") promises to pay to Colorado Regional Center Project Solaris, LLLP, a Colorado limited
  liability limited partnership ("Lender"), or order, in lawful money of the United States of America, the
  principal amount of $___________ together with interest at the rate of five percent (5%) per annum (the
  "Interest Rate") on the terms and conditions set forth below (the "Loan").

  DEFINED TERMS: Initially capitalized terms used but not otherwise defined below shall have the
  meanings ascribed to such terms under the provisions of that certain Loan Agreement dated effective
  November __, 2010, by and between Borrower and Lender (the "Loan Agreement").

  INTEREST PAYMENTS: Commencing on the date Lender makes the first Loan Advance to Borrower
  in accordance with the Loan Agreement (the "Commencement Date"), the outstanding principal of the
  loan shall bear interest at the Interest Rate. Borrower shall make interest-only payments on the
  outstanding principal balance of the Loan (each, an "Interest Payment") on the first business day of each
  month following the Commencement Date until the Loan is repaid in full. Each Interest Payment shall
  include interest on all sums outstanding at the time such Interest Payment is due (including a pro-rated
  amount of interest for any Loan Advances that took place during the previous month). Borrower will pay
  Lender at Lender's address as Lender shall designate in writing. Any and all payments made hereunder
  shall be applied first to any unpaid collection costs and late charges pursuant to this Note, second to
  accrued unpaid interest, and third in reduction of the outstanding principal balance of the Loan.

  TERM: With respect to each Loan Advance, this note shall be deemed to mature, and (if not sooner
  repaid in accordance with the provisions hereof) the unpaid principal balance attributable to such Loan
  Advance, together with all accrued interest attributable to the same (if any), shall be due and payable on
  the date that is exactly sixty (60) months from Closing on such Loan Advance (each, a "Maturity Date");
  provided, however, that (notwithstanding anything to the contrary set forth in this Note or any other Loan
  Documents) at any time after the Prepayment Date (as hereinafter defined), Borrower shall have the
  absolute right to prepay the portion the Note attributable to any Loan Advance by repaying Lender the
  amount of such Loan Advance in cash or conveying Lender the Collateral Unit(s) securing such Loan
  Advance. If Borrower tenders to Lender any Collateral Unit(s) in repayment of a Loan Advance, the
  principal balance of the Note shall be reduced by the amount of the Loan Advance secured by such
  Collateral Unit(s). With respect to each Loan Advance, the term "Prepayment Date" means a date that is
  exactly thirty six (36) months from and after the Closing on such Loan Advance.

  PREPAYMENT: Except as otherwise set forth in this Note, Borrower shall not be allowed to pay all or a
  portion of the Loan prior to the Prepayment Date.

  NOTICE OF PREPAYMENT: Borrower shall give Lender (i) at least sixty (60) calendar days prior
  written notice of any Cash Prepayment and (ii) at least twenty (20) calendar days prior written notice of
  any Collateral Unit Distribution.

  DEFAULT: Subject to any applicable cure rights set forth in any Loan Document, each of the following
  shall constitute an "Event of Default" hereunder:

          (i)     if Borrower fails to make any payment when such payment is due;




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         (ii)     if Borrower fails to comply with or to perform when due any other material, obligation,
  covenant, representation, warranty or condition contained in this Note or any other Loan Document;

          (iii)   if Borrower defaults under any loan, extension of credit, security agreement, purchase or
  sales agreement, or any other agreement in favor of any other creditor or person that results in a Material
  Adverse Affect; or

           (iv)    if any material representation or statement made or furnished to Lender by Borrower is
  false or misleading at the time made or furnished.

  NON-RECOURSE LOAN; EXCEPTION FOR INTEREST PAYMENTS:

           (i)      Non-Recourse Loan. Except as expressly provided below, subject to any applicable cure
  rights set forth in any Loan Document, if an Event of Default has occurred and is then continuing, Lender
  agrees to proceed solely against the Collateral, it being the parties' mutual understanding and intent that
  principal amount of the Loan secured by this Note is entirely non-recourse to Borrower. Notwithstanding
  the foregoing, Lender may name Borrower or any of its successors or assigns or any person or entity
  holding under or through them as parties to any actions, suits or other proceedings initiated by Lender to
  enforce any remedies set forth herein against the Collateral, including without, limitation, any action, suit
  or proceeding to foreclose the lien of the Deed of Trust against the Collateral.

           (ii)   Exception for Interest Payments. Notwithstanding the foregoing, subject to any
  applicable cure rights set forth in any Loan Document, if Borrower fails to make any Interest Payment(s)
  due hereunder, the amount of such Interest Payment(s) plus the Collection Costs directly related
  collecting to the same shall be fully recourse to Borrower. Except as expressly set forth in the
  immediately preceding sentence, the Loan evidenced by this Note is and shall remain entirely non-
  recourse to Borrower.

  LENDER'S RIGHTS: Subject to any applicable cure rights set forth in any Loan Documents, if an
  Event of Default under this Note has occurred and is then continuing: (i) Lender may declare the entire
  unpaid principal balance of this Note and all accrued interest, if any, immediately due and, upon receipt of
  written notice of such acceleration, Borrower shall convey the Collateral Unit(s) to Lender in full
  satisfaction of Borrower's obligations under this Note and the other Loan Documents; (ii) Lender, at its
  option, may also, if permitted under applicable law, increase the Interest Rate on this Note to the lesser of
  fourteen percent (14.00%) or the maximum amount permitted by law (the "Default Rate"); and (iii)
  Borrower shall be responsible for any and all Collection Costs directly related to the Event of Default.
  "Collection Costs" means, to the extent permitted by law, Lender's reasonable legal expenses (whether or
  not there is a lawsuit), including reasonable attorneys' fees and legal expenses for bankruptcy proceedings
  (including efforts to modify or vacate any automatic stay or injunction), appeals, any post-judgment
  collection services, and any court costs and fees associated with the foregoing.

  CHOICE OF LAW: This Note has been delivered to Lender and accepted by Lender in Colorado.
  Borrower and Lender agree to submit to the jurisdiction of the courts of the City and County of Denver,
  Colorado. Lender and Borrower hereby waive the right to any jury trial in any action, proceeding, or
  counterclaim brought by either Lender or Borrower against the other. This Note shall be governed by and
  construed in accordance with the laws of Colorado.

  COLLATERAL: In order to secure payment of this Note, Borrower has granted to Lender security
  interests in certain real and personal property owned by Borrower (the "Collateral"). These security
  interests are evidenced by a Deed of Trust and Security Agreement and certain other documents



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  (collectively, the "Collateral Documents"). Reference is made to the Collateral Documents for various
  rights and remedies of the parties to those documents.

  ASSIGNMENT BY BORROWER. Notwithstanding to the contrary set forth in any of the Loan
  Documents, Borrower shall have the absolute right (in Borrower's discretion) to assign this Promissory
  Note, the Loan Agreement and the other Loan Documents to Borrower's wholly-owned, single-purpose
  subsidiary (the "SPE"). Upon such assignment, all of Borrower's rights and obligations under the Loan
  Documents shall automatically and forever terminate and, thereafter, Borrower shall have no further
  obligation of any kind whatsoever with respect to the Loan or Loan Documents. If Borrower so assigns
  Borrower's interest in the Loan Documents to Borrower's SPE prior to the execution of this Promissory
  Note, Borrower's SPE shall be substituted for Borrower as the signatory hereof and construed to mean
  "Borrower" for all purposes hereunder and under the other Loan Documents. A condition precedent to
  any such assignment shall be that any assignee of Borrower shall continue to operate the Solaris Project,
  as defined in the Loan Agreement, to assure full construction expenditure to project completion and
  subsequent operation of the retail businesses, all in satisfaction of the factual assumptions set forth in the
  EB-5 Econometric Report prepared in connection with the Solaris Project. The purpose of this condition
  precedent is to assure the Lender that the related EB-5 investors’ ability to obtain removal of conditions
  on their U.S. permanent residency will not be impaired by any such assignment of the Borrower’s rights
  and obligations under the Loan Documents. The Lender shall have sole discretion to determine
  satisfaction of this condition precedent prior to any assignment by Borrower.

  GENERAL: Lender may delay or forego enforcing any of its rights or remedies under this Note or under
  the Collateral Documents without losing them. Borrower understands and agrees that, with or without
  any notice to anyone other than Borrower, Lender may (i) make one or more additional secured or
  unsecured loans or otherwise extend additional credit and (ii) apply any security and direct the order or
  manner of sale thereof, including without limitation, any nonjudicial sale permitted by the terms of the
  controlling security agreements, as Lender in its discretion may determine. Borrower, to the extent
  allowed by law, waives presentment, demand for payment, protest and notice of dishonor.



                                            BORROWER:

                                                    Solaris Property Owner, LLC, a Delaware limited
                                                    liability company

                                                    By: Solaris Mezz, LLC, a Delaware limited liability
                                                        company


                                                          By:
                                                           Peter B. Knobel, Manager




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                                    EXHIBIT A
                                 (Promissory Note)

     Date of Loan Advance     Amount of Loan Advance        Maturity Date




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                                    EXHIBIT B
                                 (Promissory Note)

     Date of Loan Advance         Collateral Unit        Collateral Unit Value




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                                       EXHIBIT B

                        OPERATING PAYMENT AGREEMENT

                     [Operating Payment Agreement on following page.]




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          THIS OPERATING PAYMENT AGREEMENT (the "Agreement") is made effective this 5th
  day of November, 2010, by and among Solaris Property Owner, LLC, a Delaware limited liability
  company ("Solaris"), Colorado Regional Center Project Solaris, LLLP, a Colorado limited liability
  limited partnership ("CRCPS"), and, for the limited purposes set forth below, Peter Knobel, an individual
  ("Guarantor"). Initially capitalized terms used but not otherwise defined below shall have the meanings
  ascribed to such terms under the provisions of the Loan Documents.

                                                RECITALS:

          A.      CRCPS has agreed to loan Solaris certain sums of money (the "Loan") in accordance
  with the terms, conditions and provisions of the Loan Agreement, Promissory Note and certain other
  documents (all of which documents may be collectively referred to below as the "Loan Documents").

          B.       The Loan proceeds are expected to be generated by investments into CRCPS from certain
  investors (the "Investors") pursuant to the EB-5 Immigrant Investor Regional Center Program ("EB-5").

          C.      The parties recognize and agree that under the terms of the Loan Documents, Solaris is
  permitted to repay Loan Advance(s) prior to the Maturity Date, but in no event sooner than thirty-six (36)
  months from and after the date of such Loan Advance(s).

           D.      Upon Solaris' prepayment of any such Loan Advance(s), Solaris' obligation to pay
  interest in connection with such Loan Advance(s) shall automatically terminate pursuant to the Note.

           E.     In the event of any such prepayment, , CRCPS may experience cash flow deficiencies
  resulting from the costs and expenses associated with ownership of any Collateral Unit(s) conveyed by
  Solaris in repayment of any Loan Advance(s).

          F.       Subject to all of the terms, conditions and provisions set forth below and as a material
  inducement for CRCPS to make the Loan, Solaris has agreed to make certain Operating Payments (as
  hereinafter defined) to CRCPS if in the event of any Prepayment(s) by Solaris.

           G.       Guarantor will derive substantial benefit from the Loan by virtue of Guarantor's residual
  interest in the Project.

           H.      But for the personal guarantee of Guarantor, CRCPS would not have agreed to enter into
  the transaction contemplated in and evidenced by the Loan Documents.

           NOW THEREFORE, in consideration of the foregoing, the mutual promises set forth below and
  for other good and valuable consideration, the receipt and sufficiency of which are hereby acknowledged,
  the parties hereby agree as follows:

                                               AGREEMENT

         1.      OBLIGATION TO MAKE OPERATING PAYMENTS. Solaris shall be obligated to
  make certain Operating Payments (as hereinafter defined) to CRCPS in the event of Solaris prepays any
  Loan Advance(s) under the Note.

          2.      CERTAIN DEFINED TERMS.

                   "Aggregate Investor Interest" means total periodic Investor Interest (as hereinafter
  defined) due in connection with each Loan Advance.


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                  "Investor Interest" means the periodic interest actually owed from CRCPS to each
  Investor from time to time (whether the same is accruing or paid current), but in no event more than an
  effective annual rate three percent (3%) per Investor.

                   "Operating Payments" means, with respect to each Loan Advance, an amount equal to
  the Aggregate Investor Interest due in connection with such Loan Advance during the Term (as
  hereinafter defined).

                 "Operating Payment Commencement Date" means, with respect to each Loan
  Advance, the day after Solaris prepays such Loan Advance (in applicable).

                  "Operating Payment Termination Date" means, with respect to each Loan Advance,
  the Maturity Date set forth in the Note.

          3.       TERM. Solaris' obligation to make Operating Payments in connection with any Loan
  Advance(s) shall begin on the applicable Operating Payment Commencement Date and end on the
  applicable Operating Payment Termination Date (the "Term"). Without limiting the generality of the
  foregoing, , if CRCPS' obligation to pay interest to any Investor terminates, Solaris' obligation to pay
  CRCPS the portion of any Operating Payments due in connection with such Investor shall likewise
  terminate.

          4.      PAYMENT SCHEDULE. During the Term, Operating Payments shall be due and
  payable in arrears on the first business day of each calendar month. Any partial months shall be prorated.

          5.      GUARANTEE AGREEMENT. As a condition precedent the first Loan Advance,
  Guarantor shall execute a guarantee agreement in form and substance reasonably satisfactory to Lender
  personally guaranteeing payment of (i) the Interest Payments due under the Note and (ii) the Operating
  Payments due hereunder (the "Guarantee Agreement"). Lender shall in no event be required to advance
  or loan any funds in connection with the Loan Agreement until Guarantor executes and delivers the
  Guarantee Agreement described above.

          6.      MISCELLANEOUS.

                  Waivers and Amendments. Neither this Agreement nor any provision hereof may be
  changed, waived, discharged or terminated orally, but only by a statement in writing signed by each of the
  parties hereto.

                  Governing Law. The parties agree to submit to the jurisdiction of the courts of the City
  and County of Denver, Colorado. This Agreement shall be governed by and construed in accordance with
  the laws of Colorado.

                 No Right to Jury Trial. Each party hereby irrevocably waives, and agrees not to assert,
  by way of motion, as a defense, counterclaim or otherwise, in any action or proceeding with respect to
  this Agreement any right to a trial by jury.

                   Successors and Assigns. Except as otherwise provided herein, the terms and conditions
  of this Agreement shall inure to the benefit of and be binding upon the parties hereto and their respective
  successors and assigns, heirs, executors and administrators. Nothing in this Agreement, express or
  implied, is intended to confer upon any party other than the parties hereto or their respective successors
  and assigns any rights, remedies, obligations, or liabilities under or by reason of this Agreement, except as
  expressly provided in this Agreement. Notwithstanding to the contrary set forth in any of the Loan


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  Documents, Solaris shall have the absolute right (in Solaris' discretion) to assign this Operating Payment
  Agreement to Solaris' wholly-owned, bankruptcy-remote, single-purpose subsidiary (the "SPE"). Upon
  such assignment, all of Solaris' rights and obligations under the Loan Documents shall automatically and
  forever terminate and, thereafter, Solaris shall have no further obligation of any kind whatsoever with
  respect to this Operating Payment Agreement. If Solaris assigns Solaris' interest in the Loan Documents
  to Solaris' SPE prior to the execution of this Operating Payment Agreement, Solaris' SPE shall be
  substituted for Solaris as the signatory hereof and construed to mean "Solaris" for all purposes hereunder.
  A condition precedent to any such assignment shall be that any assignee of Borrower shall continue to
  operate the Solaris Project, as defined in the Loan Agreement, to assure full construction expenditure to
  project completion and subsequent operation of the retail businesses, all in satisfaction of the factual
  assumptions set forth in the EB-5 Econometric Report prepared in connection with the Solaris Project.
  The purpose of this condition precedent is to assure the Lender that the related EB-5 investors’ ability to
  obtain removal of conditions on their U.S. permanent residency will not be impaired by any such
  assignment of the Borrower’s rights and obligations under the Loan Documents. The Lender shall have
  sole discretion to determine satisfaction of this condition precedent prior to any assignment by Borrower.

                   Notices. All notices required to be given under this Agreement shall be given in writing,
  may be sent by facsimile (unless otherwise required by law) or by electronic mail, and shall be effective
  when actually delivered or when deposited with a nationally recognized overnight courier or deposited in
  the United States mail, first class, postage prepaid, addressed to the party to whom the notice is to be
  given at the address shown below. Any party may change its address for notices under this Agreement by
  giving formal written notice to the other parties, specifying that the purpose of the notice is to change the
  party's address.

                           Solaris:        Solaris Property Owner, LLC
                                           Attention: Legal Department
                                           141 East Meadow Drive, Suite 211
                                           Vail, Colorado 81657
                                           P: (970) 479-7566
                                           F: (970) 479-6666

                           CRC:            Colorado Regional Center Project Solaris, LLLP
                                           4643 S. Ulster Street, Suite 950
                                           Denver, Colorado 80237
                                           P: 720.554.9704
                                           F: 720.554.9905

                           Guarantor:      Peter Knobel c/o Solaris Property Owner, LLC
                                           Attention: Legal Department
                                           141 East Meadow Drive
                                           Suite 211
                                           Vail, Colorado 81657
                                           P: (970) 479-7566
                                           F: (970) 479.6666

                  Severability. In case any provision of this Agreement shall be declared invalid, illegal or
  unenforceable, the validity, legality and enforceability of the remaining provisions shall not in any way be
  affected or impaired thereby.




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                  Titles and Subtitles. The titles of the paragraphs and subparagraphs of this Agreement
  are for convenience of reference only and are not to be considered in construing this Agreement.

                  Counterparts. This Agreement may be executed in any number of counterparts, each of
  which shall be an original, but all of which together shall constitute one instrument.

                   No Strict Construction. The parties hereto have participated jointly in the negotiation
  and drafting of this Agreement. In the event an ambiguity or question of intent or interpretation arises,
  this Agreement shall be construed as if drafted jointly by the parties hereto, and no presumption or burden
  of proof shall arise favoring or disfavoring any party by virtue of the authorship of any of the provisions
  of this Agreement.

                 Amendments. This Agreement may only be amended and any waivers hereunder shall
  only be made with the approval of the Company and the Purchaser.

          THIS OPERATING PAYMENT AGREEMENT is made effective as of the date first above
  written by and among:

                                           SOLARIS:

                                           Solaris Property Owner, LLC, a Delaware limited liability

                                                   By: Solaris Mezz, LLC, a Delaware limited liability
                                                       company

                                                        By:
                                                                   Peter Knobel, Manager


                                           CRCPS:

                                           Colorado Regional Center Project Solaris, LLLP,
                                           a Colorado limited liability limited partnership

                                                   By: Colorado Regional Center I, LLC, a Colorado
                                                       limited liability company, general partner


                                                        By: _____________________________________
                                                                  Chester Schwartz, Manager


                                           GUARANTOR:

                                           By: _____________________________________
                                                      Peter B. Knobel, individually




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                                  EXHIBIT C
                   USCIS REGIONAL CENTER APPROVAL LETTER

                        [USCIS Approval Letter on following page.]




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                                  EXHIBIT D
                                FLOW OF FUNDS




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                                   EXHIBIT E
                         CITIBANK ESCROW AGREEMENT

                      [Citibank Escrow Agreement on following page.]




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                                 EXHIBIT F
                        CHARTERED ESCROW AGREEMENT

                      [Chartered Escrow Agreement on following page]




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                           DATED                         2011




               STANDARD CHARTERED BANK (HONG KONG) LIMITED
                              as Escrow Agent



                                          and


                       [                                        ]
                                       as Customer




                _____________________________________________________


                                   ESCROW AGREEMENT

                ______________________________________________________




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         THIS ESCROW AGREEMENT (this “Agreement”) is made on this _______ day of
  _________________ 2011


  BETWEEN

  (1)   STANDARD CHARTERED BANK (HONG KONG) LIMITED, a bank incorporated with
        limited liability under the laws of Hong Kong with its registered office at 4-4A Des Voeux Road,
        Central, Hong Kong, Hong Kong (the “Escrow Agent”); and

  (2)   [                   ], holder of People’s Republic of China Identity Card No. [
            ] / People’s Republic of China Passport No. [                    ] and whose address is at [
                            ], People’s Republic of China (the “Customer”).

  The Escrow Agent and the Customer are referred to herein collectively as the “Parties”, and each of them
  individually as a “Party”.


  WHEREAS

  (A)   The Customer as an investor is applying to immigrate to the United States. In order to satisfy
        certain requirements imposed by the relevant U.S. authorities, the Customer is required to set up an
        escrow account in which funds or other property will be deposited which will be invested as capital
        in a U.S. business entity and used as payment of a syndication fee to a U.S. business entity.

  (B)   Accordingly, the Customer has agreed to appoint the Escrow Agent to open and operate the
        Escrow Account and to hold and administer in the name of the Customer the Escrow Fund as
        instructed by it and on the terms and subject to the conditions herein contained.


  NOW IT IS HEREBY AGREED, in consideration of the mutual promises and covenants herein
  contained, as follows:


  1.    INTERPRETATION

  1.1   In this Agreement (and the Recitals hereto), unless the context requires otherwise:

        (a)      “Application” means the Customer’s Form I-526, Immigrant Petition by Alien
                 Entrepreneur;

        (b)      “Authorized Representative” means an authorized representative appointed by the
                 Customer as specified in Schedule 1 (Authorized Representative(s)) or any other person
                 notified by the Customer to the Escrow Agent, by written notice specifying the date on
                 which the appointment shall take effect (which shall not be less than thirty (30) days prior to
                 such date), as Authorized Representative; the specimen signature of any authorized
                 signatory of an Authorized Representative shall be notified to the Escrow Agent in
                 accordance with Schedule 1 (Authorized Representative(s));




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       (c)    “Business Day” means a day (excluding Saturdays and Sundays) on which banks,
             including the Escrow Agent, are open for business in Hong Kong;

       (d)   “Earnings” means any interest, earnings, income or other amounts accruing on the Escrow
             Cash Deposit during the period of retention by the Escrow Agent in the Escrow Account;

       (e)   “Escrow Account” means the account [to be] established with the Escrow Agent for
             purposes of this Agreement and into which the Escrow Cash Deposit is paid, details of
             which are set out below:

               [                ] denominated in U.S. Dollars];

       (f)   “Escrow Cash Deposit” means the sum deposited or to be deposited in the Escrow Account
             in the amount specified in Schedule 2 (Escrow Cash Deposit);

       (g)   “Escrow Fund” means the Escrow Cash Deposit, together with Net Earnings (if any)
             accrued thereon;

       (h)   “Force Majeure Event” means any event (including but not limited to an act of God, fire,
             epidemics, explosion, floods, tsunamis, earthquakes, typhoons or other natural disasters,
             riot, civil commotion or unrest, insurrection, terrorism, war, strikes or lockouts;
             nationalization, expropriation or other governmental actions; any law, order or regulation of
             a governmental, supranational or regulatory body; regulation of the banking or securities
             industry including changes in market rules, currency restrictions, devaluations or
             fluctuations; market conditions affecting the execution or settlement of transactions or the
             value of assets; and breakdown, failure or malfunction of any telecommunications,
             computer services or systems, or other causes) beyond the control of any Party which
             restricts or prohibits the performance of the obligations of such Party contemplated by this
             Agreement;

       (i)   “Hong Kong” means the Hong Kong Special Administrative Region of the People’s
             Republic of China;

       (j)   “Net Earnings” means Earnings net of any amounts due and payable to, or liable to be
             withheld by, the Escrow Agent pursuant to this Agreement;

       (k)   “PRC Agent” has the meaning ascribed to such term in Schedule 1 (Authorized
             Representative(s)):

       (l)   “Release Instructions” has the meaning ascribed to such term in Clause 4.2 (Release of
             Escrow Fund) and, if available on the date of this Agreement, in (or substantially in) the
             form set out in Schedule 3 (Forms of Release Instructions);

       (m)   “U.S.” or “United States” means the United States of America;

       (n)    “USCIS” means the U.S. Citizenship and Immigration Services (or any successor or other
             agency or authority performing or assuming its or substantially similar functions); and

       (o)   “US$” or “U.S. Dollars” means the lawful currency for the time being of the United States
             of America.



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  1.2   Construction. In this Agreement, unless the context otherwise requires, any reference to:

        (a)   a “person” includes any individual, company, body corporate or unincorporate or other
              juridical person, sole proprietorship, partnership, club, society, firm, joint venture or trust or
              any federation, state or subdivision thereof or any government or agency of any thereof;

        (b)   “including” or “includes” means including or includes without limitation;

        (c)   a “regulation” includes any regulation, rule, official directive, request, code of practice or
              guideline (whether or not having the force of law) of any governmental, intergovernmental
              or supranational body, agency, department or regulatory, self-regulatory or other authority
              or organization; and

        (d)   “tax” includes any tax, levy, duty, charge, impost, fee, deduction or withholding of any
              nature now or hereafter imposed, levied, collected, withheld or assessed by any taxing or
              other authority and includes any interest, penalty or other charge payable or claimed in
              respect thereof and “taxation” shall be construed accordingly.

  1.3   Successors and Assigns. The expressions “Customer” and “Escrow Agent” shall where the
        context permits include their respective successors in title, personal representatives, permitted
        assigns and transferees and any persons deriving title under them and, in the case of the Escrow
        Agent, any replacement Escrow Agent appointed pursuant to Clause 8 (Replacement of Escrow
        Agent).

  1.4   Miscellaneous. In this Agreement, unless the context requires otherwise, references to provisions
        of any law or regulation shall be construed as references to those provisions as replaced, amended,
        modified or re-enacted from time to time; words importing the singular include the plural and vice
        versa and words importing a gender include every gender; references to this Agreement or any
        other document shall be construed as references to such document as the same may be amended,
        supplemented or novated from time to time; unless otherwise stated, references to Clauses and
        Schedules are to clauses of and schedules to this Agreement and references to this Agreement
        include its Schedules. Clause headings are inserted for reference only and shall be ignored in
        construing this Agreement.


  2.    APPOINTMENT

        The Customer hereby designates and appoints the Escrow Agent as escrow agent, and the Escrow
        Agent hereby accepts such designation and appointment on the terms and subject to the conditions
        herein contained.


  3.    ESCROW ACCOUNT

  3.1   Deposit of Escrow Cash Deposit into Escrow Account. The Customer hereby undertakes to deposit
        the Escrow Cash Deposit into the Escrow Account within six (6) months (or such longer period as
        the Escrow Agent may, in its sole discretion, agree in writing) after the date of this Agreement. In
        the event that the Customer does not deposit the Escrow Cash Deposit into the Escrow Account in




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        accordance with this Clause 3.1, the Escrow Agent may terminate the Agreement in accordance
        with paragraph (a) of Clause 11.1 (Termination).

  3.2   Escrow Agent’s Discretion. The Customer agrees that the Escrow Agent has no responsibility
        whatsoever to ensure that the Escrow Cash Deposit is deposited into the Escrow Account. For the
        avoidance of doubt, the Escrow Agent may at any time decline acceptance of the Escrow Cash
        Deposit into the Escrow Account if the Escrow Agent believes, in its sole discretion, that such
        acceptance may cause it to be in breach of any applicable laws or regulations.

  3.3   Interest on Escrow Cash Deposit. The Parties shall agree whether the Escrow Cash Deposit shall
        be interest-bearing and shall determine, where applicable, the interest rate applicable thereto and
        all other related matters including the basis for calculation of interest and the basis for any future
        changes or adjustments thereto.

  3.4   No Overdraft. The Escrow Account may not go into overdraft.

  3.5   Records and Accounts. The Escrow Agent shall at all times during the continuance of this
        Agreement keep complete and accurate books of account and records relating to the Escrow
        Account. During the period in which the Escrow Cash Deposit is deposited in the Escrow Account,
        the Escrow Agent shall deliver to the Customer, on a monthly basis, a report setting out all
        payments in and out of the Escrow Account during the preceding month.

  3.6   No Proprietary Interest. The Escrow Agent does not have any proprietary interest in the Escrow
        Fund deposited hereunder but merely holds the same as banker subject to the terms of this
        Agreement.


  4.    PAYMENTS FROM ESCROW ACCOUNT

  4.1   General Provisions. Subject to this Clause 4.1 and Clause 4.3 (Court Orders), the Escrow Agent
        shall hold or release the Escrow Fund in accordance with the written instructions issued and signed
        by the Authorized Representative.

        The Escrow Fund shall be paid or repaid by the Escrow Agent in the following manner and in the
        following order, namely:

        (a)   to settle any outstanding fee due to the Escrow Agent under this Agreement;

        (b)   to settle any other outstanding expenses payable in accordance with Clause 9.3 (Expenses);

        (c)   to settle any other entitlement of the Escrow Agent hereunder (the amounts referred to in
              paragraphs (a) to (c) referred to collectively as “Escrow Agent Amounts”); and

        (d)   to make any payments under Clause 4.2 (Release of Escrow Fund).

        If at any time the Escrow Agent shall determine that the funds standing to the credit of the Escrow
        Account are insufficient (i) to discharge the Escrow Agent Amounts due to it and/or (ii) for the
        Escrow Agent to make the payments under paragraph (a) (Approval of Application) of Clause 4.2
        (Release of Escrow Fund), the Customer shall at the Escrow Agent’s request, forthwith pay the




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        amount (or, if the Escrow Agent so reasonably requests, the estimated amount) of any such
        shortfall to the Escrow Agent.

  4.2   Release of Escrow Fund. The Parties hereby acknowledge and agree that the Escrow Agent shall,
        subject to Clause 4.3 (Court Orders), release the Escrow Fund or any portion thereof to the
        designated payee(s) in accordance with the following release instructions (“Release
        Instructions”):

        (a)    Approval of Application: If the Application is approved, the Escrow Agent shall release the
               Escrow Fund in its entirety (excluding, for the avoidance of doubt, any Earnings accrued
               thereon) to the Authorized Representative upon receipt of Release Instructions from the
               Authorized Representative confirming that the Customer’s Application has been approved,
               enclosing a copy of the USCIS’s Approval Notice, Form I-797 “Notice of Action”, together
               with wiring instructions to the account of [**********];

        (b)    Denial of Application: If the Application is denied (and such denial is not reversed upon
               appeal within one hundred twenty (120) days of the date of the Notice of Denial issued by
               the USCIS (“Notice of Denial”)), the Escrow Agent shall release the Escrow Fund in its
               entirety (including, for the avoidance of doubt, any Net Earnings accrued thereon) to the
               Customer upon receipt of Release Instructions from the Authorized Representative,
               confirming that the Customer’s Application has been denied (and that such denial has not
               been reversed upon appeal within one hundred twenty (120) days of the date of the Notice
               of Denial), enclosing a copy of the Notice of Denial;

        (c)    Withdrawal of Application: If the Application is withdrawn by the Customer, the Escrow
               Agent shall release the Escrow Fund in its entirety (including, for the avoidance of doubt,
               any Net Earnings accrued thereon) to the Customer upon receipt of Release Instructions
               from the Authorized Representative, confirming that the Customer’s Application has been
               withdrawn, enclosing a duly signed and dated copy of the Customer’s notice of withdrawal
               to the USCIS (together with proof of mailing to the USCIS).

        All Release Instructions must be in form and substance satisfactory to the Escrow Agent and must
        be received by the Escrow Agent not less than three (3) Business Days before the day on which the
        release is to be effected.

  4.3   Court Orders. The Escrow Agent shall release the Escrow Fund in accordance with the terms of an
        order, judgment or decree ordering the release of the Escrow Fund (or any portion thereof) issued
        by a court of competent jurisdiction ordering the release of the Escrow Fund, accompanied by a
        legal opinion satisfactory to the Escrow Agent provided by counsel of the party requesting such
        release to the effect that such order, judgment or decree represents a final adjudication of the rights
        of the parties by a court of competent jurisdiction, and that the time for appeal from such order,
        judgment or decree has expired without an appeal having been made.

        The Escrow Agent shall release the Escrow Fund (or any portion thereof) promptly upon (and in
        no event later than ten (10) Business Days after) receipt of an order, judgment or decree and legal
        opinion of counsel referred to in this Clause 4.3, in accordance therewith.

  4.4   Deductions. Any release or payment by the Escrow Agent under this Agreement will be made
        without any deduction or withholding for or on account of any tax unless such deduction or
        withholding is required by applicable law. If the Escrow Agent is required by law to make a



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        deduction or withholding, it will not pay any additional amount in respect of that deduction or
        withholding to the Customer or any third party to whom the Escrow Agent is instructed to make
        such release. If at any time the Escrow Agent determines that the Escrow Fund is insufficient to
        make the necessary deductions or withholdings, the Customer shall forthwith at the Escrow
        Agent’s request, pay the amount (or, if the Escrow Agent so reasonably requests, the estimated
        amount) of any such shortfall into the Escrow Account.


  5.    LIABILITY OF ESCROW AGENT AND GENERAL MATTERS SUBJECT TO ESCROW
        AGENT’S DISCRETION

  5.1   No Duties Other Than Express Duties. The Escrow Agent shall have no duties or obligations with
        respect to the Escrow Fund and the Escrow Account except those duties and obligations expressly
        set out in this Agreement (collectively, the “Escrow Obligations”). The Escrow Agent shall have
        no duty to inquire or to comply with, and shall not be bound by (and shall not be deemed to have
        notice of), the provisions of any agreement entered into by or involving the Customer other than
        this Agreement and any Release Instruction and no other duties shall be implied into this
        Agreement or any Release Instruction. Without limiting the generality of the foregoing, the Parties
        hereby acknowledge and agree that:

        (a)   the Escrow Agent shall not be under any duty to give the Escrow Fund held by it hereunder
              any greater degree of care than it gives to its own similar property;

        (b)   the Escrow Agent is under no duty to ensure that funds withdrawn from the Escrow Account
              are actually applied for the purpose for which they were withdrawn or that any Release
              Instruction or other notice, instruction or direction by or on behalf of the Customer, the PRC
              Agent or any Authorized Representative is accurate, correct or in accordance with this
              Agreement (all such Release Instructions or other notices, instructions or directions duly
              executed by them being final, conclusive and binding on the Customer and the Escrow
              Agent as to the matters referred to therein);

        (c)   the Escrow Agent has not selected the Authorized Representatives or the PRC Agent and
              has no responsibility for any acts or omissions of any Authorized Representative or the PRC
              Agent (or any of their respective officers, directors, employees or representatives);

        (d)   the Escrow Agent may:

              (i)   use (and its performance will be subject to the rules of) any communications, clearing
                    or payment systems, correspondent or intermediary bank or other system;

              (ii) perform any of its duties and functions hereunder through its officers, employees or
                   representatives;

              (iii) engage and pay for the advice or services of lawyers, accountants or other experts or
                    professional advisers as the Escrow Agent may consider necessary or desirable and
                    rely and act upon such advice;

              (iv) refrain from taking any action which in its opinion would or might contravene any law
                   in any relevant jurisdiction or render it liable to any person and do all such things in its
                   opinion necessary to comply with any such law; and



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               (v)   assume that the Customer is not in breach of its obligations hereunder or in respect of
                     the Customers Application unless the Escrow Agent receives specific written notice to
                     the contrary.

  5.2   Reliance. The Escrow Agent may rely upon and shall not be liable for acting or refraining
        from acting upon any order, judgment, decree, certification, demand, notice, instruction or
        other written instrument (collectively “Instructions”) given or delivered to it hereunder
        without being required to determine the authenticity or the correctness of any fact stated
        therein or the validity of service thereof. The Escrow Agent may act in reliance on any such
        Instruction (including any Release Instruction signed by an Authorized Representative and
        any notice of the PRC Agent advising the specimen signature of any authorized signatory of
        an Authorized Representative) which it believes to be genuine and may assume that any
        person purporting to give receipt or advice or make any statement or execute any document
        in connection with the provisions of this Agreement has been duly authorized to do so.
        Without limiting the generality of the foregoing, the Escrow Agent shall not be obliged to
        release the Escrow Fund or otherwise to act on any instructions received by it under this
        Agreement if the Escrow Agent is unable:

        (a)    to verify any signature on any Instruction from an Authorized Representative against
               the specimen signature of the relevant Authorized Representative provided by the
               Customer or the PRC Agent; and

        (b)    to validate (which the Escrow Agent is not required to do) the authenticity of any
               Instructions from an Authorized Representative after seeking to contact the relevant
               Authorized Representative.

  5.3   No Duty to Take Legal Action. The Escrow Agent shall not be obliged to take any legal action
        hereunder which might, in its judgment, involve any expense or liability unless it shall have been
        furnished with a full indemnity therefore from the relevant party requesting such legal action.

  5.4   Adverse Claims to Escrow Fund. In the event of any disagreement between the Customer and any
        other party resulting in adverse claims or demands being made in connection with the Escrow Fund
        or the Escrow Account, or in the event that the Escrow Agent should take action hereunder, it may,
        at its option, refuse to comply with any claims or demands on it, or refuse to take any other action
        hereunder, so long as such disagreement continues or such doubt exists, and in any such event, it
        shall not be or become liable in any way or to any person for its failure or refusal to act, and it shall
        be entitled to continue to refrain from acting until:

        (a)    the rights of all relevant parties shall have been fully and finally adjudicated by a competent
               court or arbitration institution of competent jurisdiction; or

        (b)    all differences shall have been adjusted and all doubt resolved by agreement among all of
               the interested persons, and it shall have been notified thereof in writing signed by all such
               persons.

  5.5   Liability. Notwithstanding the other provision of this Agreement, neither the Escrow Agent nor its
        officers, employees or representatives shall be liable for:




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        (a)   any loss, liability, claim, action, damages or expenses arising out of or in connection with
              the performance of or its failure to perform any of its obligations under this Agreement,
              except to the extent caused by its own gross negligence or wilful default;

        (b)   any loss or damage, or failure to comply or delay in complying with any duty or obligation,
              under or pursuant to this Agreement arising as a direct or indirect result of any Force
              Majeure Event or any event where, in the Escrow Agent’s reasonable opinion, performance
              of any duty or obligation under or pursuant to this Agreement would or may be illegal or
              would result in the Escrow Agent being in breach of any law, rule, regulation, or any decree,
              order or judgment of any court, or practice, request, direction, notice, announcement or
              similar action (whether or not having the force of law) of any relevant government,
              government agency, regulatory authority, stock exchange or self-regulatory organization to
              which the Escrow Agent is subject; and

        (c)   without limiting the generality of the foregoing:

              (i)     the acts or defaults of any agent employed in good faith by them (notwithstanding
                      that the employment of such agent was not strictly necessary or expedient);

              (ii)    the acts or defaults of any person to whom shall have been delegated the execution or
                      exercise of all or any of the duties conferred on them provided that such delegation
                      shall have been made in good faith;

              (iii)   the acts or defaults in good faith of any, officer, employee or representative of the
                      Escrow Agent; or

              (iv)    any mistake or omission made in good faith.

        The Escrow Agent will not under any circumstances be liable to the Customer for any indirect,
        incidental or consequential loss or damages, even if advised of the possibility of such loss or
        damages, or to any third party, known or not known to the Escrow Agent and whose interest may
        or may not be affected by the escrow arrangements contemplated herein, for whatever loss or
        damages.

  5.6   Recording. The Customer unconditionally agrees to the use of any form of telephone or electronic
        monitoring or recording by the Escrow Agent as it deems appropriate for security or service
        purposes.


  6.    REPRESENTATIONS AND WARRANTIES

        The Customer represents and warrants to the Escrow Agent that:

        (a)   it has the capacity, power and authority to enter into and perform its obligations under
              this Agreement which constitutes its legally binding and enforceable obligations and
              that is not subject to any current, pending or threatened bankruptcy, insolvency,
              composition with its creditors, administration or similar procedures;

        (b)   this Agreement and the use of the services provided by the Escrow Agent hereunder
              will not conflict with:



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               (i) any applicable law or regulation; or

               (ii) any agreement to which it is a party or which is binding upon it or its assets; and

        (c)   neither it nor any of its assets enjoys a right of immunity from set-off, suit or execution
              in respect of its obligations under this Agreement.


  7.    INDEMNITY

        Save to compel performance by the Escrow Agent of the Escrow Obligations, the Customer shall
        not bring or prosecute or procure or allow to be brought or prosecuted any action, claim, demand,
        suit or proceeding against the Escrow Agent. The Customer shall and hereby agrees to fully
        indemnify and hold harmless the Escrow Agent from and against any and all actions, claims, costs,
        damages, losses, liabilities and expenses which the Escrow Agent may incur or suffer in
        connection with or arising out of the performance by the Escrow Agent of the Escrow Obligations,
        except to the extent caused by the Escrow Agent’s own gross negligence or willful default.


  8.    REPLACEMENT OF ESCROW AGENT

  8.1   Resignation. The Escrow Agent may resign from its duties and responsibilities upon giving ninety
        (90) days’ notice in writing to the Customer (with a copy to its Authorized Representatives). Upon
        receipt of notice of the Escrow Agent’s intention to resign, the Customer shall, within ninety (90)
        days from the date of the Escrow Agent’s notice, select a replacement escrow agent and instruct
        the Escrow Agent in writing, by written notification signed by the Appointed Authorized
        Representative, to withdraw from the Escrow Account and transfer to the replacement escrow
        agent the Escrow Fund which has not been released or returned to the relevant Party according to
        Clause 4 (Payments from Escrow Account) (after settling any fees and/or expenses incurred and
        payable to the Escrow Agent as set out in Clause 9 (Escrow Agent’s Fees)).

  8.2   Replacement Escrow Agent. If the Customer fails to select a replacement escrow agent within
        ninety (90) days of the Escrow Agent’s notice under Clause 8.1 (Resignation), the Escrow Agent
        shall, in so far as it is able so to do, then select the replacement escrow agent. The Escrow Agent
        shall continue to hold the Escrow Fund or any part thereof as the case may be until the replacement
        escrow agent has been selected and the Escrow Agent receives and complies with the instruction of
        the Customer to withdraw from the Escrow Account and transfer to the replacement escrow agent
        the Escrow Fund which has not been released or returned to the relevant Party according to Clause
        4 (Payments from Escrow Account). Save and except for the obligation to maintain the Escrow
        Fund or any part thereof as the case may be until a replacement escrow agent is selected, ninety
        (90) days after notice of the Escrow Agent’s intention to resign under Clause 8.1 (Resignation) has
        been received by the Customer, the Escrow Agent shall have no further obligations under this
        Agreement, and the Escrow Agent shall have no obligation to initiate or participate in any selection
        of a replacement escrow agent. The Customer agrees to enter into an escrow agreement
        substantially in the same form as this Agreement with the replacement escrow agent.

  8.3   Surplus. If, following the transfer of the remaining Escrow Fund from the Escrow Account under
        Clause 8.1 (Resignation) or Clause 8.2 (Replacement Escrow Agent) (as the case may be), there




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        remains any balance standing to the credit of the Escrow Account, the Escrow Agent shall release
        the said balance to the Customer in accordance with Clause 11.2 (Surplus Balance).


  9.    ESCROW AGENT’S FEES

  9.1   Escrow Agent’s Fees. The Customer agrees to pay the Escrow Agent, upon execution of this
        Agreement and from time to time thereafter upon receipt of the relevant invoice, the fees for the
        services rendered by the Escrow Agent under this Agreement, which unless otherwise agreed in
        writing shall be as described in Schedule 4 (Escrow Agent’s Fees).

  9.2   Adjustments. The Customer acknowledges and agrees that the Escrow Agent may adjust the fees
        referred to in Clause 9.1 (Escrow Agent’s Fees) from time to time. The Escrow Agent shall notify
        the Customer in writing of any increase of its fees not later than thirty (30) Business Days prior to
        such increase taking effect.

  9.3   Expenses. In addition to the fees payable under Clause 9.1 (Escrow Agent’s Fees) above, the
        Customer agrees to pay to the Escrow Agent all out-of-pocket expenses (including all legal fees,
        registration fees, stamp or other documentary duties, taxes or levies and disbursements) incurred
        by the Escrow Agent in the performance of its duties under this Agreement.

  9.4   No set-off or counterclaim. All amounts of whatever nature payable to, and recoverable by, the
        Escrow Agent pursuant to this Agreement shall be payable, without set-off or counterclaim, within
        five (5) Business Days of receipt of the Escrow Agent’s invoice.

  9.5   Authority to Debit. If the Customer fails to make any payment to the Escrow Agent when it
        becomes due in accordance with the terms of this Agreement, the Escrow Agent may at any time
        and from time to time at its discretion and without prior notice to the Customer debit any of the
        Customer’s accounts (including, in order to settle any Escrow Agent Amounts (as defined in
        Clause 4.1 (General Provisions), the Escrow Account) with the Escrow Agent or any of its
        branches or offices (wherever situated) in or towards settlement of such overdue amounts.


  10.   NOTICES

  10.1 Communications. Each notice or other communication to be given or made under this Agreement
       shall be in writing and delivered or sent to the relevant party at its address or fax number set out
       below (or such other address or fax number as the addressee has by five (5) days’ prior written
       notice specified to the other party):

        To the Customer

        Name and Address:                 [                        ]

        Fax:                              [                ]
        Attention:                        [                ]




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        To the Escrow Agent

        Name and Address:                 Standard Chartered Bank (Hong Kong) Limited
                                          [              ]
                                          Hong Kong

        Fax:                              [                ]
        Attention:                        [                ]

  10.2 Deemed Delivery. Any notice or other communication so addressed to the relevant party shall be
       deemed to have been delivered (a) if given or made by letter, when actually delivered to the
       relevant address and (b) if given or made by fax, when dispatched with electronic confirmation of
       complete and error-free transmission Provided that, if such day is not a working day in the place
       to which it is sent, such notice, demand or other communication shall be deemed delivered on the
       next following working day at such place.

  10.3 Language. Each notice or other communication hereunder and any other documents required to be
       delivered hereunder shall be either in English or accompanied by a certified translation thereof into
       the English language.


  11.   TERMINATION

  11.1 Termination. Except for Clauses 5 (Liability of Escrow Agent and General Matters Subject to
       Escrow Agent’s Discretion) and 6 (Indemnity) (which shall survive the termination of this
       Agreement), this Agreement shall terminate on the earlier of the following (the “Termination
       Date”):

         (a)   if the Customer fails to deposit the Escrow Cash Deposit into the Escrow Account
                within the period specified in Clause 3.1 (Deposit of Escrow Cash Deposit into Escrow
                Account) and the Escrow Agent elects (at its sole discretion) to terminate this
                Agreement, upon the date specified by the Escrow Agent in a written termination
                notice to the Customer, whereupon the Escrow Agent shall forthwith be irrevocably
                released from its obligations under this Agreement with immediate effect;

         (b)   in the event of the Customer’s death, upon the date the Escrow Agent receives written
                notice of the Customer’s death from the Customer’s personal representative,
                enclosing a copy of the Customer’s death certificate, whereupon the Escrow Account
                shall become (and continue to be maintained as) an ordinary US$ savings account
                (“Savings Account”) of the Customer, subject to the Escrow Agent’s terms and
                conditions for such Savings Account prevailing from time to time, pending
                instructions from the Customer’s executor, administrator or personal representative,
                accompanied by a certified copy of the grant of probate, letter of administration (or
                equivalent evidence of the capacity of the executor, administrator or personal
                representative (as applicable)), in each case in form and substance satisfactory to the
                Escrow Agent;

         (c)   the date falling two (2) years (or such other period as the Parties may agree in writing)
                after the date of this Agreement; or




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         (d)   such time as the Escrow Agent shall have released the Escrow Fund pursuant to this
                Agreement.

        Upon such termination, the Escrow Agent shall promptly close the Escrow Account.

  11.2 Surplus Balance. If, on the Termination Date, there remains any balance represented by cash
       standing to the credit of the Escrow Account, the Escrow Agent shall as soon as reasonably
       practicable release such balance to the Customer in accordance with the instructions of the
       Authorized Representative or (where paragraph (b) of Clause 11.1 (Termination) applies) the
       instructions of the Customer’s executor, administrator or other personal representative (as
       applicable). Such instructions must be in form and substance satisfactory to the Escrow Agent and
       must be received by the Escrow Agent not less than three (3) Business Days before the day on
       which the release is to be effected.

  11.3 Discharge. The release of the Escrow Fund by the Escrow Agent to the relevant party in
       accordance with Clause 4 (Payments from Escrow Account) and Clause 11.2 (Surplus Monies) and
       (where the Escrow Agent elects to terminate this Agreement in accordance with paragraph (a) of
       Clause 11.1 (Termination)) the termination of this Agreement by the Escrow Agent (as the case
       may be) shall constitute due and complete performance and discharge by the Escrow Agent of all
       its obligations under this Agreement.


  12.   MISCELLANEOUS

  12.1 Assignment. The Customer shall not assign any of its rights and benefits or transfer any of its
       obligations hereunder without the prior written consent of the Escrow Agent. The Escrow Agent
       may at any time assign or transfer by novation (each an “assignment”) all or any part of, or all or
       part of any interest in, any of its rights, benefits and/or obligations under or arising out of this
       Agreement and the Customer shall execute and do all such transfers, assignments, assurances, acts
       and things as the Escrow Agent may require for perfecting and completing the assignment of such
       rights, benefits and obligations. Upon any such assignment taking effect (i) the Escrow Agent shall
       be released from such obligations and the Customer shall look only to the assignee Escrow Agent
       in respect of such obligations and (ii) references in this Agreement to the Escrow Agent shall be
       construed accordingly as references to the assignee Escrow Agent or the Escrow Agent, as
       relevant. All agreements, representations and warranties made herein shall survive any assignments
       made pursuant to this Clause and shall inure to the benefit of all assignees/transferees as well as the
       Escrow Agent.

  12.2 Disclosure. The Escrow Agent will treat all information relating to the Customer as confidential,
       but (unless consent is prohibited by law or qualified by any data policy issued by the Escrow
       Agent) the Customer consents to the transfer and disclosure by the Escrow Agent of any
       information relating to the Customer to and between the branches, subsidiaries, holding company,
       representative offices, units, affiliates and agents of the Escrow Agent and third parties selected by
       any of them (each a “Recipient”), wherever situated, for confidential use (including, without
       limitation, in connection with the provision of any services hereunder and for data processing,
       statistical and risk analysis purposes). The Escrow Agent and any Recipient may transfer and
       disclose any such information as required by any applicable law or regulation, court of competent
       jurisdiction, relevant regulator or legal process of Hong Kong or elsewhere.




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  12.3 Outsourcing. The Customer acknowledges and agrees that certain services, operational and
       processing procedures relating to the services hereunder may from time to time be outsourced by
       the Escrow Agent to its regional processing centres, branches, subsidiaries, representative offices,
       affiliates or agents of the Escrow Agent and third parties selected by the Escrow Agent or any of
       such regional processing centres, branches, subsidiaries, holding company, representative offices,
       affiliates or agents, wherever situated, and such service providers may from time to time be given
       access to information and data relating to the Customer and the services hereunder for the purpose
       of or in relation to the services and procedures they perform.

  12.4 Amendment. This Agreement may not be amended or the instructions contained herein revoked
       unless such amendment or revocation is in writing and signed by the Escrow Agent.

  12.5 Entire Agreement. This Agreement constitutes the entire obligation of the Parties and supersedes
       any previous expressions of intent or understandings in respect of the subject-matter of this
       Agreement.

  12.6 Severability. If at any time any provision of this Agreement is or becomes illegal, invalid or
       unenforceable in any respect under the law of any jurisdiction, the legality, validity and
       enforceability of such provision under the law of any other jurisdiction, and of the remaining
       provisions of this Agreement, shall not be affected or impaired thereby.

  12.7 Counterparts. This Agreement may be signed in as many counterparts as may be necessary, each of
       which so signed shall be deemed to be an original, and such counterparts together shall constitute
       one and the same instrument and, notwithstanding the date of execution, shall be deemed to bear
       date as of the date and year first above written.


  13.   LAW AND JURISDICTION

  13.1 Law. This Agreement and all matters arising hereunder shall be governed by and construed in
       accordance with the laws of Hong Kong.

  13.2 Jurisdiction. Each Party irrevocably agrees that any legal action or proceeding arising out of or
       relating to this Agreement may be brought in the courts of Hong Kong and irrevocably submits to
       the non-exclusive jurisdiction of such courts.

                                          Signature Page Follows




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          IN WITNESS whereof this Agreement has been executed by the parties hereto on the date stated
  at the beginning of this Agreement.




  CUSTOMER

  SIGNED by                                     )
  [                ]                            )
  in the presence of:                           )




  ESCROW AGENT

  SIGNED for and on behalf of                   )
  STANDARD CHARTERED BANK                       )
  (HONG KONG) LIMITED                           )
  by                                            )
  its authorized representative                 )
  and in the presence of :                      )




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                                              Schedule 1
                                      Authorized Representative(s)


  Name and Contact Details

  [*********************
  Authorized signatory: Mr. *************]

  Address:       [                       ]
  Tel.:          [                       ]
  Fax:           [                       ]

  Specimen Signature

  The specimen signature of Mr. ************** (or any other authorized signatory of
  *******************) shall be provided to the Escrow Agent separately by the following person (the
  “PRC Agent”):

  Name:          [                       ]
  Address:       [                       ]
  Tel:           [                       ]
  Fax:           [                       ]

  [Specimen Signature:   _____________________________]


  * Note: To the extent specimen signatures are not provided above, the same shall be produced to the
  Escrow Agent separately upon the signing of this Agreement.




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                                              Schedule 2
                                         Escrow Cash Deposit

  Five hundred-thirty-five thousand U.S. Dollars (US$535,000)




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                                          Schedule 3

                                Forms of Release Instructions

                   [to be inserted if available at the date of this Agreement]




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                                       Schedule [4]
                                   Escrow Agent’s Fees


                     [Escrow Agent to complete if not agreed separately]




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                                      EXHIBIT G

                            INVESTOR QUESTIONNAIRE

                        [Investor Questionnaire on following page]




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                      EB‐5 INVESTOR SUITABILITY EVALUATION
                                    PERSONAL & CONFIDENTIAL

  PRIMARY APPLICANT INFORMATION:
  APPLICANT / INVESTOR NAME



  FULL NAME IN NATIVE ALPHABET



                                                     MARITAL STATUS:
  GENDER:      _____ MALE   _____ FEMALE                   _____ SINGLE       _____ MARRIED
                                                           _____ DIVORCED     _____ WIDOWED
  DATE OF BIRTH (month/day/year)   PLACE OF BIRTH (city/country)       COUNTRY OF CITIZENSHIP



  HOME PHONE NUMBER                                  MOBILE PHONE NUMBER

  ____________________________________________       ____________________________________________
     (Country Code)  (Area Code)   (Number)             (Country Code)  (Area Code)   (Number)

  EMAIL ADDRESS


  PASSPORT ISSUED BY (country)                      PASSPORT NUMBER


  PASSPORT ISSUED (date)                            PASSPORT EXPIRY




  PRESENT RESIDENCE AND ADDRESS:
  STREET ADDRESS


  CITY                                               STATE/PROVINCE


  COUNTRY                                            POSTAL/ZIP CODE




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  INFORMATION ABOUT YOUR SPOUSE:
  FULL LEGAL NAME



  FULL NAME IN NATIVE ALPHABET



                                                           MAIDEN NAME (if applicable)
  GENDER:       _____ MALE     _____ FEMALE

  DATE OF BIRTH (month/day/year)         PLACE OF BIRTH (city/country)       COUNTRY OF CITIZENSHIP




  INFORMATION ABOUT YOUR CHILDREN (UNDER 21 YEARS OF AGE):
  Please use separate page if needed.
  FULL LEGAL NAME



  FULL NAME IN NATIVE ALPHABET




  GENDER:       _____ MALE     _____ FEMALE

  DATE OF BIRTH (month/day/year)         PLACE OF BIRTH (city/country)       COUNTRY OF CITIZENSHIP




  CURRENT EMPLOYMENT:
  EMPLOYER (name of business)


  BUSINESS ADDRESS


  CITY                                                     STATE/PROVINCE


  COUNTRY                                                  POSTAL/ZIP CODE


  POSITION                                                 START DATE


  ANNUAL SALARY                                            OTHER COMPENSATION




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  GENERAL INFORMATION:

  HOW WELL DO YOU SPEAK ENGLISH?

                  _____ NEED TRANSLATION       _____ CONVERSATIONAL         _____ FLUENT



  APPLICANTS LIVING IN THE UNITED STATES:
  US ADDRESS (street # and name)


  CITY                                                 STATE/PROVINCE


  COUNTRY                                              POSTAL/ZIP CODE


  DATE OF ARRIVAL (month/day/year)                     I‐94 # (arrival and departure record #)


  I‐94 ISSUANCE DATE (attach copy)                     I‐94 EXPIRY DATE


  CURRENT NON‐IMMIGRANT STATUS                         EXPIRES ON (month/day/year)


  DATE OF LAST ENTRY INTO US                           PLACE OF LAST ENTRY INTO US


  SOCIAL SECURITY NUMBER (if any)                      ALIEN NUMBER (if any)




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  GENERAL IMMIGRATION QUESTIONS:

  ARE YOU CURRENTLY A GREEN CARD HOLDER?                                    _____ Yes   _____ No

     If YES, when does it expire?                       ________________________________________


  HAVE YOU PREVIOUSLY OBTAINED A U.S. VISA BEFORE?                          _____ Yes   _____ No

     If YES, what type of Visa?                         ________________________________________

     If YES, when was your last Date of Entry?          ________________________________________


  HAVE YOU EVER STAYED IN THE U.S. BEYOND AUTHORIZATION?                    _____ Yes   _____ No

     If YES, please explain the circumstances.

  ___________________________________________________________________________________________

  ___________________________________________________________________________________________


  HAVE YOU PREVIOUSLY APPLIED FOR A U.S. IMMIGRATION OR NON‐ IMMIGRATION VISA AND BEEN DENIED?
                                                                            _____ Yes   _____ No

     If YES, please provide details why application was denied.

  ___________________________________________________________________________________________

  ___________________________________________________________________________________________


  ARE THERE ANY CHILDREN LISTED ON THE PRELIMINARY QUESTIONNAIRE THAT WILL TURN 21 YEARS OF AGE
  WITHIN THE NEXT YEAR?
                                                                     _____ Yes    _____ No
     If YES, please provide name and date of birth of child.

  ___________________________________________________________________________________________

  ___________________________________________________________________________________________


  IS THERE OTHER RELEVANT INFORMATION REGARDING YOUR CURRENT IMMIGRATION THAT WE SHOULD BE
  AWARE OF FOR YOU OR ANY MEMBER OF YOUR FAMILY?

  ___________________________________________________________________________________________

  ___________________________________________________________________________________________




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  US ADMISSABILITY VERIFICATION:
  UNITED STATES LAWS GOVERNING THE ISSUANCE OF VISAS REQUIRE EACH APPLICANT TO STATE WHETHER
  OR NOT BE OR SHE IS A MEMBER OF ANY CLASS OF INDIVIDUALS EXCLUDED FROM ADMISSION INTO THE
  UNITED STATES. THE EXCLUDABLE CLASSES ARE DESCRIBED BELOW IN GENERAL TERMS. YOU SHOULD READ
  CAREFULLY THE FOLLOWING LIST AND ANSWER YES OR NO TO EACH CATEGORY. THE ANSWERS YOU GIVE
  WILL ASSIST THE CONSULAR OFFICER TO REACH A DECISION ON YOUR ELIGIBILITY TO RECEIVE A VISA.

  EXCEPT AS OTHERWISE PROVDIED BY LAW, ALIENS WITHIN THE FOLLOWING CLASSIFICATIONS ARE
  INELIGIBLE TO RECEIVE A VISA.

  DO ANY OF THE FOLLOWING CLASSES APPLY TO YOU?
                                                                                                       YES   NO
  (check the yes/no box that applies to you for each question)

  An alien who has a communicable disease or a physical or mental disorder that poses a threat
  to the safety or welfare of the alien or others; or who is a drug abuser or addict.

  An alien who seeks to enter the United States to engage in espionage, sabotage, export control
  violations, terrorist activities, the overthrow of the Government of the United States or other
  unlawful activity; who is a member of or affiliated with the Communist or other totalitarian
  party; who participated in Nazi persecutions or genocide; who has engaged in genocide; or who
  is a member or representative or a terrorist organization as currently designated by the U.S.
  Secretary of State.

  An alien who failed to attend a hearing on deportation or inadmissibility; who seeks or has
  sought a visa, entry into the United States, or any immigration benefit by fraud or
  misrepresentation.
  An alien who was previously ordered removed (deported) from the United States within the
  last 5 years.

  An alien who is former exchange visitor who has not fulfilled the 2‐year foreign residence
  requirement.

  Have you ever been convicted of any offense or crime?
  (if yes, please explain in space provided below)

  Have you ever been refused admission to the United States at a port‐of‐entry?
  (if yes, please explain in space provided below)

  Have you ever applied for a Social Security Number (SSN)?
  (if yes, please provide the number in the space provided below)

  Do you want the Social Security Administration to assign you an SSN (and issue a card) or issue
  you a new card (if you have an SSN)?

  CONSENT TO DISCLOSURE: I authorize disclosure of information from this form to the
  Department of Homeland Security (DHS), the Social Security Administration (SSA), such other
  U.S. government agencies as may be required for the purpose of assigning me an SSN and
  issuing me a Social Security card, and I authorize the SSA to share my SSN with USCIS. The
  applicant’s response does not limit or restrict the Government’s ability to obtain his or her SSN,
  or other information on this form, for enforcement or other purposes as authorized by law. You
  must answer YES to this question in order to receive an SSN and/or card.




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  ADDITIONAL INFORMATION REQUESTED:

  HAVE YOU RETAINED AN IMMIGRATION ATTORNEY?

      If YES, please provide name and the contact information for our files.

  __________________________________________________________________________________________

  __________________________________________________________________________________________

      If NO, do you need a referral?                                                _____ Yes       _____ No


  HOW DID YOU HEAR ABOUT THE COLORADO REGIONAL CENTER AND OUR PROJECTS?

  __________________________________________________________________________________________


  WERE YOU REFERRED TO US BY SOMEONE?                                               _____ Yes       _____ No

      If YES, please provide name and contact information for our files.

  __________________________________________________________________________________________



  ASSETS AND SOURCE OF FUNDS:
  Please use separate page if needed.
              ASSETS                             AMOUNT                             SOURCE OF FUNDS
  CHECKING ACCOUNT                     $

  SAVINGS ACCOUNT                      $

  INVESTMENTS
                                       $
  (Stocks, Bonds & Mutual Funds)

  BUSINESS INCOME                      $

  REAL ESTATE                          $

  INHERITANCE                          $

  GIFT*                                $

  LOAN                                 $

  OTHER                                $

   * Note: if an asset is a gift, source of funds for the gift needs to be explained. i.e. $250,000 gift from parents,
   source of funds: sale of parents’ real estate.

                        TOTAL: $ ______________________


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  SOURCE OF FUNDS FOR INVESTMENT:
  Please use separate page if needed.
  OF THE ABOVE ASSESTS, WHICH WILL CONTRIBUTE TO THE INVESTMENT?
  Please be specific as possible when completing the information below.
                   ASSETS                                           AMOUNT                                SOURCE OF FUNDS
                                                       $

                                                       $

                                                       $

                                                       $

      TOTAL INVESTMENT:                                $             500,000                                     ‐



  VERIFICATION:
  PLEASE SUPPLY COPIES, SEND VIA FAX OR EMAIL OF THE FOLLOWING FOR THE APPLICANT AND SPOUSE:
       1.     Valid passport (copy of picture page)
       2.     National Identity card if available
       3.     Copy of current US visa (if inside the United States)
       4.     Copy of I‐94 (if inside the United States)
       5.     Birth certificates for investor and all non‐U.S. dependents (long form, naming both parents)
       6.     Marriage certificates (if any)



   THE INFORMATION ABOVE IS ACCURATE AND HAS BEEN COMPLETED TO THE BEST OF MY ABILITY.



   ___________________________________________________________________________________________
              SIGNATURE OF APPLICANT                            DATE (month/day/year)




   H:\8717\001\SOLARIS PROJECT\2011 Submission\CRC -- Investor Suitability Evaluation Form 3.21.11.docx




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                                 EXHIBIT H1
                      CITIBANK SUBSCRIPTION AGREEMENT

                    [Citibank Subscription Agreement on following page.]




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  Colorado Regional Center Project Solaris, LLLP
  (a Colorado limited liability limited partnership)

                                      SUBSCRIPTION AGREEMENT
                                             (CITIBANK)

  Colorado Regional Center Project Solaris, LLLP
  5251 DTC Pkwy, Suite 1100
  Greenwood Village, CO 80111

  Prospective Investor:

          This Subscription Agreement is made by and between the Colorado Regional Center I, LLC,
  a Colorado limited liability company (the “General Partner) of Colorado Regional Center Project Solaris,
  LLLP (the “Partnership”), and the undersigned purchaser who is subscribing for the Partnership Interests
  as set forth below pursuant to the terms set forth in this Subscription Agreement. The address of the
  Partnership is 4643 S. Ulster Street, Suite 950, Denver, CO 80237.


                                               I.
                                   AGREEMENT TO PURCHASE
                              AND ADMISSION AS A LIMITED PARTNER

  A.      Purchase. Subject to the terms and conditions hereof, the undersigned hereby irrevocably agrees
          to purchase the partnership interest set forth in Subsection A (3) herein. The minimum Capital
          Contribution shall be $550,000 (USD) of which $500,000 shall be deemed a Capital Contribution
          and $50,000 shall be deemed payment for Administrative Expenses. Payment in full for the
          Partnership Interests purchased hereunder accompanies the delivery of this Subscription
          Agreement (a “Capital Contribution”).

          1.      Partnership Acceptance of Subscription Agreement. The undersigned agrees that the
                  Partnership may reject any subscription in its sole and absolute discretion, and in
                  particular, from any proposed subscriber who is not an accredited investor or who either
                  alone or with his purchaser representative fails to meet the sophistication requirements set
                  forth in Section II(A).

                  The Partnership shall notify the undersigned that it has accepted the subscription herein
                  by delivering to the undersigned a signed copy of this Subscription Agreement.

          2.      Capital Contributions. Capital Contributions shall be made payable to Colorado Regional
                  Center Project Solaris, LLLP, wired to Citibank at the address set forth below in Section
                  3. A copy of the fully-executed Subscription Agreement and a completed corresponding
                  Offeree Questionnaire shall be delivered to the offices of the Partnership at the address
                  listed above. In the event the subscription is not accepted in whole or in part by the
                  Partnership, the full $500,000 of the Capital Contribution received and the remaining
                  balance, if any, of the Administrative Expenses will be promptly refunded to the
                  subscriber without deduction from or interest on the Capital Contribution.




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         3.      Purchase Terms:

                 AMOUNT OF SUBSCRIPTION: [$550,000.00] (USD)

                 NAME UNDER WHICH
                 TITLE SHALL BE HELD:                 _______________________________

                 SOCIAL SECURITY NUMBER
                      OR TAXPAYER ID NO.:             ________________________________
                                                                (If applicable)

                 YOU MAY WIRE YOUR CAPITAL CONTRIBUTION TO:

                                                   CITIBANK, N.A.
                 ABA: 0210-0008-9
                 Account Name: Colorado Regional Center Escrow Concentration Account
                 CREDIT A/C No.: 36936986
                 For Benefit of Colorado Regional Center Project Solaris, LLLP

  B.     Admittance as Limited Partner. Upon the Partnership’s acceptance of this Subscription
         Agreement and receipt of your Capital Contribution, the undersigned shall be admitted as a
         Limited Partner of the Partnership. The undersigned acknowledges the receipt of a true and
         correct copy of the Partnership Agreement and agrees to be bound by its terms. Your Capital
         Contribution shall be used to further the business purposes of the Partnership as set forth in the
         Partnership Agreement.

  C.     Investment Terms. FOR A COMPLETE DESCRIPTION OF THE INVESTMENT TERMS
         AND HOW CASH WILL BE DISTRIBUTED PLEASE REFER TO THE PARTNERSHIP
         AGREEMENT.

  EB-5 Investors.

         5.      Independent Counsel. Investor shall hire an Independent Counsel for immigration
                 processing and other legal matters. Colorado Regional Center Project Solaris, LLLP will
                 on request recommend qualified counsel for immigration processing matters. Colorado
                 Regional Center Project Solaris, LLLP shall approve the selection of immigration counsel
                 in writing in advance of retaining such counsel and Colorado Regional Center Project
                 Solaris, LLLP shall be responsible for payment of legal fees and costs in an amount not
                 to exceed $15,000. The Escrow Agent shall be permitted to disburse to the general
                 partner an amount not to exceed $15,000 from the Administrative Fee at the request of
                 the General Partner to be used solely for the payment of Investor’s legal fees. The
                 General Partner shall be entitled to pay any such legal fees directly to counsel for the
                 Investor out of such $15,000 disbursement upon receipt of an invoice from counsel
                 which invoice shall be approved in writing by the Investor prior to such payment. The
                 General Partner shall further be authorized to disburse a portion of the $15,000 fee to the
                 selected immigration counsel as required as a retainer by such counsel.




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        6.      Filing the Immigration Petition. Colorado Regional Center Project Solaris, LLLP shall
                use its best efforts to assist Investor’s Counsel for the filing of the appropriate visa
                petition, and verifying required direct and indirect employment until the removal of
                Investor’s conditional permanent residency.

        7.      Visa Denial. If (i) the Investor’s I-526 is denied or (ii) the Investor’s application for
                conditional permanent residency (either via an immigrant visa application or an
                adjustment of status application) is denied for reasons related to the Project as defined in
                the Memorandum, and a final decision is reached on the denial described in either clause
                (i) or (ii) above (meaning all administrative and judicial appeals have been exhausted,
                any such appeals undertaken solely at the election and cost of the General Partner),
                Colorado Regional Center Project Solaris, LLLP shall pay back Investor’s original
                Capital Contribution in cash within 150 days of denial, if the General Partner elects not to
                appeal, or within 150 days of final denial after exhaustion of all appeals at the General
                Partner’s election. Investor must maintain the investment until the outcome of the appeal
                is rendered if the denial is appealed. Colorado Regional Center Project Solaris, LLLP’s
                liability shall be limited to the return of Investor’s Capital Contribution only.
                Additionally, Colorado Regional Center Project Solaris, LLLP will refund any funds
                remaining from the Investor’s payment of Administrative Expenses at the time of the
                refund of the Capital Contribution. If the denial is based on matters relating to Investor’s
                personal background or financial history, including without limitation, Investor’s
                inability to prove to the appropriate governmental authorities sources of funds used to
                invest in the Partnership, then Investor shall not be entitled to receive any refund of the
                Administrative Expenses.

        8.      Maintenance of EB-5 Interest. Colorado Regional Center Project Solaris, LLLP agrees
                that it will not sell the interest Investor relies upon for EB-5 visa approval until removal
                of Investor’s conditional permanent residence status.

                                 II. REPRESENTATIONS AND WARRANTIES

        The undersigned hereby represents and warrants to the Partnership and COLORADO
        REGIONAL CENTER PROJECT SOLARIS, LLLP as follows:

  A.    That the offer to sell the Partnership Interests was directly communicated to the undersigned by
        the Partnership through the Memorandum and meetings with the General Partner of the
        Partnership in such a manner that the undersigned was able to ask questions of and receive
        answers from the Partnership or a person acting on its behalf concerning the terms and conditions
        of this investment. At no time was the undersigned presented with or solicited by or through any
        leaflet, public promotional meeting, television advertisement or any other form of general
        solicitation or advertising.

  B.    That the undersigned is the sole and true party in interest and is not subscribing for the benefit of
        any other person. If the undersigned is a corporation, partnership or other entity, the undersigned
        was not organized for the purpose of acquiring the Partnership Interests. If the undersigned is an
        individual, he or she is twenty-one (21) years of age or over.

  C.    That the Partnership Interests are being purchased for the undersigned’s own account solely for
        investment, and with no present intention to distribute any of the Partnership Interests to any
        other person.



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  D.    That the undersigned understands that the Partnership Interests are not being registered under the
        Securities Act of 1933, as amended (Securities Act) in reliance upon the so-called "private
        offering" exemption provided by Section 4(2) the Securities Act and/or Regulation D
        promulgated pursuant to the Securities Act, and that the Partnership is basing its exemption in
        part on the representations, warranties, statements and agreements contained herein and those of
        other subscribers contained in similar subscription agreements.

  E.    That the undersigned is an Accredited Investor within the meaning of Rule 501 of Regulation D
        promulgated pursuant to the Securities Act.

        The undersigned understands that if a Purchaser Representative is used, the Purchaser
        Representative must complete, and the undersigned must review and acknowledge, a separate
        Purchaser Representative Questionnaire and Purchaser Acknowledgment, which must be returned
        to the Partnership prior to acceptance of this Subscription Agreement.

  F.    That the undersigned understands that the Partnership Interests have not been recommended by
        any federal or state securities commission or regulatory authority. Furthermore, the foregoing
        authorities have not confirmed or reviewed the accuracy or determined the adequacy of the
        information set forth in the Memorandum.

  G.    That the undersigned understands that the Partnership Interests are characterized as restricted
        securities under the Act and applicable state securities laws inasmuch as they are being acquired
        from the Partnership in a transaction not involving a public offering and that under such laws and
        applicable regulations such securities may be transferred or resold without registration under the
        Securities Act and applicable state securities laws only in certain limited circumstances.

  H.    That prior to executing this Subscription Agreement the undersigned confirms that all documents
        requested by the undersigned have been made available, and that the undersigned has been
        supplied with all of the additional information concerning this investment that has been requested.

  I.    That the undersigned has carefully considered and has, to the extent the undersigned considers
        necessary, discussed with the undersigned’s professional legal, tax and financial advisers the
        suitability of an investment in the Partnership for the undersigned’s particular tax and financial
        situation.

  J.    That the undersigned has adequate means of providing for current needs and personal
        contingencies, and is aware that an investment in the Partnership Interests is highly speculative
        and subject to substantial risks. The undersigned is capable of bearing the high degree of
        economic risk and burden of this investment, including but not limited to, the possibility of the
        complete loss of all contributed capital and the limited transferability of the Partnership Interests.

  K.    That the undersigned understands that the Partnership prepared pro formas and estimates of
        possible revenues and expenses and the possible consequent financial returns the Partnership
        could experience if such revenues and expenses were achieved. The undersigned understands
        that the Partnership is still in an early stage of development and has no history of achieving such
        revenues. The Partnership estimates are based on a good faith belief of what the Partnership can
        accomplish if it is able to obtain adequate financing and is able to commence and maintain
        operations in accordance with its current business plan. The pro formas were not prepared by any
        independent accountant and were not prepared with a view toward compliance with the



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         Association of Independent Certified Accountants’ guidelines for projections. The assumptions
         and estimates are uncertain and the actual results of the Partnership will vary from the projected
         results and could vary in a materially adverse manner.

  L.     That the undersigned, in making the decision to purchase the Partnership Interests subscribed for,
         relied upon independent investigations made by the undersigned and his or her Purchaser
         Representatives (if any), and the undersigned and such representatives (if any) have, prior to any
         sale to the investor, been given access and the opportunity to examine all material books and
         records of the Partnership, all material contracts and documents relating to this offering, and an
         opportunity to ask questions and receive answers from the Partnership or any person acting on its
         behalf concerning the terms and conditions of this offering, and an opportunity obtain any
         additional information, to the extent the Partnership possesses such information or can acquire it
         without unreasonable effort or expense, necessary to verify the accuracy of any information
         provided.

  M.     THAT THE UNDERSIGNED EITHER READS AND UNDERSTANDS ENGLISH OR
         HAD THIS SUBSCRIPTION AGREEMENT TRANSLATED BY A TRUSTED ADVISOR
         INTO A LANGUAGE THAT THE UNDERSIGNED DOES UNDERSTAND.

  N.     That each representation and warranty of the undersigned contained herein and all information
         furnished by the undersigned to the Partnership, is true, correct and complete in all respects.

                                          III. RISK FACTORS

        AN INVESTMENT IN THE PARTNERSHIP HAS CERTAIN ELEMENTS OF RISK
  DIFFERENT FROM AND/OR GREATER THAN THOSE ASSOCIATED WITH OTHER
  INVESTMENTS. THE HIGHER DEGREE OF RISK MAKES AN INVESTMENT IN THE
  PARTNERSHIP SUITABLE ONLY FOR INVESTORS (i) WHO HAVE A CONTINUING LEVEL OF
  ANNUAL INCOME AND A SUBSTANTIAL NET WORTH, (ii) WHO CAN AFFORD TO BEAR
  THOSE RISKS, (iii) WHO HAVE PREVIOUSLY MADE THE INVESTMENT OF AT LEAST WHAT
  THEY INTEND TO INVEST IN THIS PARTNERSHIP AND, (iv) WHO HAVE NO NEED FOR
  LIQUIDITY FROM THESE INVESTMENTS.         EACH INVESTOR SHOULD CONSIDER
  CAREFULLY THE RISK FACTORS ASSOCIATED WITH THIS INVESTMENT, INCLUDING,
  WITHOUT LIMITATION, THE FOLLOWING, AND SHOULD CONSULT HIS OR HER OWN
  LEGAL, TAX AND FINANCIAL ADVISORS WITH RESPECT THERETO. INVESTORS UNABLE
  OR UNWILLING TO ASSUME THE FOLLOWING RISKS, AMONG OTHERS, MUST NOT
  CONSIDER AN INVESTMENT IN THE PARTNERSHIP.

  Dependence on                  The Company will have very little active management responsibility or
  Management of SPO:             authority with respect to the management of the Project. The Company
                                 will have a note receivable from SPO, but the management of SPO will
                                 be controlled solely by Peter Knobel as the sole equity member of SPO.
                                 Additionally, the day-to-day management of the business operations of
                                 the Project will rest exclusively in the control of SPO. While the
                                 Company is confident in the abilities of SPO to manage the Project in a
                                 profitable manner based on the success of its principal, Peter Knobel, in
                                 previous commercial real estate projects, there can be no assurance that
                                 it will be successful in the management of the Project.

  The Project may not be         This is a development project and, therefore, there can be no assurance



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  Completed as Scheduled:        that the Project will be constructed on the projected schedule. If there is
                                 a substantial delay, the costs of completion may be increased and there
                                 will be a delay in the generation of revenues from the operation of the
                                 Project. Additionally, any material delay may postpone the starting
                                 date for the jobs related to the Project, thereby delaying the job creation
                                 requirements of the EB-5 program. The development team has a great
                                 deal of experience in this type of development and the Project is in an
                                 advanced stage of construction at this time. Therefore, the Company
                                 believes that absent significant unforeseen events, the Project will be
                                 constructed on time, within budget, and the related businesses
                                 operational within approximately 12 months.

  The Project may be Subject     There are a number of variables in any new construction project and
  to Cost Overruns; Failure to   there is a risk that the costs of building the Project will be greater than
  Sell Condominium Units in      the projected costs. The reasons for overruns include such matters as
  a Timely Fashion:              governmental issues, unforeseen construction problems, increases in the
                                 costs of construction materials and labor, weather, and other similar
                                 types of construction problems. If there are significant cost increases,
                                 the developers will have to provide additional funds to complete the
                                 project. The Company believes that these risks are mitigated by the
                                 inclusion of a contingency fund in the construction budget and also by
                                 the fact that the developers, architects, and general contractor have all
                                 built many similar types of projects from the ground up and have a
                                 great deal of experience in planning for the construction of similar
                                 projects, and, importantly, the Project is already in an advanced stage of
                                 construction at this time. Likewise, if SPO is unable to sell
                                 Condominium Units in a timely fashion, the holding costs related to
                                 such unsold units (such as HOA dues, property taxes, insurance, and
                                 maintenance) may be substantial and may create a financial hardship for
                                 SPO. The risks are mitigated by SPO’s financial strength and its ability
                                 to fund any likely cash shortfalls.

  Job Creation; Potential Risk   Under the terms of the EB-5 program, the project must create a
  of Loss of Visa:               minimum of 10 full-time jobs within 2.5 years following the approval
                                 of the Limited Partners’ Form I-526 Petition. These jobs may be
                                 indirect jobs, but must be filled with U.S. workers. The Company
                                 projects that there will be 2,110 direct, indirect, and induced jobs
                                 created from the operation of the Project and this number was derived
                                 from the econometric study prepared in February, 2011, by Evans,
                                 Carroll & Associates as a necessary requirement of the Colorado
                                 Regional Center application and designation. The projected job totals
                                 would be satisfactory to support 210 investors at $500,000 per investor.
                                 If there are fewer than 10 jobs created for each $500,000 investor
                                 during the 2.5-year period following the approval of the Limited
                                 Partners’ Form I-526 Petition, each of the investors risks the loss of his
                                 or her visa and may be required to return to the investor’s country of
                                 origin. The Company intends to mitigate this risk by seeking a
                                 maximum of $80,000,000 in Capital Contributions which would be
                                 supported by a total of 1,600 jobs. However, that amount may be
                                 increased given the cushion in the number of jobs expected to be



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                                  created allowing the Company to increase the number of LP Interests
                                  that may be sold under applicable EB-5 rules and regulations. Further,
                                  if the econometric study is found to have significantly undercounted the
                                  number of associated jobs, the Company may increase the number of
                                  LP Interests that may be sold.

  SPO may not be Profitable       There is a risk that the Project may never become profitable and that,
  and may not Generate            therefore, SPO will not be profitable and will not have positive cash
  Positive Cash Flow:             flow. If SPO does not experience adequate cash flow, it may not be
                                  able to make the payments on the Solaris Note. The Project is a
                                  development project and initially may have limited revenues. Because
                                  development projects, even if successful, typically generate losses
                                  during the initial investment process, it will take some time to generate
                                  profits. The Company will enter into a Management Agreement with a
                                  company affiliated with the General Partner. The management fees
                                  payable under the Management Agreement will be payable prior to the
                                  distribution of available cash flow to the Limited Partners.
                                  Additionally, the Project may not show positive cash flow so that SPO
                                  would not have sufficient cash flow to repay the Capital Contributions
                                  of the Limited Partners or any profits on the Capital Contributions.

  No Guarantee of any             The investment by the Limited Partners is an equity investment. There
  Returns to Investors; Risk of   is no obligation of any kind by either the Company nor any other person
  Foreclosure:                    or entity to pay back the amount of the Limited Partners’ Capital
                                  Contributions.      The return of each Limited Partner’s Capital
                                  Contribution as well as any additional cash flow is dependent on the
                                  ability of the Project to generate positive cash flow to SPO and SPO’s
                                  ability to make payments to the Company, and the ability to monetize
                                  the investment by selling the Condominium Units that are the collateral
                                  for the Solaris Note. If these various sources of cash prove to be
                                  insufficient to pay the expenses of the Project, then SPO may not have
                                  cash flow and may not be able to make payments to the Company of
                                  interest under the Solaris Note. In such event, the Limited Partners will
                                  receive neither a return of their investment nor any return on their
                                  investment. SPO will be required to pay HOA dues and real estate
                                  property taxes on one or more Condominium Units during the term of
                                  the Solaris Note. If SPO is unable to make such payments, there is a
                                  risk that the amount of such deficiency would be set off against interest
                                  payments due to the Company and that this would impair the
                                  Company’s ability to make distributions of the Preferred Returns
                                  Likewise, under the terms of the Amended Loan Agreement, the
                                  Company is required to reimburse SPO for any cash flow deficits from
                                  the leasing of the Condominium Units. If the Company is unable to pay
                                  any such cash flow deficits, there is a risk that the interest payments to
                                  the Company could be reduced to cover any such deficits.



  Risk of Ownership of            The market for luxury Condominium Units in the Colorado resort
  Condominium Units               communities has experienced severe pressure, especially over the past



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                          two years. The reasons for this pressure are varied, but include the
                          world-wide recession, over-supply of units, and a lack of available
                          credit for potential buyers. The Condominium Units at the Project are
                          at the very high end of the luxury scale and are priced at levels that are
                          at the highest levels of almost any other units in the Vail, Colorado,
                          area. There is a risk that SPO may not be able to sell enough
                          Condominium Units to generate sufficient revenues to pay the interest
                          due to the Company under the Solaris Note and that as a result, the
                          Company would not in turn be able to pay the Preferred Returns to the
                          Investors. Additionally, there is a risk that the prices of the units will
                          decline over the next several years resulting in an inability of the
                          Investors to sell the units for an amount sufficient to repay the amount
                          of their initial Capital Contributions.

  Pro Formas may not      The Company has reviewed carefully the pro forma financial statements
  Prove Accurate:         for the Project. These financial pro formas were prepared primarily by
                          the principals of SPO. Pro formas are projections only and should not
                          be relied upon as an accurate forecast of the financial performance of
                          the Project. There are many factors that will impact the financial
                          performance of the Project and many of these will have a material effect
                          on the ability of the Project to generate profits and positive cash flow.
                          The pro formas represent management’s good faith attempt to project
                          the financial performance of the Project and, therefore, the Company,
                          but should not be relied upon as any form of guaranty of actual results.

  Lack of Liquidity:      The Company will not be able to make cash distributions to its Limited
                          Partners unless SPO makes its payments to the Company of interest
                          under the Solaris Note. The Company believes that SPO has sufficient
                          cash reserves to enable it to make its required payments to the Company
                          in a timely fashion for the foreseeable future. However, there can be no
                          assurance that SPO will be able to sustain the required payments.
                          Additionally, if SPO elects to redeem the Solaris Note by transferring
                          ownership of one or more Condominium Units, then the Company will
                          own the units and will be required to pay Homeowners Association
                          dues, property taxes, insurance, and other expenses relating to
                          ownership of the units. Additionally, the Company intends to receive
                          additional income from the renting of the Condominium Units by SPO
                          to third parties. The Company will receive the benefit of any rental
                          income under the terms set forth in the Amended Loan Agreement. The
                          Company believes that these payments will adequately cover the
                          expenses associated with ownership of the Condominium Units. If SPO
                          fails to make its payments, however, there is a risk that the Company
                          would not be able to pay the expenses and the Company could lose
                          ownership of the units. The Company believes that SPO will be able to
                          make such payments and has further received the personal guaranty of
                          Peter Knobel with respect to such interest payments during the period
                          that any principal balance of the Solaris Note is outstanding. Therefore,
                          the Company does not believe that there is a substantial risk of default
                          in these payments. There is no market for the LP Interests and there are
                          significant restrictions on the transferability of the LP Interests.



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                              Therefore, until there is a liquidity event (such as a sale of the
                              Condominium Units), the Limited Partners will not be able to monetize
                              their investment in the Company.

  Prohibition of Sale of      If the Company becomes the fee owner of a Condominium Unit, it may
  Condominium Units for       not sell or otherwise dispose of that Condominium Unit until a date
  Period of Time:             that is not less than three years following the date of the Loan Advance.
                              Thus, the Company may be required to hold one or more Condominium
                              Units for a period longer than it would otherwise choose to do. This
                              will result in more holding costs and there is a risk that prolonged
                              negative cash flow could jeopardize the investment in the
                              Condominium Units.

                              At the time that the Company desires to sell the Condominium Units,
                              there is a risk that the market may not be conducive to such sale. If the
                              credit markets are illiquid, or if general economic conditions are
  Inability to Refinance or   unfavorable, the market for the sales of Condominium Units may be
  Sell:                       limited or depressed. In such event, the investment will have to be held
                              for a longer period of time or, if there is a liquidity event, it may yield a
                              smaller return.

  Conflicts of Interest:      The General Partner of the Company and certain Principals and
                              affiliates of the General Partner currently have interests and
                              responsibilities in other companies requiring a portion of their time.
                              The General Partner and its affiliates may have interests in other
                              projects in Colorado and other locations that may seek investors for
                              other EB-5 projects. Neither the Company nor the General Partner
                              believes that except for the time required to attend to other business
                              matters, these other EB-5 activities will create any conflicts of interest
                              due to the fact that once that all of the Capital Contributions for the
                              Company have been received, the General Partner does not intend to
                              seek any new EB-5 investors for the Company.

  Limited Transferability:    There will not be a public market for the LP Interests. There will be
                              substantial restrictions on transferring interests in the Company,
                              including federal and state securities laws. Accordingly, purchasers of
                              the LP Interests may need to bear the economic risk of their investment
                              in the Company until such time as the Company is liquidated. All
                              persons acquiring the interests will be required to represent, among
                              other things, that they are purchasing such interests for their own
                              account for investment only and not with a view to the resale or
                              distribution thereof.

  Not Registered Under        The Company is not registered under, and does not intend to register
  Investment Advisers Act:    under, the Investment Adviser's Act of 1940 in reliance upon
                              exemptions from registration thereunder.

  Not Registered under        The Company is not registered under, and does not intend to register
  Investment Company Act:     under, the Investment Company Act of 1940 in reliance upon an
                              exemption from registration, available under Section 3(c)(1) thereof.



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                              There is a risk that the Securities and Exchange Commission or a court
                              might conclude that we fall within the definition of investment
                              company, and unless an exclusion were available, we would be required
                              to register under the Investment Company Act of 1940. Compliance
                              with the Investment Company Act, as a registered investment company,
                              would cause us to alter significantly our business strategy, impair our
                              ability to operate as planned and seriously harm our business. If we fail
                              to comply with the requirements of this Act, we would be prohibited
                              from engaging in business or selling securities, and could be subject to
                              civil and criminal actions for doing so. In addition, our contracts would
                              be voidable and a court could appoint a receiver to take control of and
                              liquidate our business.

  Repayment of Debt; Return   The Company’s ability to make cash distributions is dependent in part
  of Capital Contributions:   upon the success of the Project and the availability of distributions from
                              the Project to SPO and the ability of SPO to make payments to the
                              Company of interest under the Solaris Note. No Limited Partner shall
                              be entitled to withdraw or to the return of his or her Capital
                              Contributions except as provided in the Partnership Agreement, or to
                              demand and receive property other than in cash in return for his or her
                              Capital Contributions except upon dissolution of the Company per the
                              further terms of the Partnership Agreement. Each Limited Partner must
                              rely upon payments made by SPO to the Company or by sales of the
                              Condominium Units by the Company and then upon distributions by the
                              Company to the Limited Partners, at the discretion of the General
                              Partner, to the extent there are liquid assets available, for return of his or
                              her Capital Contributions. There can be no assurance, irrespective of
                              the success of the investments, that any Limited Partner will receive
                              cash or property equal to his or her investment in the Company.


  Federal Income Tax Risks:   BECAUSE THE FEDERAL INCOME TAX LAWS ARE
                              COMPLEX AND THE IMPACT ON EACH MEMBER MAY
                              VARY CONSIDERABLY DEPENDING ON THE INVESTOR’S
                              INDIVIDUAL TAX   ATTRIBUTES,  INVESTORS ARE
                              STRONGLY URGED TO CONSULT THEIR OWN TAX
                              ADVISORS BEFORE ACQUIRING THE LP INTERESTS IN
                              THE COMPANY HEREUNDER.

  Indemnification:            The Partnership Agreement provides limitations on the liability of the
                              General Partner, its affiliates and its members, officers, directors and
                              employees, and provides for indemnification of the General Partner and
                              its affiliates, members, officers, directors and employees, under certain
                              circumstances. Limited Partners may have more limited rights than
                              they would absent such limitations.

  Control:                    The Company is managed by the General Partner. The General Partner
                              will make all decisions with respect to the control and management of
                              the Company except as specifically provided in the Partnership
                              Agreement.



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  Immigration Issues:          Congress and or USCIS may change the law, regulations, or
                               interpretations of the law without notice and in a manner that may be
                               detrimental to an Investor or the Company.

                               It is impossible to predict visa-processing times. Investors should not
                               physically move to the United States until their visa has been issued.

                               Investors who obtain conditional or permanent residence status must
                               intend to make the United States their primary residence. Conditional or
                               permanent residents who continue to live abroad risk revocation of their
                               conditional or permanent residence status.

                               USCIS requires proof of direct and indirect employment creation as part
                               of the removal of conditions process. There is no assurance that the
                               actual number of direct employees and indirect job creation will be the
                               same as the number predicted in the economist’s report. Depending
                               upon the disparity there may be insufficient employment to remove
                               conditional visa status.

                               The process of obtaining conditional and permanent resident status
                               involves several factors and circumstances which are not within the
                               control of the Company. These include the Investor's past history and
                               quotas established by the United States government limiting the number
                               of immigrant visas available to qualified individuals seeking permanent
                               resident status under the EB-5 “Regional Center” program. Although
                               the Company has been structured so that each Limited Partner may
                               maximize eligibility for permanent residency under the EB-5 “Regional
                               Center” provisions of the U.S. immigration laws, no assurance can be
                               given that each Investor will obtain approval of his or her particular
                               immigrant petition. Purchase of a Unit does not guarantee conditional
                               or permanent residency in the United States. Furthermore, no advice
                               can be given that conditions to permanent residency will be removed.
                               Each prospective investor should consult competent immigration
                               counsel to review the likelihood that the Investor's Immigrant Petition
                               will be granted.

  Risks Relating to the U.S.   Investors in this Offering who have subscribed for LP Interests with the
  EB-5 Immigration Investor    intention of applying for approval of a Petition through the EB-5
  Pilot Program                program should be aware of certain risk factors involving the EB-5
                               program and its administration. A description of the risks below are
                               based on information obtained by the Company from third parties who
                               the Company believes are reliable. However, there can be no assurance
                               that such information is accurate or current or that it includes all of the
                               risks relating to the EB-5 program for such investors.

                               The Company was designated as a regional center to participate in the
                               EB-5 program on May 17, 2010. Accordingly, the personnel within the
                               Company do not have experience in administering the EB-5 program,
                               which could lead to delays for investors in the process of obtaining a



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                          conditional or permanent green card. In addition, investors will be
                          charged an administrative fee of $50,000 by the Company in connection
                          with review of the investors’ applications. If an EB-5 I-526 Petition is
                          denied by the USCIS the investor will receive a refund of only that
                          portion of the Administrative Fee that has not been expended by the
                          General Partner.

                          There are a number of areas within the State of Colorado which the
                          Company believes will be designated a “Targeted Employment Area”
                          (“TEA”) as defined in 8 CFR Section 204.6(e). Additionally, all towns
                          and cities with a population of under 20,000 will be designated as
                          TEAs. Whether or not a particular location qualifies as a TEA may
                          change from time to time depending on unemployment and census data.

                          The investment must be at risk-to qualify for the EB-5 program. As
                          part of the EB-5 I-526 Petition, an immigrant investor must show
                          evidence that he or she has placed the required amount of capital at risk
                          for the purpose of generating a return on the capital placed at risk.

                          Each investor who purchases LP Interests with the intention of
                          obtaining permanent or conditional residence from the USCIS is
                          encouraged, along with his or her advisors, to make his or her own
                          independent review of the EB-5 program and the various risk factors
                          relating to the process in obtaining an EB-5 permanent or conditional
                          residence to determine if an investment in the Units is a suitable
                          approach for such investor.

                          As part of the I-526 Petition, an investor must present to the USCIS
                          clear documentary evidence of the source of funds invested and that the
                          funds belong to the investor. Generally, the investor can satisfy the
                          source of funds requirements by submitting documents showing that he
                          or she has a level of income from legal sources that would yield
                          sufficient funds for the investment. The USCIS generally requires
                          copies of income tax returns to satisfy the source of funds requirement.
                          For investors who do not have such records, there may be other records
                          that can be provided to the USCIS by an investor to demonstrate that
                          the investment funds came from legal sources. All such matters
                          regarding the investor’s petition should be discussed with his or her
                          immigration counsel.

                          The Pilot Program requires an investor to hold a policymaking or
                          management position within the Company. The Company believes that
                          each Limited Partner is provided with the powers and duties under the
                          Limited Partnership Agreement sufficient to meet the USCIS
                          requirement that an investor is actively participating in policymaking or
                          management of a new commercial enterprise. However, either USCIS
                          or the consulate abroad issuing the immigrant visa based on an
                          approved EB-5 Petition may challenge the sufficiency of the Limited
                          Partner’s engagement.




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                                   As a “pilot,” the Regional Center Pilot Program is not yet permanent, and
                                   consequently requires periodic renewal by Congress. The Regional
                                   Center Pilot Program has been renewed several times by Congress and is
                                   currently due to expire on 30 September 2012. Because this program
                                   creates U.S. jobs and utilizes a very small quota, there has been no
                                   controversy surrounding its renewal. Congress is expected to renew this
                                   program prior to its expiration, or make the program permanent by
                                   removing its “pilot” designation. However, there is a risk that Congress
                                   may not renew, or not renew before the current expiration date.


                                       IV. POWER OF ATTORNEY

           The undersigned hereby irrevocably makes, constitutes and appoints Colorado Regional Center
  Project Solaris, LLLP, and each general partner of the Partnership, with full power of substitution its true
  and lawful attorney-in-fact in its name to execute and acknowledge (i) the Partnership Agreement in
  substantially the form enclosed herewith and to attach the limited partner execution page delivered
  herewith to such Partnership Agreement and thereby cause the undersigned to become a limited partner in
  the Partnership; (ii) any document required to effect the formation or continuation of the Partnership or
  which counsel to the Partnership deems necessary or desirable to comply with any state or federal law,
  and (iii) the Escrow Agreement. The power of attorney hereby granted is irrevocable and coupled with an
  interest and may be exercised by the attorney-in-fact for the undersigned as well as other limited partners
  of the Partnership by executing any instrument by use of the single signature of such attorney-in-fact
  acting for all the limited partners.

                                           V. MISCELLANEOUS

  A.      Indemnification. The undersigned hereby agrees to indemnify the Partnership and hold the
          Partnership harmless from and against any and all liability, damages, costs or expenses incurred
          on account of or arising out of:

          1.      Any inaccuracy in the declarations, representations, and warranties hereinabove set forth;

          2.      The disposition of any of the Partnership Interests by the undersigned, contrary to the
                  foregoing declarations, representations and warranties; and

          3.      Any action, suit or proceeding based upon (i) a claim that the herein declarations,
                  representations or warranties were inaccurate or misleading or otherwise a cause for
                  obtaining damages or redress from the Partnership; or (ii) the disposition of any of the
                  Partnership Interests or any part thereof.

  B.      Confidentiality. The undersigned acknowledges that the information contained in this
          Subscription Agreement and in the Memorandum, and which the undersigned receives orally or
          in writing from the Partnership is confidential and non-public and agrees that all such information
          shall be kept in confidence by the undersigned.

  C.      Binding Agreement. The undersigned agrees that the undersigned may not cancel, terminate or
          revoke this Subscription Agreement or any agreement of the undersigned made hereunder, and
          that this Subscription Agreement shall survive the death or disability of the undersigned and shall




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          be binding upon the heirs, successors, assigns, executors, administrators, guardians, conservators
          or personal representatives of the undersigned.

  D.      Defined Terms. Capitalized terms not defined herein shall have the meaning as in the
          Partnership Agreement.

  E.      Counterparts. This Subscription Agreement may be executed in any number of counterparts,
          each of which shall be considered an original but all of which together shall constitute one and
          the same instrument.

  F.      Severability. Every provision of this Subscription Agreement is intended to be severable. If any
          term or provision hereof is illegal or invalid for any reason whatsoever, such illegality or
          invalidity shall not affect the validity of the remainder of the Subscription Agreement.

  G.      Nonwaiver. No provision of this Subscription Agreement shall be deemed waived except if such
          waiver is contained in a written notice given to the party claiming such waiver has occurred, and
          no such waiver shall be deemed to be a waiver of any other or further obligation or liability of the
          party or parties in whose favor the waiver was given.

  H.      Applicable Law. This Subscription Agreement shall be interpreted and enforced in accordance
          with the federal laws of the United States of America and the state laws of the Colorado, without
          giving effect to principles and provisions relating to choice of law.

  I.      Entirety of Agreement. This Subscription Agreement constitutes the entire agreement among
          the parties hereto with respect to the subject matter hereof.

  J.      Additional Information. The undersigned shall supply the Partnership with such additional
          information and documentation as may be required in order to ensure compliance with applicable
          law, including, without limitation, the Securities Act and regulations promulgated thereunder.

           IN WITNESS WHEREOF, the undersigned has executed this Subscription Agreement on the
  date set forth on the signature page, and desires to take title in the Partnership Interests (check one):

          _____           a.      Individual (one signature required on the Signature Page);

          _____           b.      Husband and Wife, as community property (one [1] signature required
                          on the Signature Page if interest held in one [1] name, i.e., managing spouse;
                          two [2] signatures required on the signature Page if interest held in both names);

          _____           c.     Joint Tenants with right of survivorship (both parties must sign Signature
                          Page);

          _____           d.      Tenants in Common (both parties must sign Signature Page);


                                 SIGNATURES ON FOLLOWING PAGE




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                           If subscriber is an individual or husband and wife:

        Signature:

        Signature of Spouse:




  SUBSCRIPTION ACCEPTED this ______ day of _____________, 2011.

                                        Colorado Regional Center Project Solaris, LLLP, a Colorado
                                        limited liability limited partnership


                                        By: Colorado Regional Center I, LLC, a Colorado limited
                                        liability company, General Partner


                                            By:__________________________
                                               Name, Manager




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                                 EXHIBIT H2
                     CHARTERED SUBSCRIPTION AGREEMENT

                    [Chartered Subscription Agreement on following page.]




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  Colorado Regional Center Project Solaris, LLLP
  (a Colorado limited liability limited partnership)

                                      SUBSCRIPTION AGREEMENT

  Colorado Regional Center Project Solaris, LLLP
  5251 DTC Pkwy, Suite 1100
  Greenwood Village, CO 80111

  Prospective Investor:

          This Subscription Agreement is made by and between the Colorado Regional Center I, LLC,
  a Colorado limited liability company (the “General Partner) of Colorado Regional Center Project Solaris,
  LLLP (the “Partnership”), and the undersigned purchaser who is subscribing for the Partnership Interests
  as set forth below pursuant to the terms set forth in this Subscription Agreement. The address of the
  Partnership is 4643 S. Ulster Street, Suite 950, Denver, CO 80237.


                                               I.
                                   AGREEMENT TO PURCHASE
                              AND ADMISSION AS A LIMITED PARTNER

  A.      Purchase. Subject to the terms and conditions hereof, the undersigned hereby irrevocably agrees
          to purchase the partnership interest set forth in Subsection A (3) herein. The minimum Capital
          Contribution shall be $535,000 (USD) of which $500,000 shall be deemed a Capital Contribution
          and $35,000 shall be deemed payment for Administrative Expenses. Payment in full for the
          Partnership Interests purchased hereunder accompanies the delivery of this Subscription
          Agreement (a “Capital Contribution”).

          1.      Partnership Acceptance of Subscription Agreement. The undersigned agrees that the
                  Partnership may reject any subscription in its sole and absolute discretion, and in
                  particular, from any proposed subscriber who is not an accredited investor or who either
                  alone or with his purchaser representative fails to meet the sophistication requirements set
                  forth in Section II(A).

                  The Partnership shall notify the undersigned that it has accepted the subscription herein
                  by delivering to the undersigned a signed copy of this Subscription Agreement.

          2.      Capital Contributions. Capital Contributions shall be made payable to Colorado Regional
                  Center Project Solaris, LLLP, wired to Standard Chartered Bank (Hong Kong) Limited at
                  the address set forth below in Section 3. A copy of the fully-executed Subscription
                  Agreement and a completed corresponding Offeree Questionnaire shall be delivered to
                  the offices of the Partnership at the address listed above. In the event the subscription is
                  not accepted in whole or in part by the Partnership, the full $500,000 of the Capital
                  Contribution received and the remaining balance, if any, of the Administrative Expenses
                  will be promptly refunded to the subscriber without deduction from or interest on the
                  Capital Contribution.




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         3.      Purchase Terms:

                 AMOUNT OF SUBSCRIPTION: [$535,000.00] (USD)


                 NAME UNDER WHICH
                 TITLE SHALL BE HELD:                 _______________________________

                 SOCIAL SECURITY NUMBER
                      OR TAXPAYER ID NO.:             ________________________________
                                                                (If applicable)

                 YOU MAY WIRE YOUR CAPITAL CONTRIBUTION TO:

                                      Standard Chartered Bank (Hong Kong) Limited
                 ABA: __________________
                 Account Name: Escrow Concentration Account
                 CREDIT A/C No.: ______________
                 For Benefit of Colorado Regional Center Project Solaris, LLLP

  B.     Admittance as Limited Partner. Upon the Partnership’s acceptance of this Subscription
         Agreement and receipt of your Capital Contribution, the undersigned shall be admitted as a
         Limited Partner of the Partnership. The undersigned acknowledges the receipt of a true and
         correct copy of the Partnership Agreement and agrees to be bound by its terms. Your Capital
         Contribution shall be used to further the business purposes of the Partnership as set forth in the
         Partnership Agreement.

  C.     Investment Terms. FOR A COMPLETE DESCRIPTION OF THE INVESTMENT TERMS
         AND HOW CASH WILL BE DISTRIBUTED PLEASE REFER TO THE PARTNERSHIP
         AGREEMENT.


  EB-5 Investors.

         5.      Independent Counsel. Investor shall hire an Independent Counsel for immigration
                 processing and other legal matters. Colorado Regional Center Project Solaris, LLLP will
                 on request recommend qualified counsel for immigration processing matters. Colorado
                 Regional Center Project Solaris, LLLP shall approve the selection of immigration counsel
                 in writing in advance of retaining such counsel. Investor shall be responsible for payment
                 of all legal fees and costs incurred in connection with Investor’s I-526 and I-829
                 petitions.

         6.      Filing the Immigration Petition. Colorado Regional Center Project Solaris, LLLP shall
                 use its best efforts to assist Investor’s Counsel for the filing of the appropriate visa
                 petition, and verifying required direct and indirect employment until the removal of
                 Investor’s conditional permanent residency.

         7.      Visa Denial. If (i) the Investor’s I-526 is denied or (ii) the Investor’s application for
                 conditional permanent residency (either via an immigrant visa application or an
                 adjustment of status application) is denied for reasons related to the Project as defined in



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                the Memorandum, and a final decision is reached on the denial described in either clause
                (i) or (ii) above (meaning all administrative and judicial appeals have been exhausted,
                any such appeals undertaken solely at the election and cost of the General Partner),
                Colorado Regional Center Project Solaris, LLLP shall pay back Investor’s original
                Capital Contribution in cash within 150 days of denial, if the General Partner elects not to
                appeal, or within 150 days of final denial after exhaustion of all appeals at the General
                Partner’s election. Investor must maintain the investment until the outcome of the appeal
                is rendered if the denial is appealed. Colorado Regional Center Project Solaris, LLLP’s
                liability shall be limited to the return of Investor’s Capital Contribution only.
                Additionally, Colorado Regional Center Project Solaris, LLLP will refund the Investor’s
                Administrative Expenses at the time of the refund of the Capital Contribution. If the
                denial is based on matters relating to Investor’s personal background or financial history,
                including without limitation, Investor’s inability to prove to the appropriate governmental
                authorities the sources of funds used to invest in the Partnership, then Investor shall not
                be entitled to receive any refund of the Administrative Expenses.

        8.      Maintenance of EB-5 Interest. Colorado Regional Center Project Solaris, LLLP agrees
                that it will not sell the interest Investor relies upon for EB-5 visa approval until removal
                of Investor’s conditional permanent residence status.

                                 II. REPRESENTATIONS AND WARRANTIES

        The undersigned hereby represents and warrants to the Partnership and COLORADO
        REGIONAL CENTER PROJECT SOLARIS, LLLP as follows:

  A.    That the offer to sell the Partnership Interests was directly communicated to the undersigned by
        the Partnership through the Memorandum and meetings with the General Partner of the
        Partnership in such a manner that the undersigned was able to ask questions of and receive
        answers from the Partnership or a person acting on its behalf concerning the terms and conditions
        of this investment. At no time was the undersigned presented with or solicited by or through any
        leaflet, public promotional meeting, television advertisement or any other form of general
        solicitation or advertising.

  B.    That the undersigned is the sole and true party in interest and is not subscribing for the benefit of
        any other person. If the undersigned is a corporation, partnership or other entity, the undersigned
        was not organized for the purpose of acquiring the Partnership Interests. If the undersigned is an
        individual, he or she is twenty-one (21) years of age or over.

  C.    That the Partnership Interests are being purchased for the undersigned’s own account solely for
        investment, and with no present intention to distribute any of the Partnership Interests to any
        other person.

  D.    That the undersigned understands that the Partnership Interests are not being registered under the
        Securities Act of 1933, as amended (Securities Act) in reliance upon the so-called "private
        offering" exemption provided by Section 4(2) the Securities Act and/or Regulation D
        promulgated pursuant to the Securities Act, and that the Partnership is basing its exemption in
        part on the representations, warranties, statements and agreements contained herein and those of
        other subscribers contained in similar subscription agreements.




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  E.    That the undersigned is an Accredited Investor within the meaning of Rule 501 of Regulation D
        promulgated pursuant to the Securities Act.

        The undersigned understands that if a Purchaser Representative is used, the Purchaser
        Representative must complete, and the undersigned must review and acknowledge, a separate
        Purchaser Representative Questionnaire and Purchaser Acknowledgment, which must be returned
        to the Partnership prior to acceptance of this Subscription Agreement.

  F.    That the undersigned understands that the Partnership Interests have not been recommended by
        any federal or state securities commission or regulatory authority. Furthermore, the foregoing
        authorities have not confirmed or reviewed the accuracy or determined the adequacy of the
        information set forth in the Memorandum.

  G.    That the undersigned understands that the Partnership Interests are characterized as restricted
        securities under the Act and applicable state securities laws inasmuch as they are being acquired
        from the Partnership in a transaction not involving a public offering and that under such laws and
        applicable regulations such securities may be transferred or resold without registration under the
        Securities Act and applicable state securities laws only in certain limited circumstances.

  H.    That prior to executing this Subscription Agreement the undersigned confirms that all documents
        requested by the undersigned have been made available, and that the undersigned has been
        supplied with all of the additional information concerning this investment that has been requested.

  I.    That the undersigned has carefully considered and has, to the extent the undersigned considers
        necessary, discussed with the undersigned’s professional legal, tax and financial advisers the
        suitability of an investment in the Partnership for the undersigned’s particular tax and financial
        situation.

  J.    That the undersigned has adequate means of providing for current needs and personal
        contingencies, and is aware that an investment in the Partnership Interests is highly speculative
        and subject to substantial risks. The undersigned is capable of bearing the high degree of
        economic risk and burden of this investment, including but not limited to, the possibility of the
        complete loss of all contributed capital and the limited transferability of the Partnership Interests.

  K.    That the undersigned understands that the Partnership prepared pro formas and estimates of
        possible revenues and expenses and the possible consequent financial returns the Partnership
        could experience if such revenues and expenses were achieved. The undersigned understands
        that the Partnership is still in an early stage of development and has no history of achieving such
        revenues. The Partnership estimates are based on a good faith belief of what the Partnership can
        accomplish if it is able to obtain adequate financing and is able to commence and maintain
        operations in accordance with its current business plan. The pro formas were not prepared by any
        independent accountant and were not prepared with a view toward compliance with the
        Association of Independent Certified Accountants’ guidelines for projections. The assumptions
        and estimates are uncertain and the actual results of the Partnership will vary from the projected
        results and could vary in a materially adverse manner.

  L.    That the undersigned, in making the decision to purchase the Partnership Interests subscribed for,
        relied upon independent investigations made by the undersigned and his or her Purchaser
        Representatives (if any), and the undersigned and such representatives (if any) have, prior to any
        sale to the investor, been given access and the opportunity to examine all material books and



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         records of the Partnership, all material contracts and documents relating to this offering, and an
         opportunity to ask questions and receive answers from the Partnership or any person acting on its
         behalf concerning the terms and conditions of this offering, and an opportunity obtain any
         additional information, to the extent the Partnership possesses such information or can acquire it
         without unreasonable effort or expense, necessary to verify the accuracy of any information
         provided.

  M.     THAT THE UNDERSIGNED EITHER READS AND UNDERSTANDS ENGLISH OR
         HAD THIS SUBSCRIPTION AGREEMENT TRANSLATED BY A TRUSTED ADVISOR
         INTO A LANGUAGE THAT THE UNDERSIGNED DOES UNDERSTAND.

  N.     That each representation and warranty of the undersigned contained herein and all information
         furnished by the undersigned to the Partnership, is true, correct and complete in all respects.

                                          III. RISK FACTORS

        AN INVESTMENT IN THE PARTNERSHIP HAS CERTAIN ELEMENTS OF RISK
  DIFFERENT FROM AND/OR GREATER THAN THOSE ASSOCIATED WITH OTHER
  INVESTMENTS. THE HIGHER DEGREE OF RISK MAKES AN INVESTMENT IN THE
  PARTNERSHIP SUITABLE ONLY FOR INVESTORS (i) WHO HAVE A CONTINUING LEVEL OF
  ANNUAL INCOME AND A SUBSTANTIAL NET WORTH, (ii) WHO CAN AFFORD TO BEAR
  THOSE RISKS, (iii) WHO HAVE PREVIOUSLY MADE THE INVESTMENT OF AT LEAST WHAT
  THEY INTEND TO INVEST IN THIS PARTNERSHIP AND, (iv) WHO HAVE NO NEED FOR
  LIQUIDITY FROM THESE INVESTMENTS.         EACH INVESTOR SHOULD CONSIDER
  CAREFULLY THE RISK FACTORS ASSOCIATED WITH THIS INVESTMENT, INCLUDING,
  WITHOUT LIMITATION, THE FOLLOWING, AND SHOULD CONSULT HIS OR HER OWN
  LEGAL, TAX AND FINANCIAL ADVISORS WITH RESPECT THERETO. INVESTORS UNABLE
  OR UNWILLING TO ASSUME THE FOLLOWING RISKS, AMONG OTHERS, MUST NOT
  CONSIDER AN INVESTMENT IN THE PARTNERSHIP.

  Dependence on                  The Company will have very little active management responsibility or
  Management of SPO:             authority with respect to the management of the Project. The Company
                                 will have a note receivable from SPO, but the management of SPO will
                                 be controlled solely by Peter Knobel as the sole equity member of SPO.
                                 Additionally, the day-to-day management of the business operations of
                                 the Project will rest exclusively in the control of SPO. While the
                                 Company is confident in the abilities of SPO to manage the Project in a
                                 profitable manner based on the success of its principal, Peter Knobel, in
                                 previous commercial real estate projects, there can be no assurance that
                                 it will be successful in the management of the Project.

  The Project may not be         This is a development project and, therefore, there can be no assurance
  Completed as Scheduled:        that the Project will be constructed on the projected schedule. If there is
                                 a substantial delay, the costs of completion may be increased and there
                                 will be a delay in the generation of revenues from the operation of the
                                 Project. Additionally, any material delay may postpone the starting
                                 date for the jobs related to the Project, thereby delaying the job creation
                                 requirements of the EB-5 program. The development team has a great
                                 deal of experience in this type of development and the Project is in an
                                 advanced stage of construction at this time. Therefore, the Company



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                                 believes that absent significant unforeseen events, the Project will be
                                 constructed on time, within budget, and the related businesses
                                 operational within approximately 12 months.

  The Project may be Subject     There are a number of variables in any new construction project and
  to Cost Overruns; Failure to   there is a risk that the costs of building the Project will be greater than
  Sell Condominium Units in      the projected costs. The reasons for overruns include such matters as
  a Timely Fashion:              governmental issues, unforeseen construction problems, increases in the
                                 costs of construction materials and labor, weather, and other similar
                                 types of construction problems. If there are significant cost increases,
                                 the developers will have to provide additional funds to complete the
                                 project. The Company believes that these risks are mitigated by the
                                 inclusion of a contingency fund in the construction budget and also by
                                 the fact that the developers, architects, and general contractor have all
                                 built many similar types of projects from the ground up and have a
                                 great deal of experience in planning for the construction of similar
                                 projects, and, importantly, the Project is already in an advanced stage of
                                 construction at this time. Likewise, if SPO is unable to sell
                                 Condominium Units in a timely fashion, the holding costs related to
                                 such unsold units (such as HOA dues, property taxes, insurance, and
                                 maintenance) may be substantial and may create a financial hardship for
                                 SPO. The risks are mitigated by SPO’s financial strength and its ability
                                 to fund any likely cash shortfalls.

  Job Creation; Potential Risk   Under the terms of the EB-5 program, the project must create a
  of Loss of Visa:               minimum of 10 full-time jobs within 2.5 years following the approval
                                 of the Limited Partners’ Form I-526 Petition. These jobs may be
                                 indirect jobs, but must be filled with U.S. workers. The Company
                                 projects that there will be 2,110 direct, indirect, and induced jobs
                                 created from the operation of the Project and this number was derived
                                 from the econometric study prepared in February, 2011, by Evans,
                                 Carroll & Associates as a necessary requirement of the Colorado
                                 Regional Center application and designation. The projected job totals
                                 would be satisfactory to support 210 investors at $500,000 per investor.
                                 If there are fewer than 10 jobs created for each $500,000 investor
                                 during the 2.5-year period following the approval of the Limited
                                 Partners’ Form I-526 Petition, each of the investors risks the loss of his
                                 or her visa and may be required to return to the investor’s country of
                                 origin. The Company intends to mitigate this risk by seeking a
                                 maximum of $80,000,000 in Capital Contributions which would be
                                 supported by a total of 1,600 jobs. However, that amount may be
                                 increased given the cushion in the number of jobs expected to be
                                 created allowing the Company to increase the number of LP Interests
                                 that may be sold under applicable EB-5 rules and regulations. Further,
                                 if the econometric study is found to have significantly undercounted the
                                 number of associated jobs, the Company may increase the number of
                                 LP Interests that may be sold.

  SPO may not be Profitable      There is a risk that the Project may never become profitable and that,
  and may not Generate           therefore, SPO will not be profitable and will not have positive cash



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  Positive Cash Flow:             flow. If SPO does not experience adequate cash flow, it may not be
                                  able to make the payments on the Solaris Note. The Project is a
                                  development project and initially may have limited revenues. Because
                                  development projects, even if successful, typically generate losses
                                  during the initial investment process, it will take some time to generate
                                  profits. The Company will enter into a Management Agreement with a
                                  company affiliated with the General Partner. The management fees
                                  payable under the Management Agreement will be payable prior to the
                                  distribution of available cash flow to the Limited Partners.
                                  Additionally, the Project may not show positive cash flow so that SPO
                                  would not have sufficient cash flow to repay the Capital Contributions
                                  of the Limited Partners or any profits on the Capital Contributions.

  No Guarantee of any             The investment by the Limited Partners is an equity investment. There
  Returns to Investors; Risk of   is no obligation of any kind by either the Company nor any other person
  Foreclosure:                    or entity to pay back the amount of the Limited Partners’ Capital
                                  Contributions.      The return of each Limited Partner’s Capital
                                  Contribution as well as any additional cash flow is dependent on the
                                  ability of the Project to generate positive cash flow to SPO and SPO’s
                                  ability to make payments to the Company, and the ability to monetize
                                  the investment by selling the Condominium Units that are the collateral
                                  for the Solaris Note. If these various sources of cash prove to be
                                  insufficient to pay the expenses of the Project, then SPO may not have
                                  cash flow and may not be able to make payments to the Company of
                                  interest under the Solaris Note. In such event, the Limited Partners will
                                  receive neither a return of their investment nor any return on their
                                  investment. SPO will be required to pay HOA dues and real estate
                                  property taxes on one or more Condominium Units during the term of
                                  the Solaris Note. If SPO is unable to make such payments, there is a
                                  risk that the amount of such deficiency would be set off against interest
                                  payments due to the Company and that this would impair the
                                  Company’s ability to make distributions of the Preferred Returns
                                  Likewise, under the terms of the Amended Loan Agreement, the
                                  Company is required to reimburse SPO for any cash flow deficits from
                                  the leasing of the Condominium Units. If the Company is unable to pay
                                  any such cash flow deficits, there is a risk that the interest payments to
                                  the Company could be reduced to cover any such deficits.



  Risk of Ownership of            The market for luxury Condominium Units in the Colorado resort
  Condominium Units               communities has experienced severe pressure, especially over the past
                                  two years. The reasons for this pressure are varied, but include the
                                  world-wide recession, over-supply of units, and a lack of available
                                  credit for potential buyers. The Condominium Units at the Project are
                                  at the very high end of the luxury scale and are priced at levels that are
                                  at the highest levels of almost any other units in the Vail, Colorado,
                                  area. There is a risk that SPO may not be able to sell enough
                                  Condominium Units to generate sufficient revenues to pay the interest
                                  due to the Company under the Solaris Note and that as a result, the



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                           Company would not in turn be able to pay the Preferred Returns to the
                           Investors. Additionally, there is a risk that the prices of the units will
                           decline over the next several years resulting in an inability of the
                           Investors to sell the units for an amount sufficient to repay the amount
                           of their initial Capital Contributions.

  Pro Formas may not       The Company has reviewed carefully the pro forma financial statements
  Prove Accurate:          for the Project. These financial pro formas were prepared primarily by
                           the principals of SPO. Pro formas are projections only and should not
                           be relied upon as an accurate forecast of the financial performance of
                           the Project. There are many factors that will impact the financial
                           performance of the Project and many of these will have a material effect
                           on the ability of the Project to generate profits and positive cash flow.
                           The pro formas represent management’s good faith attempt to project
                           the financial performance of the Project and, therefore, the Company,
                           but should not be relied upon as any form of guaranty of actual results.

  Lack of Liquidity:       The Company will not be able to make cash distributions to its Limited
                           Partners unless SPO makes its payments to the Company of interest
                           under the Solaris Note. The Company believes that SPO has sufficient
                           cash reserves to enable it to make its required payments to the Company
                           in a timely fashion for the foreseeable future. However, there can be no
                           assurance that SPO will be able to sustain the required payments.
                           Additionally, if SPO elects to redeem the Solaris Note by transferring
                           ownership of one or more Condominium Units, then the Company will
                           own the units and will be required to pay Homeowners Association
                           dues, property taxes, insurance, and other expenses relating to
                           ownership of the units. Additionally, the Company intends to receive
                           additional income from the renting of the Condominium Units by SPO
                           to third parties. The Company will receive the benefit of any rental
                           income under the terms set forth in the Amended Loan Agreement. The
                           Company believes that these payments will adequately cover the
                           expenses associated with ownership of the Condominium Units. If SPO
                           fails to make its payments, however, there is a risk that the Company
                           would not be able to pay the expenses and the Company could lose
                           ownership of the units. The Company believes that SPO will be able to
                           make such payments and has further received the personal guaranty of
                           Peter Knobel with respect to such interest payments during the period
                           that any principal balance of the Solaris Note is outstanding. Therefore,
                           the Company does not believe that there is a substantial risk of default
                           in these payments. There is no market for the LP Interests and there are
                           significant restrictions on the transferability of the LP Interests.
                           Therefore, until there is a liquidity event (such as a sale of the
                           Condominium Units), the Limited Partners will not be able to monetize
                           their investment in the Company.

  Prohibition of Sale of   If the Company becomes the fee owner of a Condominium Unit, it may
  Condominium Units for    not sell or otherwise dispose of that Condominium Unit until a date not
  Period of Time:          less than three years following the date of the Loan Advance. Thus, the
                           Company may be required to hold one or more Condominium Units for



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                              a period longer than it would otherwise choose to do. This will result in
                              more holding costs and there is a risk that prolonged negative cash flow
                              could jeopardize the investment in the Condominium Units.

                              At the time that the Company desires to sell the Condominium Units,
                              there is a risk that the market may not be conducive to such sale. If the
                              credit markets are illiquid, or if general economic conditions are
                              unfavorable, the market for the sales of Condominium Units may be
  Inability to Refinance or   limited or depressed. In such event, the investment will have to be held
  Sell:                       for a longer period of time or, if there is a liquidity event, it may yield a
                              smaller return.

  Conflicts of Interest:      The General Partner of the Company and certain Principals and
                              affiliates of the General Partner currently have interests and
                              responsibilities in other companies requiring a portion of their time.
                              The General Partner and its affiliates may have interests in other
                              projects in Colorado and other locations that may seek investors for
                              other EB-5 projects. Neither the Company nor the General Partner
                              believes that except for the time required to attend to other business
                              matters, these other EB-5 activities will create any conflicts of interest
                              due to the fact that once that all of the Capital Contributions for the
                              Company have been received, the General Partner does not intend to
                              seek any new EB-5 investors for the Company.

  Limited Transferability:    There will not be a public market for the LP Interests. There will be
                              substantial restrictions on transferring interests in the Company,
                              including federal and state securities laws. Accordingly, purchasers of
                              the LP Interests may need to bear the economic risk of their investment
                              in the Company until such time as the Company is liquidated. All
                              persons acquiring the interests will be required to represent, among
                              other things, that they are purchasing such interests for their own
                              account for investment only and not with a view to the resale or
                              distribution thereof.

  Not Registered Under        The Company is not registered under, and does not intend to register
  Investment Advisers Act:    under, the Investment Adviser's Act of 1940 in reliance upon
                              exemptions from registration thereunder.

  Not Registered under        The Company is not registered under, and does not intend to register
  Investment Company Act:     under, the Investment Company Act of 1940 in reliance upon an
                              exemption from registration, available under Section 3(c)(1) thereof.
                              There is a risk that the Securities and Exchange Commission or a court
                              might conclude that we fall within the definition of investment
                              company, and unless an exclusion were available, we would be required
                              to register under the Investment Company Act of 1940. Compliance
                              with the Investment Company Act, as a registered investment company,
                              would cause us to alter significantly our business strategy, impair our
                              ability to operate as planned and seriously harm our business. If we fail
                              to comply with the requirements of this Act, we would be prohibited
                              from engaging in business or selling securities, and could be subject to



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                              civil and criminal actions for doing so. In addition, our contracts would
                              be voidable and a court could appoint a receiver to take control of and
                              liquidate our business.

  Repayment of Debt; Return   The Company’s ability to make cash distributions is dependent in part
  of Capital Contributions:   upon the success of the Project and the availability of distributions from
                              the Project to SPO and the ability of SPO to make payments to the
                              Company of interest under the Solaris Note. No Limited Partner shall
                              be entitled to withdraw or to the return of his or her Capital
                              Contributions except as provided in the Partnership Agreement, or to
                              demand and receive property other than in cash in return for his or her
                              Capital Contributions except upon dissolution of the Company per the
                              further terms of the Partnership Agreement. Each Limited Partner must
                              rely upon payments made by SPO to the Company or by sales of the
                              Condominium Units by the Company and then upon distributions by the
                              Company to the Limited Partners, at the discretion of the General
                              Partner, to the extent there are liquid assets available, for return of his or
                              her Capital Contributions. There can be no assurance, irrespective of
                              the success of the investments, that any Limited Partner will receive
                              cash or property equal to his or her investment in the Company.


  Federal Income Tax Risks:   BECAUSE THE FEDERAL INCOME TAX LAWS ARE
                              COMPLEX AND THE IMPACT ON EACH MEMBER MAY
                              VARY CONSIDERABLY DEPENDING ON THE INVESTOR’S
                              INDIVIDUAL TAX   ATTRIBUTES,  INVESTORS ARE
                              STRONGLY URGED TO CONSULT THEIR OWN TAX
                              ADVISORS BEFORE ACQUIRING THE LP INTERESTS IN
                              THE COMPANY HEREUNDER.

  Indemnification:            The Partnership Agreement provides limitations on the liability of the
                              General Partner, its affiliates and its members, officers, directors and
                              employees, and provides for indemnification of the General Partner and
                              its affiliates, members, officers, directors and employees, under certain
                              circumstances. Limited Partners may have more limited rights than
                              they would absent such limitations.

  Control:                    The Company is managed by the General Partner. The General Partner
                              will make all decisions with respect to the control and management of
                              the Company except as specifically provided in the Partnership
                              Agreement.

  Immigration Issues:         Congress and or USCIS may change the law, regulations, or
                              interpretations of the law without notice and in a manner that may be
                              detrimental to an Investor or the Company.

                              It is impossible to predict visa-processing times. Investors should not
                              physically move to the United States until their visa has been issued.

                              Investors who obtain conditional or permanent residence status must



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                               intend to make the United States their primary residence. Conditional or
                               permanent residents who continue to live abroad risk revocation of their
                               conditional or permanent residence status.

                               USCIS requires proof of direct and indirect employment creation as part
                               of the removal of conditions process. There is no assurance that the
                               actual number of direct employees and indirect job creation will be the
                               same as the number predicted in the economist’s report. Depending
                               upon the disparity there may be insufficient employment to remove
                               conditional visa status.

                               The process of obtaining conditional and permanent resident status
                               involves several factors and circumstances which are not within the
                               control of the Company. These include the Investor's past history and
                               quotas established by the United States government limiting the number
                               of immigrant visas available to qualified individuals seeking permanent
                               resident status under the EB-5 “Regional Center” program. Although
                               the Company has been structured so that each Limited Partner may
                               maximize eligibility for permanent residency under the EB-5 “Regional
                               Center” provisions of the U.S. immigration laws, no assurance can be
                               given that each Investor will obtain approval of his or her particular
                               immigrant petition. Purchase of a Unit does not guarantee conditional
                               or permanent residency in the United States. Furthermore, no advice
                               can be given that conditions to permanent residency will be removed.
                               Each prospective investor should consult competent immigration
                               counsel to review the likelihood that the Investor's Immigrant Petition
                               will be granted.

  Risks Relating to the U.S.   Investors in this Offering who have subscribed for LP Interests with the
  EB-5 Immigration Investor    intention of applying for approval of a Petition through the EB-5
  Pilot Program                program should be aware of certain risk factors involving the EB-5
                               program and its administration. A description of the risks below are
                               based on information obtained by the Company from third parties who
                               the Company believes are reliable. However, there can be no assurance
                               that such information is accurate or current or that it includes all of the
                               risks relating to the EB-5 program for such investors.

                               The Company was designated as a regional center to participate in the
                               EB-5 program on May 17, 2010. Accordingly, the personnel within the
                               Company do not have experience in administering the EB-5 program,
                               which could lead to delays for investors in the process of obtaining a
                               conditional or permanent green card. In addition, investors will be
                               charged an administrative fee of $50,000 by the Company in connection
                               with review of the investors’ applications. If an EB-5 I-526 Petition is
                               denied by the USCIS the investor will receive a refund of only that
                               portion of the Administrative Fee that has not been expended by the
                               General Partner.

                               There are a number of areas within the State of Colorado which the
                               Company believes will be designated a “Targeted Employment Area”



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                          (“TEA”) as defined in 8 CFR Section 204.6(e). Additionally, all towns
                          and cities with a population of under 20,000 will be designated as
                          TEAs. Whether or not a particular location qualifies as a TEA may
                          change from time to time depending on unemployment and census data.

                          The investment must be at risk-to qualify for the EB-5 program. As
                          part of the EB-5 I-526 Petition, an immigrant investor must show
                          evidence that he or she has placed the required amount of capital at risk
                          for the purpose of generating a return on the capital placed at risk.

                          Each investor who purchases LP Interests with the intention of
                          obtaining permanent or conditional residence from the USCIS is
                          encouraged, along with his or her advisors, to make his or her own
                          independent review of the EB-5 program and the various risk factors
                          relating to the process in obtaining an EB-5 permanent or conditional
                          residence to determine if an investment in the Units is a suitable
                          approach for such investor.

                          As part of the I-526 Petition, an investor must present to the USCIS
                          clear documentary evidence of the source of funds invested and that the
                          funds belong to the investor. Generally, the investor can satisfy the
                          source of funds requirements by submitting documents showing that he
                          or she has a level of income from legal sources that would yield
                          sufficient funds for the investment. The USCIS generally requires
                          copies of income tax returns to satisfy the source of funds requirement.
                          For investors who do not have such records, there may be other records
                          that can be provided to the USCIS by an investor to demonstrate that
                          the investment funds came from legal sources. All such matters
                          regarding the investor’s petition should be discussed with his or her
                          immigration counsel.

                          The Pilot Program requires an investor to hold a policymaking or
                          management position within the Company. The Company believes that
                          each Limited Partner is provided with the powers and duties under the
                          Limited Partnership Agreement sufficient to meet the USCIS
                          requirement that an investor is actively participating in policymaking or
                          management of a new commercial enterprise. However, either USCIS
                          or the consulate abroad issuing the immigrant visa based on an
                          approved EB-5 Petition may challenge the sufficiency of the Limited
                          Partner’s engagement.

                          As a “pilot,” the Regional Center Pilot Program is not yet permanent, and
                          consequently requires periodic renewal by Congress. The Regional
                          Center Pilot Program has been renewed several times by Congress and is
                          currently due to expire on 30 September 2012. Because this program
                          creates U.S. jobs and utilizes a very small quota, there has been no
                          controversy surrounding its renewal. Congress is expected to renew this
                          program prior to its expiration, or make the program permanent by
                          removing its “pilot” designation. However, there is a risk that Congress
                          may not renew, or not renew before the current expiration date.



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                                       IV. POWER OF ATTORNEY

           The undersigned hereby irrevocably makes, constitutes and appoints Colorado Regional Center
  Project Solaris, LLLP, and each general partner of the Partnership, with full power of substitution its true
  and lawful attorney-in-fact in its name to execute and acknowledge (i) the Partnership Agreement in
  substantially the form enclosed herewith and to attach the limited partner execution page delivered
  herewith to such Partnership Agreement and thereby cause the undersigned to become a limited partner in
  the Partnership; (ii) any document required to effect the formation or continuation of the Partnership or
  which counsel to the Partnership deems necessary or desirable to comply with any state or federal law,
  and (iii) the Escrow Agreement. The power of attorney hereby granted is irrevocable and coupled with an
  interest and may be exercised by the attorney-in-fact for the undersigned as well as other limited partners
  of the Partnership by executing any instrument by use of the single signature of such attorney-in-fact
  acting for all the limited partners.

                                           V. MISCELLANEOUS

  A.      Indemnification. The undersigned hereby agrees to indemnify the Partnership and hold the
          Partnership harmless from and against any and all liability, damages, costs or expenses incurred
          on account of or arising out of:

          1.      Any inaccuracy in the declarations, representations, and warranties hereinabove set forth;

          2.      The disposition of any of the Partnership Interests by the undersigned, contrary to the
                  foregoing declarations, representations and warranties; and

          3.      Any action, suit or proceeding based upon (i) a claim that the herein declarations,
                  representations or warranties were inaccurate or misleading or otherwise a cause for
                  obtaining damages or redress from the Partnership; or (ii) the disposition of any of the
                  Partnership Interests or any part thereof.

  B.      Confidentiality. The undersigned acknowledges that the information contained in this
          Subscription Agreement and in the Memorandum, and which the undersigned receives orally or
          in writing from the Partnership is confidential and non-public and agrees that all such information
          shall be kept in confidence by the undersigned.

  C.      Binding Agreement. The undersigned agrees that the undersigned may not cancel, terminate or
          revoke this Subscription Agreement or any agreement of the undersigned made hereunder, and
          that this Subscription Agreement shall survive the death or disability of the undersigned and shall
          be binding upon the heirs, successors, assigns, executors, administrators, guardians, conservators
          or personal representatives of the undersigned.

  D.      Defined Terms. Capitalized terms not defined herein shall have the meaning as in the
          Partnership Agreement.

  E.      Counterparts. This Subscription Agreement may be executed in any number of counterparts,
          each of which shall be considered an original but all of which together shall constitute one and
          the same instrument.




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  F.      Severability. Every provision of this Subscription Agreement is intended to be severable. If any
          term or provision hereof is illegal or invalid for any reason whatsoever, such illegality or
          invalidity shall not affect the validity of the remainder of the Subscription Agreement.

  G.      Nonwaiver. No provision of this Subscription Agreement shall be deemed waived except if such
          waiver is contained in a written notice given to the party claiming such waiver has occurred, and
          no such waiver shall be deemed to be a waiver of any other or further obligation or liability of the
          party or parties in whose favor the waiver was given.

  H.      Applicable Law. This Subscription Agreement shall be interpreted and enforced in accordance
          with the federal laws of the United States of America and the state laws of the Colorado, without
          giving effect to principles and provisions relating to choice of law.

  I.      Entirety of Agreement. This Subscription Agreement constitutes the entire agreement among
          the parties hereto with respect to the subject matter hereof.

  J.      Additional Information. The undersigned shall supply the Partnership with such additional
          information and documentation as may be required in order to ensure compliance with applicable
          law, including, without limitation, the Securities Act and regulations promulgated thereunder.

           IN WITNESS WHEREOF, the undersigned has executed this Subscription Agreement on the
  date set forth on the signature page, and desires to take title in the Partnership Interests (check one):

          _____           a.      Individual (one signature required on the Signature Page);

          _____           b.      Husband and Wife, as community property (one [1] signature required
                          on the Signature Page if interest held in one [1] name, i.e., managing spouse;
                          two [2] signatures required on the signature Page if interest held in both names);

          _____           c.     Joint Tenants with right of survivorship (both parties must sign Signature
                          Page);

          _____           d.      Tenants in Common (both parties must sign Signature Page);

                                 SIGNATURES ON FOLLOWING PAGE




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  If subscriber is an individual or husband and wife:

          Signature:

          Signature of Spouse:




  SUBSCRIPTION ACCEPTED this ______ day of _____________, 2011.

                                           Colorado Regional Center Project Solaris, LLLP, a Colorado
                                           limited liability limited partnership


                                           By: Colorado Regional Center I, LLC, a Colorado limited
                                           liability company, General Partner


                                               By:__________________________
                                                  Name, Manager




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                                          EXHIBIT I
                                      SOURCES AND USES



           Uses of Funds
           Hard Costs                                      $                  224,656,377
           Soft Costs                                      $                   51,474,962
           Contingency                                     $                   15,479,632
           Hard Cost Overruns                              $                   10,077,578
           Mezzanine Financing Interest                    $                   38,104,380
           CRC Condominium Furnishings                     $                    2,000,000
           Acquisition (Land)                              $                   33,902,295
           Total Uses of Funds                             $                375,695,224

           Sources of Funds
           Owner Equity*                                   $                   73,444,133
           EB-5 Proceeds / Additional Owner Equity **      $                   80,000,000
           Presales Closed (Including Retained Deposits)   $                  135,251,091
           Senior Mezzanine                                $                   52,500,000
           Junior Mezzanine                                $                   34,500,000
           Total Sources of Funds                          $                375,695,224

           *Includes approximately $23.5 million in Metropolitan District Bonds, which
           will be serviced through incremental property tax revenue.

           ** Amounts that cannot be raised through EB-5 investments have been or will be
           funded with additional Owner Equity.




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                                   EXHIBIT J
              LIMITED LIABILITY LIMITED PARTNERSHIP AGREEMENT

               [Limited Liability Limited Partnership Agreement on following page]




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                  LIMITED LIABILITY LIMITED PARTNERSHIP AGREEMENT
                                          OF
                  COLORADO REGIONAL CENTER PROJECT SOLARIS, LLLP
                  A COLORADO LIMITED LIABILITY LIMITED PARTNERSHIP

           This Agreement is made by and among Colorado Regional Center I, LLC, a Colorado Limited
  Liability Company, (the "General Partner") and each of the persons set forth in Exhibit A attached hereto
  and designated as Limited Partners (the "Limited Partners"). The Limited Partners and the General
  Partners are collectively referred to as the "Partners."


                                               AGREEMENT

                                         ARTICLE I
                              FORMATION OF LIMITED PARTNERSHIP

           Section 1.01. Formation. The undersigned hereby form COLORADO REGIONAL CENTER
  PROJECT SOLARIS, LLLP, a Colorado limited liability limited partnership, under the revised Uniform
  Limited Partnership Act of the State of Colorado, as amended from time to time (the "Act"), to lend funds
  to Solaris Property Owner, LLC, a Delaware limited liability company (“SPO”), the owner and operator
  of a residential and commercial real estate project commonly known as Solaris, located in Vail, Colorado.

          Section 1.02. Name. The name of the Limited Partnership is "COLORADO REGIONAL
  CENTER PROJECT SOLARIS, LLLP,” a Colorado limited liability limited partnership (the “Limited
  Partnership”). The General Partner may from time to time change the name of the Limited Partnership to
  adopt such trade or fictitious names as it may determine to be appropriate.

           Section 1.03. Principal Office of the Limited Partnership. The principal office of the Limited
  Partnership shall be at 4643 S. Ulster Street, Suite 950, Denver, Colorado 80237. The Limited
  Partnership may maintain offices at such other location as may be determined appropriate by the General
  Partner.

           Section 1.04. Name and Place of Residence of Each Partner. The name, address, Capital
  Contribution, and number of Units of each of the Partners are designated on the attached Exhibit A. The
  name and address of the General Partner is Colorado Regional Center I, LLC located at 4643 S. Ulster
  Street, Suite 950, Denver, Colorado 80237.

          Section 1.05. Term. The term of the Limited Partnership shall commence upon filing of the
  Certificate of Limited Partnership in the office of the Colorado Secretary of State and shall continue until
  the Limited Partnership is dissolved, wound up and terminated in accordance with the provisions of this
  Agreement and the Act.

          Section 1.06. Designated Agents for Service of Process. The Limited Partnership elects and
  appoints Chester P. Schwartz, 4643 S. Ulster Street, Suite 950, Denver, Colorado 80237, as the
  designated agent for service of process.




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                                                 ARTICLE II
                                                DEFINITIONS

          The following terms used in the Agreement shall have the meaning specified below:

        Section 2.01. "Act" means the Uniform Limited Partnership Act of the State of Colorado, as
  amended from time to time.

         Section 2.02. "Additional General Partner" means a person or entity, if any, that serves as a
  General Partner in addition to Colorado Regional Center I, LLC.

           Section 2.03. “Administrative Expenses” means those expenses incurred by the General Partner
  in connection with the sale of Interests including specifically and without limitation, certain marketing,
  travel, legal and accounting fees, referral and related fees, and the legal fees of a Limited Partner incurred
  in preparation of such Limited Partner’s I-526 petition (up to a maximum of $15,000 and provided that
  the General Partner approves the selection of the legal counsel).

          Section 2.04. "Affiliate" means any person who directly or indirectly through one or more
  intermediaries, controls or is controlled by, or is under common control of the General Partner or Limited
  Partners.

          Section 2.05. "Agreement" means this Agreement, as it may be amended from time to time.

           Section 2.06. "Assignee" means a person who has acquired all or any portion of a Limited
  Partner's Interest in the Limited Partnership and has not been admitted as a Limited Partner.

           Section 2.07. "Available Cash Flow" means funds provided from operation of the Limited
  Partnership (including the funds provided from any Capital Event, but specifically excluding any
  payments received by the Limited Partnership as a result of any prepayment of the SPO Note), without
  deduction for depreciation, but after deducting funds used to pay all expenses and debts of the Limited
  Partnership, including administrative operational expenses, management fees, debt payments, capital
  improvements, and less the amount set aside by the General Partner, in the exercise of its sole discretion,
  for reserves.

          Section 2.08. "Capital Account" means that as defined in Section 4.04 herein.

         Section 2.09. "Capital Contribution" means the total amount of money or property contributed to
  the Limited Partnership by each Partner (excluding any amounts contributed for Administrative
  Expenses).

           Section 2.10. "Capital Event" The refinance, sale, exchange or other disposition of the Project or
  any portion thereof, including an involuntary conversion or condemnation of real property or any portion
  thereof.

          Section 2.11. "Code" means the Internal Revenue Code of 1986, as amended from time to time.




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           Section 2.12. “Condominium Unit” means each of the 79 residential condominium units located
  at the Project.

           Section 2.13. "Deficit Capital Account" means the situation whereby the Limited Partnership has
  distributed to a Partner distributions in excess of such Partners capital contributions plus allocable share
  of income less allocable share of loss and any other charges allowable under this Agreement, resulting in
  such Partner's capital account falling below zero.

          Section 2.14. "General Partner" means Colorado Regional Center I, LLC and/or any other Person
  admitted as a General Partner pursuant to the Agreement and their successors.

          Section 2.15. "Interest” or “Limited Partnership Interest" or “Partnership Interest” means the
  ownership interest of a Partner in the Limited Partnership at any particular time, including the right of
  such Partner to any and all benefits to which such Partner may be entitled as provided in the Agreement
  and in the Act, together with the obligations of such Partner to comply with all the terms and provisions
  of the Agreement and the Act.

          Section 2.16. "Limited Partner" means each Limited Partner listed on Exhibit A and any person
  admitted to the Limited Partnership as a Limited Partner.

       Section 2.17. "Limited Partnership" means COLORADO REGIONAL CENTER PROJECT
  SOLARIS, LLLP.

          Section 2.18. "Limited Partnership Property" means all the real and personal property owned by
  the Limited Partnership, including specifically and without limitation, the SPO Note and any real or
  personal property securing the SPO Note which may be or may become owned by the Limited
  Partnership.

          Section 2.19. “LP Interest” means the Partnership Interest of a Limited Partner.

          Section 2.20. "Net Proceeds from a Capital Event" The net proceeds derived by the Limited
  Partnership from a capital event after payment or allowance for the expenses incurred in connection with
  such Capital Event and after payment or allowance for existing indebtedness, the discharge of any other
  expenses or liabilities of the Limited Partnership and the establishment of appropriate reserves, all as
  determined by the General Partner, in its sole discretion.

          Section 2.21. "Partners" means collectively the General Partners and the Limited Partners, and a
  reference to a Partner shall be to any one of the Partners.

          Section 2.22. "Person" means any natural person, partnership, corporation, association or other
  legal entity.

           Section 2.23. "Positive Capital Account" means that the balance of a Partner's Capital Account is
  greater than zero.

          Section 2.24. "Profit or Loss" means the income or loss of the Limited Partnership as determined
  by the method of accounting chosen by the General Partner and permitted by the Code.




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          Section 2.25. "Project" means the real property and improvements consisting of 79 residential
  condominium units and approximately 70,000 square feet of commercial space, all known as “Solaris”
  located in Vail, Colorado.

          Section 2.26. “SPO Note” means the Promissory Note executed by SPO in favor of the Limited
  Partnership in the form as attached hereto as Exhibit B.

          Section 2.27. "Subscription Agreement" means the agreement signed by each Limited Partner in
  connection with his or her Capital Contribution to the Limited Partnership.

          Section 2.28. “Units” or “Partnership Interests” means each Partner’s percentage of ownership in
  the Partnership as set forth adjacent to his or her name in Exhibit A.

                                     ARTICLE III
              PURPOSE, BUSINESS AND POWERS OF THE LIMITED PARTNERSHIP

          Section 3.01. Purpose and Business of the Limited Partnership. The business of the Limited
  Partnership shall be to lend funds to SPO. In addition, the business of the Limited Partnership shall be to
  undertake all necessary actions in the General Partner’s sole discretion to preserve the immigration
  benefits of the Limited Partners, including without limitation, investing in additional or alternate projects
  consistent with the requirements of the EB-5 Program, as described in the related Confidential
  Information Memorandum. The Loan to SPO will be evidenced by the SPO Note and the SPO Note will
  be secured by one or more deeds of trust (the “Deeds of Trust”). Each Deed of Trust will grant to the
  Limited Partnership a security interest in one or more Condominium Units, free and clear of all liens and
  encumbrances except for matters of record approved by the Limited Partnership. The Limited Partnership
  will further manage all income received from the SPO Note. If at any time the Limited Partnership
  becomes the owner of a Condominium Unit, then the business of the Limited Partnership will further
  include the management of the real and personal property then owned by the Limited Partnership.

          Section 3.02. Powers. The Limited Partnership is hereby authorized:

                  (1)      To acquire, manage and operate Limited Partnership Property and to hold
  it for economic gain;

                  (2)      To mortgage, sell, lease, transfer and exchange or otherwise convey or
  encumber all or part of the Limited Partnership Property in furtherance of any and all of the objectives of
  Limited Partnership business; and

                  (3)      To enter into, perform and carry out contracts of any kind necessary to, or
  in connection with or incidental to, the operation of Limited Partnership Property.

                                             ARTICLE IV
                                       CAPITAL CONTRIBUTIONS

          Section 4.01. Capital Contributions; Administrative Expenses.




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                    (1)    Each of the Limited Partners' Capital Contributions is set forth on Exhibit A.
  The Limited Partners shall own collectively 99% of the Limited Partnership and the General Partner shall
  own 1% of the Limited Partnership. Each Limited Partner shall own his or her pro rata share of the 99%
  total Limited Partnership Interests determined by dividing each Limited Partner’s Capital Contribution by
  99% of the total of all Capital Contributions contributed by all Limited Partners. For example, by way of
  illustration, if there are 40 Limited Partners, each of whom has contributed $500,000 in Capital
  Contributions, each Limited Partner will own a 2.475% interest in the Limited Partnership (40 X
  $500,000 =$20,000,000;          $20,000,000         X99% =$19,800,000;         $19,800,000/40 =$495,000;
  $495,000/19,800,000 =2.475%). The Limited Partners shall have no obligation to make additional
  Capital Contributions. In exchange for its Interest in the Limited Partnership, the General Partner has
  made an initial Capital Contribution of cash and certain soft costs. The General Partner shall have no
  obligation to the Limited Partnership or the Partners to make additional Capital Contributions, except for
  the General Partner’s obligation set forth in Section 6.02.

           Section 4.02. Return and Withdrawal of Capital. No Partner shall have the right to demand
  Limited Partnership Property. Further, no Partner shall have any right to withdraw or make a demand for
  the withdrawal of any of such Partner's Capital Contribution (or the capital interest reflected in such
  Partner's Capital Account) until the full and complete winding up and liquidation of the Limited
  Partnership.

          Section 4.03. Administrative Expenses. Each Limited Partner shall pay the sum of $50,000 as an
  Administrative Expense. The Administrative Expense shall be in addition to the Capital Contribution and
  shall not be deemed to be a Capital Contribution.

          Section 4.04. Partner Capital Accounts. An individual Capital Account shall be maintained for
  each Partner in accordance with the requirements of the Code. Except as required by the Code, the
  Capital Account of each Partner shall consist of his Capital Contribution, as increased by any contribution
  of capital subsequent to his original contribution, and by such Partner's share of Limited Partnership
  income and gain allocated after the date hereof to such Partner, and as decreased by the amount of all cash
  and the fair market value of all property and assets distributed to such Partner, the amount of all losses
  allocated after the date hereof to such Partner, and any amounts charged under Section 4.05 and/or
  Section 10.08 to such Partner.

           Section 4.05. Interest on Capital Contributions. No interest shall be paid to a Partner on Capital
  Contributions. Non-cumulative simple interest will be charged by the Limited Partnership to a Partner on
  the sum of any amounts charged to such Partner’s Capital Account from obligations to the Limited
  Partnership or a General Partner arising under Section 10.08. The interest charged will be computed on a
  calendar year compounded basis at a rate equal to the prime rate of interest from time to time announced
  by Wells Fargo Bank to be its "prime rate", such interest to be collected by reduction of any distributions
  payable to the Partner immediately following the calculation of the year’s interest by the General Partner.
  To the extent that there are no distributions against which the interest can be applied, then the interest will
  be charged to the Partner’s Capital Account. This Section 4.05 will survive the termination of a Partner’s
  status as a Partner.

         Section 4.06. Minimum Capital Contribution. The minimum Capital Contribution by any
  Limited Partner in the Limited Partnership shall be $500,000.




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                                           ARTICLE V
                                    COMPENSATION FOR SERVICES

           Section 5.01. General Partner’s Fees. The General Partner will not directly charge management
  fees to the Limited Partnership. The Limited Partnership will enter into a management contract (the
  “Management Contract”) with Waveland EB-5 Management, LLC, a Colorado limited liability company
  (“Waveland Management”). Waveland Management is a wholly-owned subsidiary of Waveland
  Ventures, LLC, the parent company of the General Partner. Under the terms of the Management
  Contract, in consideration of the performance by Waveland Management of certain management and
  servicing duties, Waveland Management will be entitled to receive an annual management fee equal to
  2% of the total Capital Contributions to the Limited Partnership (the “Management Fee”), payable
  quarterly from Available Cash Flow only. If there is not Available Cash Flow sufficient to pay the
  Management Fee, then the amount payable shall accrue and bear interest at the rate of 6% per annum and
  shall be payable from Available Cash Flow. Additionally, the General Partner may pass on actual costs of
  operations to the Limited Partnership. However, under no circumstance will such costs be deducted from
  the Limited Partners’ Capital Contributions and will derive entirely from Available Cash Flow.

          Section 5.02. General Partner’s Interest. In consideration of the contribution of cash and other
  services rendered to the Limited Partnership, the General Partner will receive a 1% Interest in the Limited
  Partnership. The General Partner will be entitled to receive from Available Cash Flow certain additional
  payments as set forth in Section 6.02 below.

                                          ARTICLE VI
                                 ALLOCATIONS AND DISTRIBUTIONS

          Section 6.01. Allocation of income, gain, deductions and loss.

                  Except for any special allocations required or permitted by the United States Tax Code to
  ensure that all allocations hereunder have substantial economic effect, all items of income, gain,
  deductions and loss shall be allocated to the Partners in the same manner as their proportionate share of
  Available Cash Flow and Net Proceeds from a Capital Event as set forth below in Section 6.02. Any non
  cash items of income or expense (such as depreciation or amortization) will be allocated in accordance
  with each Partner’s Interest in the Partnership.

          Section 6.02.    Distributions of Available Cash Flow; Usage of Condominium Units.

                           (a)     General Partner Distribution and Limited Partner Distribution. If the
  Limited Partnership incurs expenses that exceed the amount received for Administrative Expenses, and if
  such excess amounts are paid by the General Partner, then the excess amounts shall be paid by the
  General Partner. No such excess amounts, if any, shall be paid from Capital Contributions. If the
  Limited Partnership incurs expenses that are less than the amount received for Administrative Expenses,
  then the General Partner shall be entitled to a distribution of such excess amounts as an organizational fee.
  The Limited Partners shall be entitled to receive an annual cash return on their initial Capital
  Contributions (the “Preferred Return”) out of Available Cash Flow to the extent available for distribution
  at the discretion of the General Partner. The amount of the Preferred Return is set forth in Exhibit A.
  After such time as the Limited Partners receive the Preferred Return, the Limited Partners shall be entitled




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  to receive Cash Available for Distribution equal to their total aggregate Capital Contributions. At such
  time as the Limited Partners have received payments equal to their total Capital Contributions, then all
  remaining Cash Available for Distribution (including the proceeds, if any, from a Capital Event) shall be
  distributed 30% to the Limited Partners and 70% to the General Partner.

                           (b)      Partner Distributions. Any distribution to the Partners will be distributed
  to each Partner an amount equal to the total amount of any such distribution multiplied by the ratio of
  each Partner’s Interest over the total Limited Partnership Interests in the Limited Partnership held by all
  Partners. Distributions shall be made semi-annually and may only be made out of the accumulated
  balance of the operating profits (specifically excluding any prepayments of the SPO Note) of the Limited
  Partnership.

            Section 6.03. Deficit Capital Accounts at Liquidation. The Limited Partners shall have no
  liability to the Limited Partnership, to the General Partners, or to the creditors of the Limited Partnership
  on account of any deficit balance in their Capital Accounts upon liquidation of the Limited Partnership,
  provided, however, that any Partner for whom any charges have been made to his Capital Account by
  reason of the obligations described in Section 4.05 and/or Section 10.08 is required to pay to the Limited
  Partnership the amount of any negative balance in his Capital Account, but such payment shall not exceed
  the sum of the obligations under Section 4.05 and Section 10.08. This Section 6.03 will survive the
  termination of a Partner’s status as a Partner. A Partner must also pay any attorneys' or accountants’ fees
  actually and reasonably incurred by the Limited Partnership or a General Partner in collecting amounts
  under this proviso from the Partner.

           Section 6.04. Income Tax Distributions. To the extent that the Limited Partnership is earning
  income which will result in the Partners being subject to income tax on their distributive share of the
  Limited Partnership's income, minimum distributions shall be made to the Partners in such amounts and
  at such times (but in no event later than March 31 each year) as shall be sufficient to enable the Partners
  to meet income tax liability arising or incurred as a result of their Partnership Interests in the Limited
  Partnership. For the purposes of such distribution, it shall be assumed that the Partners are taxable at the
  then highest applicable U.S. individual federal, state and local rates, in Denver, Colorado. Any such
  distribution shall be made on a nondiscriminatory basis to all Partners pro rata in accordance with their
  respective Limited Partnership Interests. Such distributions shall be made based on the annual taxable
  income of the Limited Partnership without regard for the individual income tax liabilities of the individual
  Partners.

           Section 6.05. Usage of Condominium Units. Beginning on the date of the execution of the SPO
  Note, each Limited Partner shall be entitled to the use of a Condominium Unit on the terms and
  conditions set forth in the attached Exhibit C. The parties acknowledge and agree that the specific terms
  and conditions set forth in Exhibit C may be changed from time to time by the General Partner without a
  vote of the Limited Partners. The General Partner shall notify the Limited Partners of any changes to the
  terms and conditions set forth in Exhibit C.

                                                ARTICLE VII
                                                 EXPENSES

         Section 7.01. Limited Partnership Expenses. The Limited Partnership shall pay all costs and
  expenses of the Limited Partnership which may include, but are not limited to the list below. However,




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  under no circumstance will any such cost or expense be deducted from the Limited Partners’ Capital
  Contributions.

                  (1)     All costs of personnel employed by the Limited Partnership;

                  (2)      All costs of borrowed money including repayment of advances to the Partnership
  made by a Partner which shall be paid monthly and amortized over five years at an interest rate equal to
  the prime rate of interest from time to time announced by Wells Fargo Bank to be its "prime rate" plus
  5%, taxes and assessments on Limited Partnership Property;

                  (3)     Legal, audit, accounting, brokerage and other fees;

                    (4)    Printing and other expenses and taxes incurred in connection with the
  issuance, distribution, transfer, registration and recording of documents evidencing ownership of an
  Interest in the Limited Partnership or in connection with the business of the Limited Partnership;

                   (5)     Fees and expenses paid to contractors, mortgage bankers, brokers and services,
  leasing agents, consultants, on-site managers, real estate brokers, insurance brokers and other agents,
  including Affiliates of any General Partner;

                   (6)     Expenses in connection with the acquisition, preparation, operation,
  improvement, development, disposition, replacement, alteration, repair, remodeling, refurbishment,
  leasing, and financing and refinancing of Limited Partnership Property.

                  (7)     The cost of insurance obtained in connection with the business of the Limited
  Partnership;

                  (8)     Expenses of organizing, revising, amending, converting, modifying or
  terminating the Limited Partnership;

                (9)    Expenses in connection with distributions made by the Limited Partnership to,
  and communications and bookkeeping and clerical work necessary in maintaining relations with, Limited
  Partners;

                 (10)     Expenses in connection with preparing and mailing reports required to be
  furnished to Partners for required tax reporting, or other purposes which the General Partner deems
  appropriate;

                   (11)   Costs incurred in connection with any litigation, including any examination or
  audits by regulatory agencies;

                 (12)     Costs of preparation and dissemination of informational material and
  documentation relating to potential sale, refinancing or other disposition of Limited Partnership Property;

                  (13)    The Management Fee; and




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                 (14)     Costs of compliance with reporting requirements imposed by USCIS or related
  governmental entities with respect to compliance with the EB-5 program as it may be amended from time
  to time.

                                    ARTICLE VIII
                POWERS, RIGHTS AND OBLIGATIONS OF GENERAL PARTNERS

          Section 8.01. General Authority and Powers of the General Partner. The General Partner shall
  have the exclusive right and power to manage, operate and control the Limited Partnership and to do all
  things and make all decisions necessary or appropriate to carry on the business and affairs of the Limited
  Partnership. In addition to the specific rights and powers herein granted to the General Partners, the
  General Partner shall possess and enjoy and may exercise all the rights and powers of a general partner as
  provided in the Act, including the full and exclusive power and authority to act for and to bind the
  Limited Partnership. The scope of the General Partner's power and authority shall encompass all matters
  connected with or incident to the business of the Limited Partnership, including but not limited to the
  power and authority:

                 (1)      To spend and or invest the capital and revenue of the Limited Partnership to
  maximize return to the Limited Partnership, including the acquisition of the Limited Partnership Property;

                  (2)     To manage, sell, develop, purchase, mortgage, improve, operate and dispose of
  Limited Partnership Property, including to act on behalf of the Limited Partnership with respect to any
  Limited Partnership or joint venture in which the Limited Partnership participates;

                   (3)     To employ persons, firms and/or corporations for the sale, operation,
  management, syndication and development of Limited Partnership Property, including but not limited to
  sales agents, broker-dealers, attorneys and accountants;

                 (4)      To employ agents, attorneys, accountants, engineers and other consultants or
  contractors who may be Affiliates of a General Partner; however, any employment of such persons must
  be on terms not less favorable to the Limited Partnership than those offered by unaffiliated persons for
  comparable services in the same area;

                   (5)      To acquire and or sell personal or real property owned by the Limited Partnership
  or in which the Limited Partnership has an interest, lease real property, borrow on a secured or unsecured
  basis in the name of the Limited Partnership, grant Partnership property as security for a loan to the
  Partnership, hire and fire employees, to sign any documents required on behalf of the Limited Partnership,
  without the signatures or consents of the Limited Partners, required to carry out the duties of the General
  Partner, and all other acts necessary, appropriate, or helpful for the operation of the Limited Partnership
  business;

                   (6)     To appoint representatives to manage the day-to-day operations of the Limited
  Partnership, including specifically, the appointment of Waveland EB-5 Management, LLC;

                  (7)     To execute, acknowledge and deliver any and all instruments to effectuate any of
  the foregoing powers and any other powers granted to the General Partner under the laws of the State of
  Colorado or other provisions of this Agreement;




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   (8)    To enter into and to execute agreements for employment or services, as well as any other
  agreements and all other instruments the General Partner deems necessary or appropriate to own, sell,
  improve, operate and dispose of Limited Partnership Property or to effectively and properly perform its
  duties or exercise its powers hereunder;

                   (9)      To enter into such agreements and contracts with parties and to give such
  receipts, releases and discharges, with respect to the business of the Limited Partnership, which the
  General Partner, in its sole discretion, deems advisable or appropriate;

                  (10)    To purchase, at the expense of the Limited Partnership, such liability and other
  insurance as the General Partner, in its sole discretion, deems advisable to protect the Limited
  Partnership's assets and business; however, the General Partner shall not be liable to the Limited
  Partnership or the other Partners for failure to purchase any insurance, including earthquake insurance,
  unless such act or omission constitutes gross negligence or willful misconduct by a General Partner
  within the meaning of Section 8.04;

                   (11) To sue and be sued, complain, defend, settle, and/or compromise, with respect to
  any claim in favor of or against the Limited Partnership, in the name and on behalf of the Limited
  Partnership; and

                  (12)    To grant Limited Partnership real or personal property as security for a loan to
  the Limited Partnership, and sign all documents required to grant such security interests in Limited
  Partnership Property, without the signatures or consents of the Limited Partners.

           Section 8.02. Right of Public to Rely on Authority of General Partner. No person, firm,
  corporation, or governmental authority dealing with the Limited Partnership or any Limited Partnership or
  joint venture for which the Limited Partnership is a general partner or otherwise authorized to act, shall be
  required to inquire into the authority of the General Partner to take any action, make any decision, or sign
  and deliver any document, instrument or deed. The General Partner does not require an authorizing
  resolution from the Partners in order to grant Limited Partnership Property as security for an obligation of
  the Limited Partnership.

           Section 8.03. Time Devoted to Limited Partnership; Other Ventures. The General Partner shall
  devote so much of their time to the business of the Limited Partnership as in its judgment the conduct of
  the Limited Partnership's business reasonably requires. The General Partner may engage in business
  ventures and activities of any nature and description independently or with others, whether or not in
  competition with the business of the Limited Partnership, and neither the Limited Partnership nor any of
  the other Partners shall have any rights in and to such independent ventures and activities or the income or
  profits derived there from by reason of the acquisition of Interests in the Limited Partnership.

          Section 8.04. Liability of General Partners to Limited Partners and Limited Partnership. In
  carrying out their duties and exercising the powers hereunder, the General Partners shall
  exercise reasonable skill, care and business judgment. A General Partner shall not be liable to the
  Limited Partnership or the Limited Partners for any act or omission performed or omitted by them in good
  faith pursuant to the authority granted to them by this Agreement unless such act or omission constitutes
  gross negligence or willful misconduct by that General Partner. In exercising their powers hereunder, the
  General Partner recognizes its fiduciary responsibility to the Limited Partnership as set forth in Section




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  8.06 hereof. The General Partner shall be entitled to rely on the advice of counsel and public accountants
  experienced in any matter at issue, and shall not be liable, responsible or accountable in damages or
  otherwise to the Limited Partnership, or any Limited Partner for any action taken or failure to act on
  behalf of the Limited Partnership in good faith and in reliance on any such advice.

           Section 8.05. Indemnification. The Limited Partnership shall indemnify and hold harmless the
  General Partner from any loss or damage, including attorneys' fees actually and reasonably incurred by
  them, by reason of any act performed by them on behalf of the Limited Partnership or in furtherance of
  the interests of the Limited Partnership; provided, however, that such indemnification or agreement to
  hold harmless shall be recoverable only out of the assets of the Limited Partnership and not from the
  Limited Partners. The foregoing indemnity shall extend only to acts or omissions performed or omitted
  by a General Partner in good faith and in the belief that the acts or omissions were in the Limited
  Partnership's interests, or not opposed to the best interests of the Limited Partnership and which are not a
  result of negligence or willful or wanton misconduct on the part of that General Partner.

          Section 8.06. Fiduciary Responsibility. The General Partners shall have a fiduciary
  responsibility for the safekeeping and use of all funds and assets of the Limited Partnership.


                                            ARTICLE IX
                                    STATUS OF LIMITED PARTNERS

          Section 9.01. Participation in Management. Except as specifically provided herein, no single
  Limited Partner shall control the Limited Partnership's business or management or have any right or
  authority to act for or on the behalf of, or otherwise bind, the Limited Partnership (except a Limited
  Partner who may also be a General Partner and then only in its capacity as General Partner within the
  scope of its authority hereunder). Notwithstanding the above, the Limited Partners shall form an advisory
  committee to consult and advise the General Partner with respect to the partnership business as may be
  permitted under the laws of the state of Colorado.

          Section 9.02. Limitation of Liability. No Limited Partner shall have any personal liability
  whatever, whether to the Limited Partnership, to any Partners or to the creditors of the Limited
  Partnership, for the debts or obligations of the Limited Partnership or any of its losses beyond his Capital
  Contribution set forth opposite his name in Exhibit A attached hereto; provided, however, that any Partner
  for whom any charges have been made to his Capital Account by reason of the obligation described in
  Section 6.04, Section 4.05, and/or Section 10.08 is required to reimburse the Limited Partnership for the
  amount of any negative balance in his Capital Account, but such reimbursement shall not exceed the sum
  of the Partner’s obligations under Section 4.05 and Section 10.08. This Section 9.02 will survive the
  termination of a Partner’s status as a Partner. A Partner must also pay any attorneys' or accountants’ fees
  actually and reasonably incurred by the Limited Partnership or a General Partner in collecting amounts
  under this proviso from the Partner.

          Section 9.03. Death or Incapacity of Limited Partner. The death, legal incapacity, dissolution,
  termination, merger, consolidation or bankruptcy of a Limited Partner shall not cause dissolution of the
  Limited Partnership, but the rights of such Limited Partner to share in the profits and losses of the Limited
  Partnership, to receive distributions from the Limited Partnership and to assign an Interest in the Limited
  Partnership shall, on the happening of such an event, devolve upon such Limited Partner's executor,




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  administrator, guardian, conservator, or other legal representative or successor, as the case may be,
  subject to the terms and conditions of this Agreement, and the Limited Partnership shall continue as a
  Limited Partnership. However, in any such event such legal representative or successor, or any assignee
  of such legal representative or successor shall be admitted to the Limited Partnership as a Limited Partner
  only in accordance with and pursuant to all of the terms and conditions of Article XI hereof.

           Section 9.04. Recourse of Limited Partners. Each Limited Partner shall look solely to the
  Limited Partnership for all distributions with respect to the Limited Partnership and his Capital
  Contribution thereto and share of profits and losses thereof and shall have no recourse therefore, upon
  dissolution or otherwise, against the General Partners or any other Limited Partner.

          Section 9.05. No Right to Property. No Limited Partner shall have any right to demand or
  receive any distribution from the Limited Partnership in any form other than cash, upon dissolution or
  otherwise.

         Section 9.06. Voting Rights of Limited Partners. Subject to the provisions of Article VIII, the
  Limited Partners owning Interests constituting in the aggregate at least two-thirds of the Interests of all
  Limited Partners unless stated otherwise may, without the concurrence of the General Partners and in
  accordance with Section 12.02 hereof, remove the General Partner for cause and admit a substitute
  General Partner.

          Section 9.07. Meetings of Limited Partners.

                   (1)     Meetings of the Limited Partners to vote upon any matters on which the approval
  or consent of the Limited Partners is required or on which the Limited Partners are authorized to take
  action under this Agreement may be called at any time by the General Partner and shall be called by the
  General Partner within ten (10) days after receipt of a written request for such a meeting signed by one or
  more Limited Partners owning Interests constituting in the aggregate more than 51% of the Interests of all
  Limited Partners. Any such request shall state the purpose of the proposed meeting and the matters
  proposed to be acted upon at such meeting, including a verbatim statement of the wording of any
  proposed amendment to this Agreement. Meetings shall be held at the principal office of the Limited
  Partnership or at such place as may be designated by the General Partners or, if the meeting is called upon
  the written request of Limited Partners, as designated by such Limited Partners.

                   (2)      Notification of any meeting to be held pursuant to this Section 9.07 shall be
  given not less than ten (10) days nor more than sixty (60) days before the date of the meeting, to each
  Limited Partner at his record address, or at such other address which he may have furnished in writing to
  the General Partner. Such notice shall be in writing; shall state the place, date and hour of the meeting;
  and shall indicate that the notice is being issued at or by the direction of the Partner or Partners calling the
  meeting. The notice shall state the purpose or purposes of the meeting and the matters proposed to be
  acted upon at such meeting, including a verbatim statement of the wording of any proposed amendment to
  this Agreement. If a meeting is adjourned to another time and place, and if an announcement of the
  adjournment of time or place is made at the meeting, it shall not be necessary to give notice of the
  adjourned meeting. No notice of the time, place or purpose of any meeting of Limited Partners need be
  given to any Limited Partner who attends in person or is represented by proxy, except for a Limited
  Partner attending a meeting for the express purpose of objecting at the beginning of the meeting to the
  transaction or any business on the ground that the meeting is not lawfully called or convened, or to any




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  Limited Partner entitled to such notice who, in a writing executed and filed with the records of the
  meeting, either before or after the time thereof, waives such notice.

                   (3)     For the purpose of determining the Limited Partners entitled to notice of, or to
  vote at, any meeting or any adjournment thereof, or to vote by written consent without a meeting, the
  General Partners or the Limited Partners requesting such meeting or vote may fix, in advance, a date as
  the record date for any such determination of Limited Partners. Such date shall not be more than sixty
  (60) days nor less than ten (10) days before any such meeting or submission of a matter to the Limited
  Partners, the date on which notice of the meeting or submission of the matter to the Limited Partners for a
  vote by written consent is mailed shall be the record date for such determination of Limited Partners.

                  (4)     Each Limited Partner may authorize any person or persons to act for him by
  proxy with respect to any matter in which a Limited Partner is entitled to participate, whether by waiving
  notice of any meeting, or voting or participating at a meeting. Each proxy must be signed by the Limited
  Partner. No proxy shall be valid after the expiration of twelve (12) months from the date thereof unless
  otherwise provided in the proxy. Every proxy shall be revocable by the Limited Partner executing it.

                   (5)     Any matter for which the approval or consent of the Limited Partners is required
  or for which the Limited Partners are authorized to take action under this Agreement or under applicable
  law may be approved or action may be taken by the Limited Partners without a meeting and shall be as
  valid and effective as action taken by the Limited Partners at a meeting assembled, if written consents to
  such action by the Limited Partners are signed by the Limited Partners owning Interests constituting in
  the aggregate the Interests required to approve or otherwise authorize such action, and such written
  consents are delivered to the General Partners.

                  (6)      Personal presence of the Limited Partners shall not be required at any meeting,
  provided an effective written consent to or rejection of the action proposed to be taken at such meeting is
  submitted to the General Partner. Attendance by a Limited Partner and voting in person at any meeting
  shall revoke any written consents or rejections of such Limited Partner submitted with respect to action
  proposed to be taken at such meeting.

                  (7)     Failure to vote either in person, by proxy or by written consent at a duly called
  meeting upon receipt of notice as provided for in this Article IX on matters for which approval of the
  Limited Partners are required by this Agreement shall be counted as an affirmative vote.

                                      ARTICLE X
                      BOOKS AND RECORDS, ACCOUNTING, REPORTS AND
                             STATEMENTS AND TAX MATTERS

          Section 10.01. Books and Records. The General Partner shall, at the expense of the Limited
  Partnership, keep and maintain, or cause to be kept and maintained, the books and records of the Limited
  Partnership using the method of accounting chosen by the General Partner. All books and records of the
  Limited Partnership shall be kept at the principal office of the Limited Partnership.

           Section 10.02. Annual Accounting Period. All books and records of the Limited Partnership
  shall be kept on the basis of an annual accounting period ending December 31 of each year, except for the
  final accounting period which shall end on the date of termination of the Limited Partnership. All




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  references herein to the "fiscal year of the Limited Partnership" are to the annual accounting period
  described in the preceding sentence, whether the same shall consist of twelve months or less.

         Section 10.03. General Partner's Reports to Limited Partners. The General Partner shall send at
  Limited Partnership expense to each Limited Partner the following:

                   (1)      After the end of each fiscal year of the Limited Partnership, such information as
  shall be necessary for the preparation by such Limited Partner of his federal income tax return which shall
  include a computation of the distributions of such Limited Partner and the allocation to such Limited
  Partner of profits or losses, as the case may be; and

                    (2)      A reasonable time after the end of each fiscal year of the Limited Partnership, an
  annual report, which shall include an income statement for and balance sheet of the Limited Partnership
  as of the fiscal year end.

            Section 10.04. Right to Examine Records. Limited Partners shall be entitled, upon written
  request directed to the General Partner, to (a) review the records of the Limited Partnership at all
  reasonable times and at the location where such records are kept by the Limited Partnership and (b) obtain
  a list of the names and addresses of the Limited Partners.

         Section 10.05. Tax Matters Partner. The tax matters partner of the Limited Partnership shall be
  the General Partner.

          Section 10.06. Tax Returns. The General Partner shall, at Limited Partnership expense, from
  Available Cash Flow, cause the Limited Partnership to prepare and file a United States Limited
  Partnership Return of Income and all other tax returns required to be filed by the Limited Partnership for
  each fiscal year of the Limited Partnership.

           Section 10.07. Tax Elections and Adjustments. The General Partner is authorized to cause the
  Limited Partnership to make, forego or revoke such elections or adjustments for federal income tax
  purposes as it deems necessary or advisable in its sole discretion, provided such elections or adjustments
  are consistent with federal income tax rules and principles, including but not limited to, in the event of a
  transfer of all or part of the Limited Partnership Interest of any Partner, an election pursuant to Section
  754 of the Code to adjust the basis of the assets of the Limited Partnership or any similar provision
  enacted in lieu thereof. The Partners will, upon request, supply any information necessary to properly give
  effect to any such election or adjustment.

          Section 10.08. Federal Income Tax Withholding. In the event any of the Partners are subject to
  Federal Income Tax withholding, the General Partner is authorized to withhold any sums required by the
  Internal Revenue Code even if such withholding conflicts with any of the terms and conditions of this
  Agreement or otherwise affects distributions, allocations or payments to the Partners. In the event that the
  General Partner learns of a withholding obligation subsequent to the distribution to which the withholding
  obligation relates, the General Partner will issue an invoice to the Partner. If the invoice is not paid
  within sixty (60) days, the General Partner will charge the amount against the Partner’s Capital Account.
  This Section 10.08 will survive the termination of a Partner’s status as a Partner.




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                                     ARTICLE XI
                     TRANSFERS OF LIMITED PARTNERSHIP INTERESTS;
                    WITHDRAWAL AND ADMISSION OF LIMITED PARTNERS

          Section 11.01. General Prohibition. No Limited Partner may voluntarily, or involuntarily,
  directly or indirectly, sell, transfer, assign, pledge or otherwise dispose of, or mortgage, pledge,
  hypothecate or otherwise encumber, or permit or suffer any encumbrance of, all or any part of his Interest
  in the Limited Partnership, except as provided in this Article XI. Any other purported sale, transfer,
  assignment, pledge or encumbrance shall be null and void and of no force or effect whatsoever.

         Section 11.02. No withdrawal of Limited Partner. No Limited Partner shall have the right to
  withdraw from the Limited Partnership except as otherwise provided in this Agreement.

          Section 11.03. Transfers by Limited Partners.

                  (1)       Subject to any restrictions on transferability required by law or contained
  elsewhere in this Agreement, a Limited Partner may transfer his entire Interest in the Limited Partnership
  upon satisfaction of the following conditions:

                            (a)     The transfer shall (A) be by bequest or by operation of the laws of
  intestate succession, or (B) be approved in writing by the General Partner, which approval shall be
  withheld only if, in the reasonable judgment of the General Partner, the proposed transfer does not
  comply with the requirements of this Article XI, would jeopardize the status of the Limited Partnership
  as a Limited Partnership for federal income tax purposes, or would violate, or cause the Limited
  Partnership to violate, any applicable law or governmental rule or regulation, including without limitation,
  any applicable federal or state securities law and federal immigration laws pertaining to EB-5
  classification;

                          (b)     The transferor and transferee shall have executed and acknowledged
  such instruments as the General Partner may deem necessary or desirable to effect such transfer;

                           (c)    The transferor and transferee shall have provided, if requested by any
  General Partner, an opinion of counsel indicating that, in the opinion of said counsel, such
  transfer would not jeopardize the status of the Limited Partnership as a Limited Partnership for federal
  income tax purposes, and would not violate, nor cause the Limited Partnership to violate, any applicable
  law or governmental rule or regulation, including without limitation, any applicable federal or state
  securities law and federal immigration laws pertaining to EB-5 classification; and

                          (d) The transferor has made all Capital Contributions to the Limited Partnership
  in accordance with Article IV hereof and has no further obligation to the Limited Partnership beyond his
  Capital Contribution as described in Section 9.02.

                    (2)    At the time of a transfer of any Limited Partner's Interest, whether or not such
  transfer is made in accordance with this Section 11.03, all the rights possessed as a Limited Partner in
  connection with the transferred Interest, which rights otherwise would be held either by the transferor or
  transferee, shall terminate against the Limited Partnership unless the transferee is admitted to the Limited
  Partnership as a Limited Partner pursuant to the provisions of Section 11.04 hereof; provided, however,




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  that if the transfer is made in accordance with this Section 11.03, such transferee shall be entitled to
  receive distributions to which the transferor would otherwise be entitled as of the effective date of such
  transfer, which date shall be specified by the General Partner and shall be no later than the last day of the
  calendar month following the first calendar month during which the General Partner has received notice
  of the transfer and all conditions precedent to such transfer provided for in this Agreement have been
  satisfied. The Limited Partnership and the General Partner shall be entitled to treat the transferor as the
  recognized owner of such Interests until such effective date and shall incur no liability for distributions
  made in good faith to the transferor prior to the effective date.

                  (3)     In the event a Limited Partner transfers all of his Interest in the Limited
  Partnership, the transferor will cease to be a Limited Partner. The transferring Limited Partner
  acknowledges that such a transfer may make him or her ineligible for any benefit conferred under the
  Immigration and Nationality Act to EB-5 investors. The transferring Limited Partner is hereby advised to
  seek independent immigration counsel prior to effecting a transfer.

                   (4)    If a General Partner purchases the Interest of a Limited Partner, such Interest
  shall be treated as a Limited Partnership Interest with respect to all allocations and distributions of the
  Limited Partnership.

                   (5)      A transfer by a Limited Partner, including transfers of all or less than all rights
  hereunder, shall not relieve the transferor of obligations under this Agreement.

                   (6)      Each of the Limited Partners, by executing this Agreement, hereby covenants and
  agrees that he will not, in any event, sell or distribute his Interest in the Limited Partnership or any portion
  thereof unless, in the opinion of counsel to the Limited Partner (which counsel and opinion shall be
  satisfactory to counsel for the General Partner) such Interest in the Limited Partnership may be legally
  sold or distributed in compliance with applicable federal and state securities laws.

                   (7)      Notwithstanding any other provision of this Agreement, a Limited Partner may
  not transfer his Interest in any case if such a transfer, when aggregated with all other transfers within a
  twelve (12) month period, would cause the termination of the Limited Partnership as a Limited
  Partnership for federal income tax purposes pursuant to Section 708 of the Code, unless such transfer
  shall be expressly approved by the General Partner.

          Section 11.04. Admission of Transferees as Limited Partners.

                   (1)     No transferee of a Limited Partner shall be admitted as a Limited Partner unless
  all of the following conditions have been satisfied:

                           (a)      The transfer complies with Section 11.03 and the transferor Limited
  Partner gives the transferee the right to become a Limited Partner;

                           (b)     The prospective transferee has executed an instrument, in form and
  substance satisfactory to the General Partner, accepting and agreeing to be bound by all the terms and
  conditions of this Agreement, including the power of attorney set forth in Article XIV hereof, and has
  paid all expenses of the Limited Partnership in effecting the transfer;




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                         (c)   All requirements of the Act regarding the admission of a transferee
  limited partner have been complied with by the transferee, the transferring Limited Partner, and the
  Limited Partnership;

                            (d)     Such transfer is effected in compliance with all applicable state and
  federal securities laws; and

                           (e)      The transferee executes all documents reasonably required by the
  General Partner.

                    (2)     In the event of a transfer complying with all the requirements of Section 11.03
  hereof and the transferee being admitted as a Limited Partner pursuant to this Section 11.04, the General
  Partner, for himself as a General Partner and for each Limited Partner pursuant to the Power of Attorney
  granted by each Limited Partner, shall execute and file an amendment to this Agreement. Unless named
  in this Agreement, as amended from time to time, no person shall be considered a Partner; and the
  Limited Partnership, each Partner, and any other person having business with the Limited Partnership
  need deal only with Partners so named and shall not be required to deal with any other person by reason
  of a transfer by, or by reason of the death of, a Partner, except as otherwise expressly provided herein.

                                      ARTICLE XII
                      TRANSFERS OF GENERAL PARTNERSHIP INTERESTS;
                     WITHDRAWAL AND ADMISSION OF GENERAL PARTNERS

          Section 12.01. Withdrawal of General Partner. The General Partner may withdraw from the
  Limited Partnership by giving the Limited Partners written notice of withdrawal at least sixty (60) days
  prior to the effective date of the withdrawal. A General Partner who withdraws from the Limited
  Partnership may sell its Interest only in accordance with the procedures and limitations of Section 12.03
  hereof. In the event there is no such sale, or until such time as there is such a sale, a General Partner who
  has withdrawn shall have the same rights and be subject to the same limitations as a General Partner that
  has been removed pursuant to the provisions of Section 12.03 hereof, and the interest of the withdrawn
  General Partner may be acquired by the other General Partners or by the Limited Partners in accordance
  with the procedures set forth in Section 12.03 hereof.

          Section 12.02. Removal, Bankruptcy, Dissolution, Death or Incompetency of General Partner. A
  General Partner shall cease to be a General Partner of the Limited Partnership upon the removal,
  bankruptcy, dissolution, death or incompetency of the General Partner and any General Partner may be
  removed by the vote of the Limited Partners, under Section 9.06 above, only for cause. For purposes of
  this Section 12.02, the term "cause" shall mean acts of the General Partner which constitute larceny,
  fraud, or a crime involving moral turpitude.

          Section 12.03. Transfer by General Partner; Admission of Additional or Successor General
  Partners. A General Partner may transfer his Interest, or any part thereof, and an additional or successor
  General Partner, as the case may be, shall be admitted to the Limited Partnership as follows:

                  (1)      If a General Partner desires to sell, transfer or assign its Interest in the Limited
  Partnership to another then existing General Partner, such General Partner must obtain the consent of all
  of the other General Partners, if any, before effecting such sale or transfer. If the Partner desiring to sell,




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  transfer or assign its interest is the General Partner, then a majority of the other General Partners, if there
  are three or more General Partners, and, if not, then two-thirds of the Limited Partners, must agree as to
  who is to become the new General Partner before the proposed sale, transfer or assignment can be
  effected.

                   (2)      Except as provided in Section 12.03(3), if a General Partner desires to sell,
  transfer or assign its Interest in the Limited Partnership to a person or entity who is not then a General
  Partner, such transfer shall be permitted if, and only if, the proposed transferee is approved as a successor
  General Partner as follows:

                          (a)     The admission of the transferee as a successor General Partner shall have
  been consented to by the other General Partners, and if none, by a two-thirds vote of the Limited Partners;

                         (b)     If the proposed transferee is a non-natural person, it shall have provided
  the Limited Partnership evidence satisfactory to counsel for the Limited Partnership of its authority to
  become a General Partner;

                          (c)  In the event that one or more General Partners shall be so designated and
  approved, this Agreement shall be appropriately amended to provide for the participation of such
  additional General Partners.

          Notwithstanding the above, the General Partner shall have the absolute right to assign to any third
  party all or any portion of its right to receive cash flow distributions from the Limited Partnership
  provided that the General Partner remains as a General Partner.


                   (3)     Upon action taken by the Limited Partners to remove a General Partner in
  accordance with Section 9.06 and subject to Section 12.02, Limited Partners owning Interests
  constituting in the aggregate two-thirds of the Interests of all Limited Partners may, without the
  concurrence of the General Partners, admit to the Limited Partnership one or more additional General
  Partners to replace the General Partner(s) to be removed. In the event that one or more additional General
  Partners shall be so admitted, this Agreement shall be appropriately amended to provide for the
  participation of such additional General Partners.

                   (4)      Notwithstanding any other provision of this Agreement, the General Partners
  may not transfer any Interest in any case if such transfer, when aggregated with all other transfers within a
  twelve (12) month period, would cause the termination of the Limited Partnership as a Limited
  Partnership for federal income tax purposes pursuant to Section 708 of the Code unless such transfer shall
  be approved by Limited Partners owning Interest constituting in the aggregate a majority of the Interests
  of all Limited Partners in the Limited Partnership.

            Section 12.04. Continuing Liability. In the event a General Partner withdraws from the Limited
  Partnership or sells, transfers or assigns its entire Interest pursuant to the provisions of this Agreement,
  such General Partner shall be, and shall remain, liable for all obligations and liabilities incurred by the
  General Partner prior to the effective date of such occurrence and shall be free of any obligation or
  liability incurred on account of the activities of the Limited Partnership from and after such effective date.




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          Section 12.05. Additional Conditions to Admission of General Partners. Notwithstanding any
  other provision of this Agreement, no additional or successor General Partner may be admitted to the
  Limited Partnership and no right of the Limited Partners to consent to or approve such admission shall
  have any effect whatsoever or be exercisable until and unless prior to such exercise the Limited
  Partnership shall have received an opinion of counsel satisfactory to the Limited Partners (as hereinafter
  provided) to the effect that the giving of consent of the Limited Partners to such admission will not
  adversely affect the classification of the Limited Partnership as a Limited Partnership for federal income
  tax purposes. For purposes of this Section 12.05, an opinion of counsel will be deemed satisfactory to the
  Limited Partners if approved in writing by Limited Partners owning Interests constituting in the aggregate
  a majority of the Interests of all Limited Partners.

           Section 12.06. Purchase of Interest(s) of General Partners. Upon the removal, bankruptcy,
  dissolution, death or incompetency of a General Partner, the Limited Partnership Interest(s) of the General
  Partner(s) (hereinafter, for purposes of Sections 12.02 and 12.06, referred to as the "Terminated General
  Partner(s)") shall be purchased by the Limited Partnership for a purchase price determined in accordance
  with Section 12.07 hereof. The purchase price of such Interest(s) shall be paid by the Limited Partnership
  to the Terminated General Partner(s) or his/their representative either, at the option of the Limited
  Partnership, in cash or by a promissory note of the Limited Partnership payable to such Terminated
  General Partner(s) or his representative in a face amount equal to said purchase price and containing
  provisions as would be usual and customary in a commercial promissory note, including provisions for
  interest at a rate equal to the prime rate of interest from time to time announced by Wells Fargo Bank to
  be its "prime rate", such interest to be payable at the time of each installment of principal, which shall be
  payable in five (5) annual installments or as the Terminated General Partner(s) or his representative and
  the Limited Partnership may otherwise agree.

           Section 12.07. Purchase Price of a Terminated General Partner(s) Interest. The fair market value
  of the Terminated General Partner(s)' Interest(s), for any reason other than for removal for cause, to be
  purchased by the Limited Partnership in accordance with Section 12.06 above shall be determined by
  agreement between the Terminated General Partner(s) or his representative and the Limited Partnership.
  If the Terminated General Partner(s) or his representative and the Limited Partnership cannot agree upon
  the fair market value of such Limited Partnership Interest(s) within 90 days after the date of the
  Terminated General Partner(s) removal, bankruptcy, dissolution, death or incompetency, then the
  purchase price shall be the General Partner's percentage interest of the appraised value of the Limited
  Partnership's assets and business, valued as a going concern without a minority discount determined as
  soon as possible after the end of the 90-day period above. In the event of removal for cause the purchase
  price of the terminated General Partner(s) interest shall be based on the formula set forth in this paragraph
  except that the value of any distributions to Limited Partners paid to the General Partner shall be reduced
  to zero.


                                       ARTICLE XIII
                         DISSOLUTION, WINDING UP AND TERMINATION

           Section 13.01. Events Causing Dissolution. The Limited Partnership shall be dissolved and its
  affairs shall be wound up upon the happening of the first to occur of any of the following events:

                  (1)      Expiration of the term of the Limited Partnership stated in Section 1.05 hereof;




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                   (2)     Entry of a decree of judicial dissolution pursuant to the Act;

                   (3)     The sale or other disposition of all or substantially all of the assets of the Limited
  Partnership;

                   (4)     The removal, bankruptcy, dissolution, death or incompetency of the General
  Partner(s), unless:

                           (a)    At the time of the occurrence of any of such events there is at least one
  other additional or successor General Partner, in which case the business of the Limited Partnership shall
  be carried on by the remaining General Partner(s); or

                           (b)     Within 90 days of the occurrence of any such event, all Partners agree in
  writing to continue the business of the Limited Partnership and to the appointment of one or more General
  Partner(s) who shall succeed to all of the management rights and responsibilities of the General Partner(s)
  hereunder.

         Section 13.02. Bankruptcy of General Partner(s). For the purposes of this Agreement, the
  "bankruptcy" of a General Partner shall mean any of the following:

                   (1)     The General Partner makes an assignment for the benefit of creditors;

                   (2)     The General Partner files a voluntary petition in bankruptcy;

                   (3)     The General Partner is adjudicated as bankrupt or insolvent;

                 (4)     The General Partner files a petition or answer seeking any reorganization,
  arrangement, composition, readjustment, liquidation, dissolution, or similar relief under any statute, law
  or regulation;

                   (5)      The General Partner files an answer or other pleading admitting or failing to
  contest the material allegations of a petition filed against such Partner in any proceedings of
  the nature described in (4) above;

                    (6)      The General Partner seeks, consents to, or acquiesces in the appointment of a
  trustee, receiver, or liquidator of such Partner or of all or any substantial part of such Partner's properties;

                   (7)     The expiration of 90 days after the commencement of any proceeding against the
  General Partner seeking reorganization, arrangement, composition, readjustment, liquidation, dissolution,
  or similar relief under any statute, law, or regulation, provided the proceeding has not been dismissed
  within such 90 day period; or

                  (8)    The expiration of 60 days after the appointment without such General Partner's
  consent or acquiescence of a trustee, receiver, or liquidator of the General Partner or all or any substantial
  part of such General Partner's properties, provided the appointment is not vacated or stayed within such




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  60 day period, or if stayed within such 60 day period, then the expiration of sixty (60) days after the
  expiration of any such stay, provided the appointment is not vacated within such 60 day period.

           Section 13.03. Winding Up. Upon dissolution of the Limited Partnership for any reason, he
  General Partner, or any other party (the "Liquidator") designated by vote or written consent of Limited
  Partners owning Interests constituting in the aggregate a majority of the Interests of all Limited Partners,
  if required, shall commence to wind up the affairs of the Limited Partnership and to liquidate its assets.
  The Partners shall continue to share income, gains, expenses, losses and all other items during the period
  of liquidation in the same proportion as before the dissolution. The Liquidator shall have the full right and
  unlimited discretion to determine the time, manner and terms of any sale or sales of Limited Partnership
  Property pursuant to such liquidation. Pending such sales, the Liquidator or such other party shall have
  the right to continue to operate and otherwise deal with the assets of the Limited Partnership. A
  reasonable time shall be allowed for the orderly winding up of the business of the Limited Partnership and
  the liquidation of its assets and the discharge of its liabilities to creditors so as to enable the Liquidator to
  minimize the normal losses attendant upon a liquidation, having due regard to the activity and condition
  of the relevant markets for the Limited Partnership Property and general financial and economic
  conditions. Any Partner may be a purchaser of the Property of the Limited Partnership upon liquidation,
  including, without limitation, any liquidation conducted pursuant to a judicial dissolution or otherwise
  under judicial supervision; provided, however, that the purchase price and terms of sale are fair and
  reasonable to the Limited Partnership.

          Section 13.04. Distributions. The proceeds of liquidation and any other funds of the Limited
  Partnership shall be distributed in the order of priority set forth in Article VI above.

           Section 13.05. Certificate of Cancellation; Report; Termination. Upon the dissolution and
  commencement of winding up of the Limited Partnership, the General Partner shall execute and file a
  certificate of cancellation of the Limited Partnership. Within a reasonable time following the completion
  of the liquidation of the Limited Partnership's assets, the General Partner or such other party shall prepare
  and furnish to each Partner, at the expense of the Limited Partnership, a statement that sets forth the assets
  and liabilities of the Limited Partnership as of the date of complete liquidation and the amount of each
  Partner's distribution pursuant to Article VI hereof. Upon completion of the liquidation and distribution
  of all Limited Partnership funds, the Limited Partnership shall terminate and the General Partner shall
  have the authority to execute and file all documents required to effectuate the termination of the Limited
  Partnership.

           Section 13.06. Rights of Limited Partners to Return of Capital Contribution. Beginning on a date
  three years following the date of the first Capital Contribution to the Limited Partnership by a Limited
  Partner, the General Partner shall engage one or more independent third parties who are familiar with the
  Vail, Colorado condominium market to prepare a good faith estimate of the Fair Market Value (as
  hereinafter defined) of the Limited Partnership Property. The Limited Partnership shall provide notice
  (the “Option Notice”) to the Limited Partners of the estimated Fair Market Value. For purposes of this
  Section, “Fair Market Value” shall be deemed to mean the total liquidation value (as determined pursuant
  to a good faith market analysis conducted by qualified third-parties engaged by the General Partner) of all
  of the Limited Partnership Property after deduction of all usual and customary selling expenses, pro
  rations, and other similar matters. Each Limited Partner who, at the time of the receipt of the Option
  Notice has held his or her LP Interest for at least three years, shall be entitled to give notice to the General
  Partner within 45 days following delivery of the Option Notice of his or her election to sell to the Limited
  Partnership his or her LP Interest (the “Acceptance Notice”). Failure to deliver the Acceptance Notice
  within such 45-day period shall be deemed conclusive evidence of the Limited Partner’s rejection of the
  offer to purchase. Except as specifically set forth below, receipt of the Acceptance Notice shall be deemed



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  to be conclusive evidence of the Limited Partner’s election to sell his or her LP Interest at the Purchase
  Price (as defined below). The price for such purchase shall be equal to the Limited Partner’s pro rata
  share (as determined from the Capital Accounts) of whatever price the Partnership is able to realize using
  its reasonable business efforts to liquidate the Limited Partnership Property pursuant to the Option Notice
  (the “Purchase Price”). The Purchase Price may be greater than or less than the Fair Market Value as set
  forth in the Option Notice and shall be solely dependent on the price that the Partnership is able to realize
  from the liquidation of the Limited Partnership Property. Notwithstanding the above, if the actual
  Purchase Price is less than 70% of the Fair Market Value set forth in the Option Notice, the Limited
  Partner shall have the right, exercisable within 10 days following written notice to the Limited Partner of
  the amount of the Purchase Price, to rescind the Acceptance Notice. Prior to the consummation of any
  sale pursuant to this provision, the independent party or parties who made the initial determination of Fair
  Market Value, shall make a second determination that the actual sales price represents a fair valuation
  under all facts and circumstances. Such fair market analyses shall be made available for review by any
  Limited Partner. The Purchase Price shall be payable in cash on a date 180 days following the expiration
  of the 90-day period following delivery of the Option Notice. On each six-month anniversary date of the
  original Option Notice, the General Partner shall provide to the remaining Limited Partners a new Option
  Notice setting forth the then applicable Fair Market Value of the Limited Partnership Property and each
  Limited Partner shall then have 90 days from such date to deliver an Acceptance Notice. If the offer is
  accepted, the Purchase Price shall be payable as set forth above.          This Section is intended only to
  provide the Limited Partners with the right to receive their pro-rata share the Fair Market Value on certain
  future date, as more specifically set forth above, and shall in no event be construed to confer any
  additional rights or privileges with respect to the management or disposition of the Partnership assets.


                                        ARTICLE XIV
                          SPECIAL AND LIMITED POWER OF ATTORNEY

          Section 14.01. Special and Limited Power of Attorney.

                   (1)     The General Partner shall at all times during the existence of the Limited
  Partnership have a special and limited power of attorney as the attorney-in-fact for each Limited Partner
  with power and authority to act in the name and on the behalf of each Limited Partner to make, execute,
  swear to, verify, acknowledge, correct and file the following documents and any other documents deemed
  by the General Partner to be necessary for the business of the Limited Partnership:

                          (a)      This Agreement, and any amendments thereto;

                          (b)     Any certificate of Limited Partnership for the Limited Partnership and
  amendments thereto required or permitted or deemed advisable by the General Partner to be made or filed
  on behalf of the Limited Partnership, and any and all certificates or other instruments necessary to qualify
  the Limited Partnership as a Limited Partnership;

                        (c)     Any other instrument or document that may be required to be filed by the
  Limited Partnership under the laws of any state or by a governmental agency or which the General
  Partner deems advisable to file, including without limitation the United States Citizenship and
  Immigration Services;

                         (d)      Any instrument or document which may be required to effect the
  continuation of the Limited Partnership and admission of an additional or substitute General or Limited




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  Partner, or the dissolution and termination of the Limited Partnership (provided such continuation,
  admission or dissolution and termination are in accordance with the terms of this Agreement).

                           (e)      Any instrument or document which may be required to respond to
  USCIS’s requests for additional evidence or denial where the grounds relate to the Project only, with
  respect to any Limited Partner’s I-526 Petition or I-829 Petition. Each Limited Partner acknowledges and
  agrees that the Limited Partnership’s special immigration counsel, as appointed by the General Partner, is
  the sole entity authorized to respond on behalf of the Limited Partnership in any matter before the USCIS,
  the Administrative Appeals Office, or other judicial body having jurisdiction over any Limited Partner’s
  I-526 Petition or I-829 Petition. Each Limited Partner agrees to supply a Form G-28 appointing such
  special immigration counsel to facilitate such response by the Partnership or General Partner; and

                           (f)      Execute any and all documents necessary to enable the General Partner
  to carry out powers of the General Partner including but not limited to granting Limited Partnership
  Property as security for Limited Partnership obligations and sale or conveyance of Limited Partnership
  Property.
                   (2)     This power of attorney is a special power of attorney coupled with an interest, is
  irrevocable, shall survive the death of each Limited Partner and is limited to those matters herein set forth.


                                                ARTICLE XV
                                              MISCELLANEOUS

          Section 15.01. Amendments. Except as otherwise provided by law, this Agreement may be
  amended in any respect by the General Partner without the written approval or consent of Limited
  Partners owning Interests in the Limited Partnership; provided however, that:

                   (1)      Without the consent of Limited Partners to be adversely affected by the
  amendment, this Agreement may not be amended so as to change the Capital Contributions required, or
  rights and interests in profits, losses and distributions of any Partner; and

                   (2)      In the case of any provision hereof which requires the action, approval or consent
  of a specified Interest of Limited Partners, such provision may not be amended without the consent of the
  Limited Partners owning such specified Interests.

           Section 15.02. Notices. Any notice, offer, consent or other communication required or permitted
  to be given or made hereunder shall be in writing and shall be deemed to have been sufficiently given or
  made when delivered personally to the party (or an officer of the party) to whom the same is directed, or
  (except in the event of a mail strike) five (5) days after being mailed by first class mail, postage prepaid, if
  to the Limited Partnership or to the General Partner, to the office described in Section 1.03 hereof, or if to
  a General Partner or to a Limited Partner, to the address set forth in Exhibit A attached hereto. Any
  Partner may change his or its address for the purpose of this Section 15.02 by giving notice of such
  change to the Limited Partnership, such change to become effective on the tenth (10th) day after such
  notice is given.

           Section 15.03. Governing Law; Survival of Rights; Severability of Provisions. This Agreement
  shall be governed by the internal laws of the State of Colorado and shall, subject to the restrictions on
  transfer set forth herein, bind and inure to the benefit of the heirs, executors, personal representatives,
  successors and assigns of the parties hereto. If any provision of this Agreement is held to be invalid, the
  remainder of this Agreement shall not be affected thereby.



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           Section 15.04. Entire Agreement. This Agreement constitutes the entire agreement among the
  parties and supersedes any prior agreement or understandings among them, oral or written, all of which
  are hereby cancelled. This Agreement may not be modified or amended other than pursuant to Section
  15.01 hereof.

           Section 15.05. Captions; Pronouns. The paragraph titles or captions contained in this Agreement
  are inserted only as a matter of convenience of reference. Such titles and captions in no way define, limit,
  extend or describe the scope of this Agreement nor the intent of any provision hereof. All pronouns and
  any variation thereof shall be deemed to refer to the masculine, feminine or neuter, singular or plural, as
  the identity of the person or persons may require.

           Section 15.06. No Waiver. The failure of any Partner to seek redress for violation, or to insist on
  strict performance, of any covenant of this Agreement shall not prevent a subsequent act which would
  have constituted a violation from having the effect of an original violation.

           Section 15.07. Counterparts. This Agreement may be executed in several counterparts, each of
  which shall be deemed an original, but all of which shall constitute one Agreement, binding on all of the
  parties hereto.

                                           Signature Page Follows




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         IN WITNESS WHEREOF the parties have executed this Agreement as of the day and year first
  above written.


  GENERAL PARTNER:

  Colorado Regional Center I, LLC


  By: Chester P. Schwartz
  Its: Manager


  LIMITED PARTNERS:

  Colorado Regional Center I, LLC


  ________________________
  By Chester P. Schwartz, Manager, as attorney-in-fact for the
         Limited Partners listed in Exhibit A attached hereto and
         Incorporated herein




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                                         EXHIBIT A
                           (Names and addresses of General Partner
                                             And
                                       Limited Partners
                                             And
                          Preferred Returns and Percentage Interests)


  General Partner:

  Name                Mailing Address                                          Percentage Interest
  Colorado Regional
  Center I, LLC       4643 S. Ulster St., Suite 950, Denver, CO 80237                 1%

  Limited Partners:

  Name                Mailing Address        Preferred Return           Percentage Interest




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                                    EXHIBIT B
                                (Copy of Solaris Note)

                                      Attached




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                                          PROMISSORY NOTE

  Original Principal Amount: $______________                               Date: __________, 2011

  PROMISE TO PAY: Solaris Property Owner, LLC, a Delaware limited liability company
  ("Borrower") promises to pay to Colorado Regional Center Project Solaris, LLLP, a Colorado limited
  liability limited partnership ("Lender"), or order, in lawful money of the United States of America, the
  principal amount of $___________ together with interest at the rate of five percent (5%) per annum (the
  "Interest Rate") on the terms and conditions set forth below (the "Loan").

  DEFINED TERMS: Initially capitalized terms used but not otherwise defined below shall have the
  meanings ascribed to such terms under the provisions of that certain Loan Agreement dated effective
  November __, 2010, by and between Borrower and Lender (the "Loan Agreement").

  INTEREST PAYMENTS: Commencing on the date Lender makes the first Loan Advance to Borrower
  in accordance with the Loan Agreement (the "Commencement Date"), the outstanding principal of the
  loan shall bear interest at the Interest Rate. Borrower shall make interest-only payments on the
  outstanding principal balance of the Loan (each, an "Interest Payment") on the first business day of each
  month following the Commencement Date until the Loan is repaid in full. Each Interest Payment shall
  include interest on all sums outstanding at the time such Interest Payment is due (including a pro-rated
  amount of interest for any Loan Advances that took place during the previous month). Borrower will pay
  Lender at Lender's address as Lender shall designate in writing. Any and all payments made hereunder
  shall be applied first to any unpaid collection costs and late charges pursuant to this Note, second to
  accrued unpaid interest, and third in reduction of the outstanding principal balance of the Loan.

  TERM: With respect to each Loan Advance, this note shall be deemed to mature, and (if not sooner
  repaid in accordance with the provisions hereof) the unpaid principal balance attributable to such Loan
  Advance, together with all accrued interest attributable to the same (if any), shall be due and payable on
  the date that is exactly sixty (60) months from Closing on such Loan Advance (each, a "Maturity Date");
  provided, however, that (notwithstanding anything to the contrary set forth in this Note or any other Loan
  Documents) at any time after the Prepayment Date (as hereinafter defined), Borrower shall have the
  absolute right to prepay the portion the Note attributable to any Loan Advance by repaying Lender the
  amount of such Loan Advance in cash or conveying Lender the Collateral Unit(s) securing such Loan
  Advance. If Borrower tenders to Lender any Collateral Unit(s) in repayment of a Loan Advance, the
  principal balance of the Note shall be reduced by the amount of the Loan Advance secured by such
  Collateral Unit(s). With respect to each Loan Advance, the term "Prepayment Date" means a date that is
  exactly thirty six (36) months from and after the Closing on such Loan Advance.

  PREPAYMENT: Except as otherwise set forth in this Note, Borrower shall not be allowed to pay all or a
  portion of the Loan prior to the Prepayment Date.

  NOTICE OF PREPAYMENT: Borrower shall give Lender (i) at least sixty (60) calendar days prior
  written notice of any Cash Prepayment and (ii) at least twenty (20) calendar days prior written notice of
  any Collateral Unit Distribution.

  DEFAULT: Subject to any applicable cure rights set forth in any Loan Document, each of the following
  shall constitute an "Event of Default" hereunder:

          (v)     if Borrower fails to make any payment when such payment is due;




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         (vi)     if Borrower fails to comply with or to perform when due any other material, obligation,
  covenant, representation, warranty or condition contained in this Note or any other Loan Document;

          (vii)   if Borrower defaults under any loan, extension of credit, security agreement, purchase or
  sales agreement, or any other agreement in favor of any other creditor or person that results in a Material
  Adverse Affect; or

           (viii)  if any material representation or statement made or furnished to Lender by Borrower is
  false or misleading at the time made or furnished.

  NON-RECOURSE LOAN; EXCEPTION FOR INTEREST PAYMENTS:

           (iii)    Non-Recourse Loan. Except as expressly provided below, subject to any applicable cure
  rights set forth in any Loan Document, if an Event of Default has occurred and is then continuing, Lender
  agrees to proceed solely against the Collateral, it being the parties' mutual understanding and intent that
  principal amount of the Loan secured by this Note is entirely non-recourse to Borrower. Notwithstanding
  the foregoing, Lender may name Borrower or any of its successors or assigns or any person or entity
  holding under or through them as parties to any actions, suits or other proceedings initiated by Lender to
  enforce any remedies set forth herein against the Collateral, including without, limitation, any action, suit
  or proceeding to foreclose the lien of the Deed of Trust against the Collateral.

           (iv)   Exception for Interest Payments. Notwithstanding the foregoing, subject to any
  applicable cure rights set forth in any Loan Document, if Borrower fails to make any Interest Payment(s)
  due hereunder, the amount of such Interest Payment(s) plus the Collection Costs directly related
  collecting to the same shall be fully recourse to Borrower. Except as expressly set forth in the
  immediately preceding sentence, the Loan evidenced by this Note is and shall remain entirely non-
  recourse to Borrower.

  LENDER'S RIGHTS: Subject to any applicable cure rights set forth in any Loan Documents, if an
  Event of Default under this Note has occurred and is then continuing: (i) Lender may declare the entire
  unpaid principal balance of this Note and all accrued interest, if any, immediately due and, upon receipt of
  written notice of such acceleration, Borrower shall convey the Collateral Unit(s) to Lender in full
  satisfaction of Borrower's obligations under this Note and the other Loan Documents; (ii) Lender, at its
  option, may also, if permitted under applicable law, increase the Interest Rate on this Note to the lesser of
  fourteen percent (14.00%) or the maximum amount permitted by law (the "Default Rate"); and (iii)
  Borrower shall be responsible for any and all Collection Costs directly related to the Event of Default.
  "Collection Costs" means, to the extent permitted by law, Lender's reasonable legal expenses (whether or
  not there is a lawsuit), including reasonable attorneys' fees and legal expenses for bankruptcy proceedings
  (including efforts to modify or vacate any automatic stay or injunction), appeals, any post-judgment
  collection services, and any court costs and fees associated with the foregoing.

  CHOICE OF LAW: This Note has been delivered to Lender and accepted by Lender in Colorado.
  Borrower and Lender agree to submit to the jurisdiction of the courts of the City and County of Denver,
  Colorado. Lender and Borrower hereby waive the right to any jury trial in any action, proceeding, or
  counterclaim brought by either Lender or Borrower against the other. This Note shall be governed by and
  construed in accordance with the laws of Colorado.

  COLLATERAL: In order to secure payment of this Note, Borrower has granted to Lender security
  interests in certain real and personal property owned by Borrower (the "Collateral"). These security
  interests are evidenced by a Deed of Trust and Security Agreement and certain other documents



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  (collectively, the "Collateral Documents"). Reference is made to the Collateral Documents for various
  rights and remedies of the parties to those documents.

  ASSIGNMENT BY BORROWER. Notwithstanding to the contrary set forth in any of the Loan
  Documents, Borrower shall have the absolute right (in Borrower's discretion) to assign this Promissory
  Note, the Loan Agreement and the other Loan Documents to Borrower's wholly-owned, single-purpose
  subsidiary (the "SPE"). Upon such assignment, all of Borrower's rights and obligations under the Loan
  Documents shall automatically and forever terminate and, thereafter, Borrower shall have no further
  obligation of any kind whatsoever with respect to the Loan or Loan Documents. If Borrower so assigns
  Borrower's interest in the Loan Documents to Borrower's SPE prior to the execution of this Promissory
  Note, Borrower's SPE shall be substituted for Borrower as the signatory hereof and construed to mean
  "Borrower" for all purposes hereunder and under the other Loan Documents. A condition precedent to
  any such assignment shall be that any assignee of Borrower shall continue to operate the Solaris Project,
  as defined in the Loan Agreement, to assure full construction expenditure to project completion and
  subsequent operation of the retail businesses, all in satisfaction of the factual assumptions set forth in the
  EB-5 Econometric Report prepared in connection with the Solaris Project. The purpose of this condition
  precedent is to assure the Lender that the related EB-5 investors’ ability to obtain removal of conditions
  on their U.S. permanent residency will not be impaired by any such assignment of the Borrower’s rights
  and obligations under the Loan Documents. The Lender shall have sole discretion to determine
  satisfaction of this condition precedent prior to any assignment by Borrower.

  GENERAL: Lender may delay or forego enforcing any of its rights or remedies under this Note or under
  the Collateral Documents without losing them. Borrower understands and agrees that, with or without
  any notice to anyone other than Borrower, Lender may (i) make one or more additional secured or
  unsecured loans or otherwise extend additional credit and (ii) apply any security and direct the order or
  manner of sale thereof, including without limitation, any nonjudicial sale permitted by the terms of the
  controlling security agreements, as Lender in its discretion may determine. Borrower, to the extent
  allowed by law, waives presentment, demand for payment, protest and notice of dishonor.



                                            BORROWER:

                                                    Solaris Property Owner, LLC, a Delaware limited
                                                    liability company

                                                    By: Solaris Mezz, LLC, a Delaware limited liability
                                                        company


                                                          By:
                                                           Peter B. Knobel, Manager




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                                    EXHIBIT A
                                 (Promissory Note)

      Date of Loan Advance    Amount of Loan Advance        Maturity Date




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                                    EXHIBIT B
                                 (Promissory Note)

      Date of Loan Advance        Collateral Unit         Collateral Unit Value




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                                               EXHIBIT C
                                       (Terms and Conditions for
                                      Usage of Condominium Units)


         Each Limited Partner shall be entitled to usage of a two-bedroom condominium unit at the Solaris
  Residences during the time in which such Limited Partner owns a Limited Partnership Interest in the
  Limited Partnership subject to the restrictions set forth as may be modified from time to time by the
  General Partner:

     •   The Limited Partner shall give notice to the General Partner of a minimum of two alternative
         dates for his or her desired stay.
     •   Each notice shall be given not less than 90 days prior to the requested date.
     •   The notice shall set forth the names of all proposed guests, the dates and times of expected arrival
         and departure, and any special requests for the stay.
     •   Each Limited Partner shall be entitled to utilize a condominium unit for one seven consecutive
         day stay during the months of November through March of each year during the time in which
         such Limited Partner owns a Limited Partnership Interest in the Limited Partnership.
     •   Each Limited Partner shall be entitled to utilize a condominium unit for a total of 14 days (in
         periods of not less than three consecutive days) during the months of April through October of
         each year during the time in which such Limited Partner owns a Limited Partnership Interest in
         the Limited Partnership.
     •   There will be no charge for such stay for use of the unit or for normal clean-up services.
         However, the Limited Partner will be responsible for any personal expenses incurred, damage or
         destruction to the unit or to any personal property contained in the unit, extra clean-up required
         by the use of the unit, or any other expense of any kind that is necessitated by such usage other
         than normal clean-up charges. The Limited Partner will be responsible for any daily cleaning or
         laundry services requested during such usage.
     •   Each Limited Partner shall be bound by the rules and regulations imposed by the Solaris
         Homeowners Association for occupancy of the unit as modified from time to time.




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                                  EXHIBIT K
                        YIELD ENHANCEMENT AGREEMENT

                      [Yield Enhancement Agreement on following page.]




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                                YIELD ENHANCEMENT AGREEMENT

          THIS YIELD ENHANCEMENT AGREEMENT (the "Yield Enhancement Agreement") is
  made effective into this 5th day of November, 2010, by and between COLORADO REGIONAL CENTER
  PROJECT SOLARIS, LLLP, a Colorado limited liability limited partnership ("CRCPS") and SOLARIS
  PROPERTY OWNER, LLC, a Delaware limited liability company ("Solaris"). Initially capitalized terms
  used but not otherwise defined below shall have the meanings ascribed to such terms under the provisions
  of the Loan Documents, as hereinafter defined.

                                                RECITALS:

          I.      CRCPS has agreed to loan Solaris certain sums of money (the "Loan") in accordance
  with the terms, conditions and provisions of the Loan Agreement, Note and Loan Documents (all of
  which documents may be collectively referred to below as the "Loan Documents").

          J.       The Loan proceeds are expected to be generated by investments into CRCPS from certain
  investors (the "Investors") pursuant to the EB-5 Immigrant Investor Regional Center Program ("EB-5").

         K.      Subject to all of the terms, conditions and provisions set forth below and as a material
  inducement for CRCPS to make the Loan, Solaris has agreed to make certain Interest Payments to
  CRCPS in connection with the Loan as more specifically set forth in the Note and other Loan Documents.

          L.       In addition to the Interest Payments and as a material inducement for CRCPS to enter
  into the Loan, Solaris has agreed to give CRCPS certain rights with respect to the Collateral Unit(s) as
  additional interest for the Loan (the "Additional Interest").

         M.       The parties now desire to memorialize their mutual understanding concerning the
  Additional Interest by pursuant to this Yield Enhancement Agreement.

           NOW THEREFORE, in consideration of the foregoing, the mutual promises set forth below and
  for other good and valuable consideration, the receipt and sufficiency of which are hereby acknowledged,
  the parties hereby agree as follows:

                                              AGREEMENT:

          1.       USE RIGHTS. In addition to the Interest Payments set forth in the Note and as a
  material inducement for CRCPS to make the Loan, Solaris hereby agrees to allow each Limited Partner
  (as hereinafter defined) to use a two (2) bedroom Collateral Unit for up to twenty one (21) nights each
  calendar year during the term of the Loan (the "Use Rights"). Solaris understands and acknowledges that
  CRCPS is entering into the Loan Agreement in reliance on the Use Rights and would not have agreed to
  make the Loan but for the Use Rights.

          2.      RULES OF USE. Solaris and CRCPS hereby agree cooperate in good faith to establish
  such reasonable rules, regulations and procedures as are necessary to administer the Use Rights (the
  "Rules of Use") as soon as reasonably practicable and in no event later than the Closing of the first Loan
  Advance. Solaris Borrower and Lender further agree to execute and deliver a recordable memorandum or
  other recordable document(s) evidencing the existence of the Use Rights established pursuant to this
  paragraph and, when applicable, the release thereof

          3.       OPTION TO DEMAND CONVEYANCE OF COLLATERAL UNITS.
  Notwithstanding anything to the contrary set forth in any Loan Documents, CRCPS shall have the
  absolute right to refuse cash repayment of the Note and may, at any time after the applicable Prepayment



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  Date, require Solaris to convey the Collateral Unit(s) securing any Loan Advance(s) to CRCPS in full
  satisfaction of such Loan Advance(s) (the "Unit Demand Right"). In the event of any conflict or
  inconsistency between this Yield Enhancement Agreement and the provisions of the Loan Documents,
  this Yield Enhancement Agreement shall supersede and control in point of conflict or inconsistency.

          4.      RENTAL PROCEEDS. During the Term of the Loan, CRCPS shall be entitled to
  receive any and all Rental Proceeds (as hereinafter defined) collected in connection with the rental and
  occupancy of the Collateral Unit(s), "Rental Proceeds" means all rents received in connection with the
  rental of any Collateral Unit(s) net of Rental Management Expenses (as hereinafter defined). "Rental
  Management Expenses," means all taxes (including, without limitation, real estate taxes), dues and fees
  (including, without limitation, condominium association dues and fees), all management fees,
  housekeeping fees, administration fees and other reasonabe and customary costs, fees and expenses
  incurred in connection with the Collateral Unit(s) or the rental thereof.

           5.      LOAN ADVANCE ADJUSTMENT. Notwithstanding anything to the contrary set forth
  in any Loan Documents, the parties acknowledge and agree that each Loan Advance shall be
  automatically increased by the amount necessary to provide Required Furnishings for the Collateral
  Unit(s) securing such Loan Advance. "Required Furnishings" means all furniture, accessories, linens,
  towels, silverware, wall hangings, and other similar items used to decorate or accessorize the Collateral
  Unit(s). Any and all interest costs related to the Required Furnishings (including, without limitation,
  interest under the Promissory Note) shall be considered Rental Management Expenses.

          6.      MISCELLANEOUS.

                  Waivers and Amendments. Neither this Agreement nor any provision hereof may be
  changed, waived, discharged or terminated orally, but only by a statement in writing signed by each of the
  parties hereto.

                  Governing Law. The parties agree to submit to the jurisdiction of the courts of the City
  and County of Denver, Colorado. This Agreement shall be governed by and construed in accordance with
  the laws of Colorado.

                 No Right to Jury Trial. Each party hereby irrevocably waives, and agrees not to assert,
  by way of motion, as a defense, counterclaim or otherwise, in any action or proceeding with respect to
  this Agreement any right to a trial by jury.

                   Successors and Assigns. Except as otherwise provided herein, the terms and conditions
  of this Agreement shall inure to the benefit of and be binding upon the parties hereto and their respective
  successors and assigns, heirs, executors and administrators. Nothing in this Agreement, express or
  implied, is intended to confer upon any party other than the parties hereto or their respective successors
  and assigns any rights, remedies, obligations, or liabilities under or by reason of this Agreement, except as
  expressly provided in this Agreement. Notwithstanding to the contrary set forth in any of the Loan
  Documents, Solaris shall have the absolute right (in Solaris' discretion) to assign this Yield Enhancement
  Agreement to Solaris' wholly-owned, bankruptcy-remote, single-purpose subsidiary (the "SPE"). Upon
  such assignment, all of Solaris' rights and obligations under the Loan Documents shall automatically and
  forever terminate and, thereafter, Solaris shall have no further obligation of any kind whatsoever with
  respect to this Yield Enhancement Agreement. If Solaris assigns Solaris' interest in the Loan Documents
  to Solaris' SPE prior to the execution of this Yield Enhancement Agreement, Solaris' SPE shall be
  substituted for Solaris as the signatory hereof and construed to mean "Solaris" for all purposes hereunder.
  A condition precedent to any such assignment shall be that any assignee of Borrower shall continue to
  operate the Solaris Project, as defined in the Loan Agreement, to assure full construction expenditure to
  project completion and subsequent operation of the retail businesses, all in satisfaction of the factual



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  assumptions set forth in the EB-5 Econometric Report prepared in connection with the Solaris Project.
  The purpose of this condition precedent is to assure the Lender that the related EB-5 investors’ ability to
  obtain removal of conditions on their U.S. permanent residency will not be impaired by any such
  assignment of the Borrower’s rights and obligations under the Loan Documents. The Lender shall have
  sole discretion to determine satisfaction of this condition precedent prior to any assignment by Borrower.

                   Notices. All notices required to be given under this Agreement shall be given in writing,
  may be sent by facsimile (unless otherwise required by law) or by electronic mail, and shall be effective
  when actually delivered or when deposited with a nationally recognized overnight courier or deposited in
  the United States mail, first class, postage prepaid, addressed to the party to whom the notice is to be
  given at the address shown below. Any party may change its address for notices under this Agreement by
  giving formal written notice to the other parties, specifying that the purpose of the notice is to change the
  party's address.

                           SOLARIS:        Solaris Property Owner, LLC
                                           Attention: Legal Department
                                           141 East Meadow Drive, Suite 211
                                           Vail, Colorado 81657
                                           P: (970) 479-7566
                                           F: (970) 479-6666


                           CRCPS:          Colorado Regional Center Project Solaris, LLLP
                                           4643 S. Ulster Street, Suite 950
                                           Denver, Colorado 80237
                                           P: 720.554.9704
                                           F: 720.554.9905

                  Severability. In case any provision of this Agreement shall be declared invalid, illegal or
  unenforceable, the validity, legality and enforceability of the remaining provisions shall not in any way be
  affected or impaired thereby.

                  Titles and Subtitles. The titles of the paragraphs and subparagraphs of this Agreement
  are for convenience of reference only and are not to be considered in construing this Agreement.

                  Counterparts. This Agreement may be executed in any number of counterparts, each of
  which shall be an original, but all of which together shall constitute one instrument.

                   No Strict Construction. The parties hereto have participated jointly in the negotiation
  and drafting of this Agreement. In the event an ambiguity or question of intent or interpretation arises,
  this Agreement shall be construed as if drafted jointly by the parties hereto, and no presumption or burden
  of proof shall arise favoring or disfavoring any party by virtue of the authorship of any of the provisions
  of this Agreement.

                 Amendments. This Agreement may only be amended and any waivers hereunder shall
  only be made with the approval of the Company and the Purchaser.


                                            Signature Page Follows




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          THIS YIELD ENHANCEMENT AGREEMENT is made effective as of the date first above
  written by and between:

                                    SOLARIS:

                                           Solaris Property Owner, LLC, , a Delaware limited
                                           liability

                                           By: Solaris Mezz, LLC, a Delaware limited liability
                                               company


                                               By:
                                                          Peter Knobel, Manager


                                    CRCPS:

                                           Colorado Regional Center Project Solaris, LLLP,
                                           a Colorado limited liability limited partnership

                                           By: Colorado Regional Center I, LLC, a Colorado
                                               limited liability company, general partner


                                               By: _____________________________________
                                                         Chester Schwartz, Manager




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